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                                UNITED STATES DISTRICT COURT

                                  DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                               Civil Action No. 1:17-cv-11633

                 Plaintiff,

        v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

                 Defendants.



      DEFENDANTS’ SUR REPLY IN OPPOSITION TO THE SEC’S ERRONEOUS
          PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


                                             INTRODUCTION

        Contrary to the SEC’s argument, this Court should follow the dictates of Liu v. SEC 140

S. Ct. 1936 (2020) and the equitable principles set forth therein and deny all of the SEC’s $28.4

million disgorgement request because the SEC has not met its burden to present evidence that

proves there was a causal connection between the allegedly false 1 marketing statement and either

Defendants’ receipt of the advisory fees or the receipt of goodwill proceeds. SEC v. Collins 2003

WL 21196236 at *7 (N.D. Ill 2003). The SEC’s speculation and argument are not evidence and



1
  The SEC has presented no evidence that the “live traded since 2001 and not backtested” statement in NAI’s
Allocator and Premium marketing materials was false. (Defendants’ Proposed Findings #s 76 and 77) Absent a false
statement there is no violation of 206(1) or 206(2). ZPR Investment Management Inc. v. SEC 861 F.3d 1239 (2017).
Where, as here, there is no securities law violations, there is no disgorgement Liu 1945 Disgorgement can only be
awarded based on proof by the SEC of a causal connection between each defendant’s wrongdoing and each
defendant’s gain. SEC v. Collins2003 WL 21196236 *7 (N.D. Ill. 2003). The SEC has failed to show that receipts
were obtained “from wrongdoing” Liu p. 1945, i.e., derived from a violation of 206(1) or 206(2).



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are not a basis for disgorgement. SEC v. Collins supra at *7. Mr. Navellier is not jointly or

severally liable. He committed no wrongful act, he received no fees and he did not act in concert

with NAI. To the contrary, he opposed the marketing of Vireo. In any event, the SEC has

dismissed with prejudice any aiding and abetting claims against Mr. Navellier. Liu p. 1949.

I       The SEC Has Failed To Present Evidence To Prove That NAI Clients Paid NAI
        Advisory Fees Because Of The Marketing Statement

        This Court should not award any disgorgement because the SEC has failed to meet its

initial burden to present substantial evidence to prove a causal connection between the marketing

statement and clients paying NAI advisory fees to manage their Vireo Allocator or Vireo

Premium 2 accounts.

        The SEC alleges and speculates, but does not present a shred of evidence, to prove that

any of the Allocator or Premium clients’ advisory fees paid to NAI because the clients were

“induced” to initially become clients and remain clients because of the marketing statement (as

opposed to becoming clients because of NAI’s actual 2-year GIPS certified actual performance

record or some other reason.) (Exhibit N) 3. The SEC did not produce any evidence from a single

client that he/she became a client in reliance on the allegedly false statement. Absent such

evidence there is no proof that any of the fees were obtained as a result of the marketing

statement. Liu p. 1942; SEC v. Collins supra 2003 WL 21196236 *7; SEC v. Jones 476

F.Supp.2d 374, 386 (S.D.N.Y. 2017). Speculation is not evidence to support disgorgement SEC

v. Collins supra at *7.

        Likewise, the SEC presented no evidence, not a shred, to prove its speculation that even a


2
  As discussed infra, NAI had nine different Vireo strategies. The SEC has admitted that only two of those
strategies’ marketing materials contained the marketing statement- Vireo Allocator and Vireo Premium. (Exhibits P,
K, L, Q).
3
  References to Alphabet-numbered exhibits A through O are to exhibits attached to Defendants’ Opposition
Memorandum DKT#344. Exhibits P and Q are attached hereto.


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single Vireo client remained a client and continued to pay advisory fees every quarter to NAI

because of the marketing statement (as opposed to being satisfied with the profitable investment

management he/she was receiving from NAI). The SEC’s allegation is pure speculation. It is not

proof that will support a disgorgement award. SEC v. Collins supra; SEC v. Jones 476 F.Supp.2d

374, 386 (S.D.N.Y. 2007); In re Reserve Fund Securities Litigation 2013 WL 5432334 *15

(S.D.N.Y. 2013)

         Indeed, the evidence establishes that clients did not become clients in reliance on the

marketing statement, but rather clients became clients and paid fees because of NAI’s two-year

actual performance record. (Exhibit H, p.4) [“ [I] Focused on how strategy would behave going

forward- [I] didn’t care about backtesting.”]; (Exhibit I, p. 2, ¶s 4, 5, 6):

                                   [“I do not believe any broker or advisor (or
                           client) ever indicated that he/she was relying on…
                           “live traded, not backtested” statements… as the
                           reason for investing with NAI or remaining invested
                           in these strategies. I was, however, frequently asked
                           by brokers and advisors to provide them with NAI’s
                           actual performance record… It was my
                           understanding… that the reason those clients
                           remained NAI Vireo clients was the actual
                           performance they received.”]

         It would be an abuse of discretion to award disgorgement of the advisory fees with no

evidence of a fraudulent statement and then with no evidence of a causal connection between the

marketing statement and clients paying advisory fees to manage their monies SEC v. Sargent 329

F.3d 34, 38 (1st Cir. 2003) [abuse of discretion occurs when an improper factor is relied upon].

         Disgorgement of the $8,077,593 in fees the SEC requests should be denied. 4 SEC v.

Jones, supra; SEC v. Collins supra at *4. Mr. Navellier cannot be liable for disgorgement of any


4
 Contrary to the SEC’s assertion, (Reply p. 4, n. 6) the SEC has the initial burden to present substantial evidence to
prove a causal link between the wrongdoing and the receipt of the gains. SEC v. Jones supra 476 F.Supp.2d at 486;
SEC v. Collins, supra at *6.


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fees for the same lack of a causal connection. The SEC presented no evidence that Mr. Navellier

wrote or disseminated the marketing statement or that he received any advisory fees.

   A. Fees For Other Vireo Strategies Cannot Be Disgorged

       The SEC seeks disgorgement of fees NAI received for seven Vireo strategies which the

SEC admits did not even contain the allegedly false statement (Exhibit Q, K, L). Since the SEC

produced no evidence (Group Exhibit P) that the marketing materials for those seven other Vireo

strategies contained the allegedly false statement, there is no evidence before the Court that the

marketing materials for those seven strategies contained the “wrongful” statement, so none of

those fees can be disgorged. Indeed, the SEC admitted that, at most, $360,935, only from

Allocator and from Premium was disgorgeable (Exhibit K, p. 1).

   B. No Disgorgement Of Fees After September 14, 2012

       The SEC is seeking disgorgement for Allocator and Premium fees and assets obtained

after September 14, 2012 when the SEC admits that the statement was removed from NAI’s

Allocator and Premium marketing materials (Exhibit K p. 1; Exhibits O, J, L p. 5 ¶s 12, 13; p. 7

¶ C). The Court can only award disgorgement for the period when the “false” statement was in

Allocator or Premium marketing material “and during no other period” Liu p. 1945; Livingston v.

Woodworth 15 How 546, 559-560 (1854).

   C. SEC Produced No Evidence To Prove A Causal Connection
      Between the Statement And Receipt Of Proceeds For Sale of
      Goodwill

       The SEC admits none of the goodwill is disgorgeable (Exhibits K p. 2; DKT#344 p. 79 of

104; and L, p. 7 ¶ C). Moreover, there is no causal connection between the 2013 sale of goodwill

to F2 and the marketing statement to clients years earlier. The $14 million came from F2, not the

clients, for NAI Vireo goodwill and assets. NAI had earned that goodwill with years of advisory




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services to its clients. The goodwill belonged to NAI, not its clients.

       The SEC has produced no evidence that a single Vireo client transferred his/her account

to F2 because of the marketing statement years earlier. The SEC produced no evidence that a

single Vireo client was induced to become a client because of the marketing statement and then

remained as a client, after years of receiving NAI investment advise, because of the marketing

statement. In fact, the SEC has not produced any evidence that a single client even read the

marketing statement. It is rank speculation upon ranker speculation that any clients, let alone all

of them, transferred their accounts to F2 because of the marketing statement. The “causal

connection is implausible.

       In addition, the “link” is too remote (non-existent) and attenuated to create “some direct

relation between the injury asserted (there is no injury here) and the injurious conduct (“false

statement). A “but for” cause is not sufficient to create a causal connection; there must be a

proximate cause as well to have a causal connection. Hemi Group v. City of New York 559 U.S.

1, 9 (2010).

       There is also the equitable matter of fairness. The SEC’s $28.5 million goodwill and fee

disgorgement calculation is an unreasonable and unfair approximation of net gains because it

fails to offset all payments made to the victims, including the $39,960,784 in profits NAI made

for, and paid to, clients (Exhibit F; DKT#344 p. 46 of 104). The SEC’s refusal to offset the $39

million in profits paid to the Allocator and Premium clients in is direct violation of Liu’s

directive to “recognize[ ] the countervailing equitable principle that the wrongdoer should not be

punished by “pay[ing] more than a fair compensation to the person wronged” (emphasis added)

Liu p. 1943, so disgorgement does not exceed that which may be appropriate or necessary for the

benefit of investors” Liu 1947; Restatement (Third) Restitution and Unjust Enrichment




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(“Restatement”) §51(h) [even a conscious wrongdoer may be allowed a credit for the value of

services if the transaction is profitable to the claimant and the alternative would be an

unacceptable forfeiture].

       Where, as here, there is no loss to the client and the defendant has conferred a significant

benefit on the clients, courts “resort to general conditions of fairness.” Restatement §51(h). The

Restatement §51(h) recognizes the equitable offset in this situation as “a restitutionary offset or

counterclaim” to “recover (through a credit against liability) the value to the claimant [clients] of

the benefits conferred.”

       In Brooks v. Conston 72 A.2d 75, 79 (1950) the Pennsylvania Supreme Court held [the

wrong that defendant committed was his original acquisition of the stores, not in his operation of

them which did not cause any loss; on the contrary it considerably enhanced [their] value.

Ordinarily a person guilty of fraud is not to be allowed profits… derived therefrom [but] where,

as here, his services have greatly increased the value of the property… an allowance may

properly be made for the service rendered”]. An offset would be appropriate here.

       Not surprisingly, the SEC does not cite to a single case where the wrongdoer was ordered

to pay disgorgement when the “victim” had been paid (compensated) all amounts it had “lost”

plus all profits on those amounts. Nor can it, because to order disgorgement in this situation,

when the victim has already received full compensation would not be “fair compensation” to the

person wronged; it would constitute an unauthorized punishment. Liu 1943.

       The SEC claims Magruder v. Drury 235 U.S. 106 (1914) supports its position. It doesn’t.

There the trustees had to return to the trust a corporate opportunity they took from the trust. The

trustees had to return the opportunity profits the trust lost. That is not our case. Moreover,

thereafter the Supreme Court strictly limited its holding in Magruder to its facts, and denied the




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SEC’s request for disgorgement where the client suffered no loss. Manufacturer’s Trust Co. v.

Becker 70 S. Ct. 127, 132 (1949).

       In Kansas v. Nebraska 574 U.S. 445 (2015), Kansas suffered a loss of water due to

Nebraska taking more water that it was allocated. Nebraska was ordered to compensate Kansas

for some of the value of the water that Nebraska misappropriated. Nebraska did not have to

disgorge more than Kansas’ loss, as the SEC seeks here.

       II.     The SEC Has Failed To Prove Any Violation Which Is A Required Predicate
               To Awarding Any Disgorgement

       The SEC argues that Defendants cannot “re-argue liability and that the First Circuit

ordered limited remand to allow this Court to make factual findings and conclusions regarding its

disgorgement award.” (Reply p. 1). The SEC is wrong. The SEC was obviously concerned that

there was no basis for disgorgement after Liu, so it sought remand.

       Disgorgement is an exercise in fact-finding to determine if there is a causal connection

between wrongdoing and gains. SEC v. Collins supra at *7. The Court sits as a court of equity. In

doing that fact-finding the Court should examine whether there really is proof of a violation.

Here there is not. The SEC produced no evidence that the alleged false statement was false.

(Exhibit P). If there is no violation there is no disgorgement remedy.

       III.    The SEC Has Failed To Prove That NAI And Mr. Navellier Are Jointly And
               Severally Liable

       The SEC’s reliance on this Court’s summary judgment decision (DKT#252 pp. 5-7) does

not support the SEC’s assertion that Mr. Navellier created or disseminated the statement or that

he was acting in concert with NAI to commit wrongdoing. There is no evidence cited by this

Court (at DKT#252 pp. 5-7) that the statement was false or that Mr. Navellier made or

disseminated a false statement or that he did anything in concert with NAI or did anything to




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further a non-existent scheme to defraud clients. To the contrary, that “evidence” when read in

full context, shows that Mr. Navellier was denigrating Vireo and was acting to stop NAI and its

marketers from promoting Vireo and threatened to fire them if they didn’t stop marketing Vireo.

        Liu rejected joint and several liability and requires proof as to each defendant’s actual

wrongful conduct and only holds each defendant liable to the extent, and only in the amount, of

his/its own wrongful conduct. Liu p. 1949.

        The SEC reliance on SEC v. Esposito 2018 WL 2012688 (D. Mass April 30, 2018) and

SEC v. Locke Capital Management Inc. 794 F.Supp.2d 355 (D. R.I. 2011) is misplaced. Those

cases were based on the SEC’s 50-year wrongful practice of attempting to impose joint liability

without proof of individual wrongful conduct or actual concerted action. The Supreme Court put

a stop to that in Liu p. 1949.

IV      The SEC’s Disgorgement Approximation Is Unreasonable Because It Seeks
        Disgorgement For Vireo Strategies That Did Not Contain The “False” Statement

        The SEC now falsely states that disgorgement is not limited to gains attributable only to

Allocator and Premium. It contradicts its own summary judgment admission:

                        Defendants also sow confusion by pointing to other
                        Vireo marketing materials that did not make the live
                        trading claims. But Defendants’ use of some
                        marketing materials that did not make those
                        misrepresentations does not cure defendants’
                        creation and use of marketing materials that did
                        (emphasis added).
                                                                (Exhibit Q)

        The SEC also admitted that disgorgement is limited to Allocator and Premium fees (in

the amount of $360,935, not the $20,634,408 and no disgorgement of any of the $14 million in

goodwill sale proceeds. (Exhibits K, p. 1, ¶s 12 and 13).




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         The SEC falsely argues that it presented “undisputed evidence” that the “fraudulent”

marketing did not stop before the sale of Vireo. 5 The SEC’s so called “evidence” of two NAI

marketers supposedly orally making statements after September 2012 does not support the SEC’s

assertion. A close look at the SEC’s evidence shows that neither Mr. Ranft nor Mr. Nichols

stated that he orally the statement after September 14, 2012.

         In any event, the SEC still fails to present any evidence, let alone substantial evidence to

prove, that any clients paid the advisory fees or invested with NAI because of the statement (as

opposed to other reasons such as NAI established two-year performance record). Absent proof of

a causal connection, courts will not award any disgorgement. SEC v. Jones 476 F.Supp.3d 374,

396 (S.D.N.Y. 2007) [no evidence of causal connection to support SEC approximation of an

amount of disgorgement, so no disgorgement]; SEC v. E-Smart Technologies 2016 WL 183503

at *7 (D. D.C. 2016); SEC v. Reserve Fund Securities Litigation 2013 WL 5432334 at *15

(S.D.N.Y. 2013) [SEC didn’t demonstrate causal connection between fees and violation]; SEC v.

McGinn 2015 WL 667848 at *__ (N.D.N.Y. 2015) [no evidence to support connection so no

disgorgement]; SEC v. Collins 2003 WL 21196236 [SEC assumptions, not evidence].

VI. NO DISGORGEMENT OF FEES

         There is no merit, and certainly no evidence presented by the SEC, to support its

erroneous argument that NAI or Mr. Navellier had some continuing duty to notify clients that the



5
  The SEC asks this Court to ignore the SEC’s own admission, and the true facts, by erroneously claiming its
admission is inadmissible under F. R. Ev. Rule 408 because it was part of a settlement (which the SEC breached).
But there are exceptions to Rule 408, i.e., for an admission of fact in the settlement offer or to show the SEC’s bad
faith in now seeking $22.5 million in disgorgement when it had admitted based on the same “evidence” that only
$364,000 is disgorgeable. Urico v. Parnell Oil 708 F.2d 852 (1st Cir. 1983) [can admit settlement to establish
admission of fact]; Hiram Ricker v. Students International 501 F.2d 552 (1st Cir. 1974) [settlement offer admissible
to show admission of fact]; NLRB v. Gotham Industries 406 F.2d 1306 (1st Cir. 1969) [settlement offer admissible to
show plaintiff’s position]; Anthony v. Farmers Inc. Exchange 234 F.3d 357 (8th Cir. 2000) [settlement offer
admissible to prove insurer’s bad faith change of position], Coakley v. Structural Concrete 973 F.2d 349 (4th Cir.
1992) [settlement offer admissible to show scope of release].


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statement was false. Again, the SEC alleges, but utterly fails to prove, the statement was false.

The SEC cites no case and there is none that holds that a fiduciary has a continuing duty to

inform its clients that a true statement is false.

         The SEC presented no evidence that any client would not have paid the fees or would not

have continued to pay the fees if he/she had known the statement was false (it wasn’t).

VII. Mr. Kahrs’ Calculations Are Correct

         The SEC argues that only expenses allocable to NAI’s management of Vireo clients’

accounts is deductible. (Reply p. 6). That is the opposite of what Liu equitably requires. Liu

provides that a defendant is entitled to a deduction for all “marginal 6 costs incurred in producing

the revenues that are subject to disgorgement” Liu p. 1950 and that the courts “must” deduct

legitimate expenses before ordering disgorgement Id.

         The expenses NAI paid in producing advisory fees and goodwill are deductible, including

the marketing, travel, salary, wages bonuses actually paid to Vireo non-party employees and

vendors. The proper calculation of an arguable disgorgeable amount before offset is $53,000 as

set forth in the Kahrs Declaration ¶20 (DKT#343-1).

         Contrary to the SEC’s assertion, Mr. Kahrs’ declaration is not submitted as an “expert”

declaration but rather as a CPA who reviewed and summarized NAI’s business records- the same

records that were provided to the SEC and its “non-expert” CPA Rory Alex and used by him in

making his calculations. All those documents were admittedly provided to the SEC before this

litigation was filed and also during this litigation, and again at the time of the prior final

judgment motion (DKT#s278, 279, 280).


6
 The SEC attempts to define “marginal” costs as costs specifically incurred by the addition of each new unit of
output. But the SEC fails to quote the rest of the definition- that marginal costs are the equivalent of “out of pocket
expenses allocable to the unit but excluding pre-existing overhead. Marginal costs include marketing and employee
compensation. American Commercial Lines Inc. v. Louisville & Nashville Co. 392 U.S. 571, 577 no. 7.


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        Mr. Kahrs was asked to, and did, review and summarize those Vireo financial records to

determine the various categories of income and expense so Defendants could submit a summary

for the Court’s disgorgement review.

                                            CONCLUSION

        No disgorgement should be awarded in this case. All of the advisory fees were legitimate,

i.e., earned in exchange for profitable investment advisory services. The goodwill should not be

disgorged. It too was legitimately earned through providing years of excellent profitable services

to clients and spending millions of dollars to maintain and strengthen broker/adviser client

relationships. There is no causal connection between the allegedly false statement and clients

becoming clients and remaining clients.

        No clients were harmed, they got exactly the advisory services they signed up for. They

got back all of their principal, all of the advisory fees they paid NAI, and $39 million in profits.

        No disgorgement should be awarded. The penalty, if any, should also be eliminated or

greatly reduced to a first tier penalty.

                                                       Respectfully submitted,

DATED: November 30, 2020                   LAW OFFICES OF SAMUEL KORNHAUSER
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                                                       Attorneys for Defendants



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



November 30, 2020                                             By: Dan Cowan
                                                                  Dan Cowan




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             EXHIBIT P
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                                                                                                               EXHIBIT
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From:                                     Traci Sinclair <Traci_Sinclair@navellier.com>
Sent:                                     Wednesday, August 10, 2011 2:03 PM
To:                                       Angela Villasenor
Cc:                                       Nancy Samson
Subject:                                  Vireo Allocator
Attachments:                              063011 Vireo Allocator Sales Presentation_b.pptx; 063011 Vireo Allocator Sales
                                          Presentation_r.pptx


Ang – attached are the broker and retail versions.

Traci Sinclair
Institutional Marketing Manager
-------------------------------------------------




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          AlphaSector Allocator Premium Index provides investors critical
          benefits rarely seen in long-only strategies
         • Alpha is expressed where it is needed the most

                  – Traditional managers attempt to deliver their highest alpha in strong bull markets

                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

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                    “normal” markets and highest alpha in negative markets
                       • However, the portfolio can lag in strong bull markets

         • AlphaSector Allocator Premium has the potential to improve consistency of
              returns across multiple markets

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                         Fixed Income – December1, 2009                                                       Alternatives – December 1, 2009

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                                 Limiting risk in down markets and participating in up markets

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                                 Jones Moderate Global Index and outperform cash

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                                    • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                             As of Jun 2011
                                                                                                                                                                                              vs.                   vs.
                                                                                                                                                                         AlphaSector               AlphaSector
                                                                                                                                                                          Allocator                 Allocator
                                                                                                                                                                                             DJ                AlphaSector
                                  AlphaSector Allocator Premium Index Performance                                                                                          Premium
                                                                                                                                                                                          Moderate
                                                                                                                                                                                                     Premium
                                                                                                                                                                                                                Allocator
                                                                Apr 2001 – Jun 2011                                                                                      Index (Pure               Index (Pure
                                                                                                                                                                                           Global                Blended
                    400                                                                                                                                                     Gross)                    Gross)
                                                                                                                                                                                           Index                  Index
                                                                                                                                                        Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                          AlphaSector
                                                                                                                                 AlphaSector
                                                                                                                                 Allocator                1 Yr Return       22.9%           20.8%         22.9%     22.4%
                                                                                                                                 Allocator
                                                                                                                                 Premium Index
                                                                                                                                 Premium   Index          3 Yr Return       14.9%           5.5%          14.9%     3.7%
                    300                                                                                                          (Pure Gross)
                                                                                                                                 (Pure Gross)
                                                                                                                                                          5 Yr Return       15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                 DJ Moderate
                                                                                                                                 DJ Moderate
                    250                                                                                                          Global
                                                                                                                                 Global Index
                                                                                                                                                     Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                          AlphaSector
                                                                                                                                 Allocator Blended          Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                 AlphaSector
                                                                                                                                 Index
                    150                                                                                                          Allocator                      Alpha        9.7%            N/A          10.8%      N/A
                                                                                                                                 Blended Index
                                                                                                                                                          R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                          Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                                                                                                                                              5 Yr Up Capture Ratio         100%             N/A           93%       N/A
                          4/01




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                                                                                                                                          5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                        All returns over one year are annualized.


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                    the end of this presentation.

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                                   Distribution of annual returns since inception shows the
                                   reduction in losses that has been incurred
                                 AlphaSector Allocator Premium Index vs. Dow Jones
                                    Moderate Global Index, AlphaSector Allocator
                                           Blended Index, and S&P 500
                                            Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                          35


                          30
                                                                                                                                                                   AlphaSector               AlphaSector
Frequency of Occurrence




                                                                                                                                                                     Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                           S&P 500
                          25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                   (Pure Gross)                 Index
                                            Tail Risk – risk an
                          20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                       33.84%      39.42%      40.00%      53.62%
                                                                                                                                                    Return
                          15
                                                                                                                                                   Minimum
                                                                                                                                                                        -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                     Return
                          10
                                                                                                                                                     Percent
                                                                                                                                                                         99%        75%         71%          69%
                                                                                                                                                     Positive
                           5


                           0
                               -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                              AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                              AlphaSector Allocator Blended Index                S&P 500




                          For Financial Consultant One-on-One Use Only. April 2001 to June 2011. Source: Zephyr StyleAdvisor, F-Squared Investments. Performance results
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                   AlphaSector Allocator Premium includes or excludes sectors in the
                   portfolio through disciplined re-allocation and diversification
                400%
                 100%
                                                                                                                                                                               Utilities (XLU)      Financials (XLF)
U.S. Equity




                                                                                                                                                                               Technology (XLK)     Energy (XLE)
                  50%
                350%                                                                                                                                                           Materials (XLB)      Cons. Staples (XLP)
                                                                                                                                                                               Healthcare (XLV)     Cons. Disc. (XLY)
                                                                                                                                                                               Industrials (XLI)    Short Term
                  0%
                300%                                                                                                                                                                                Treasuries (BIL)
                100%
International




                                                                                                                                                                               Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                           EAFE (EFA)

                                                                                                                                                                               Short Term
                                                                                                                                                                               Treasuries (BIL)
                  0%
                200%
                 100%
Alternatives




                                                                                                                                                                               Real Estate (IYR)
                                                                                                                                                                               Gold (GLD)
                150%
                  50%
                                                                                                                                                                               S&P 500 (SPY)
                                                                                                                                                                               Short Term
                   0%                                                                                                                                                          Treasuries (BIL)
                100%
                 100%                                                                                                                                                          AAA (LQD)
Fixed Income




                                                                                                                                                                               High Yield (HYG)
                 50%
                50%                                                                                                                                                            Mortgages (MBB)
                                                                                                                                                                               Municipals (MUB)
                                                                                                                                                                               7-10 Year Treasuries (IEF)
                  0%
                  0%




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                        Note periods where the Index goes to cash:                                           (BIL)                 (IEF)
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Important Disclosures
Navellier Vireo AlphaSector Allocator Premium is a new strategy that attempts to track an index known as the AlphaSector Allocator
Premium Index, owned and published by Active Index Solutions, LLC (“AIS”). The AlphaSector Allocator Premium Index is a quantitatively
driven index that applies a weekly trading protocol to nine Select Sector SPDRs, a Treasury exchange traded fund, two international
ETFs, five fixed income ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful in
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The “U.S. equity sleeve” referenced in the materials refers to the AlphaSector Premium Index, with the strategy that the AlphaSector
Premium Index is based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies
that the returns presented, while not back-tested, reflect theoretical performance an investor would have obtained had it invested in the
manner shown and does not represent returns that an investor may have actually attained, as an investor cannot invest directly into an
index. Theoretical and hypothetical performance have many inherent limitations. The performance is adjusted to reflect the reinvestment
of dividends.

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leverage or derivatives, the ETFs that AlphaSector tracks may make use of such financial instruments or strategies.

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it timely receives any changes made to the AlphaSector Allocator Premium Index holdings. Investment products such as the Navellier
Vireo AlphaSector Allocator Premium strategy that are based on the AlphaSector Allocator Premium Index are not necessarily sponsored
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
bond indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed
Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
important benchmarks available to judge overall U.S. market performance.

Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest directly in an
index. Among the most important differences between the Indices and Navellier strategies are that the Navellier equity strategies may (1)
incur material management fees, (2) concentrate investments in relatively few ETFs, industries, or sectors, (3) have significantly greater
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Potential investors should consult with their financial advisor before investing in any Navellier Investment Product. Investment in equity
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           Introducing Vireo
           An exciting, new, defensive ETF portfolio

           Vireo AlphaSector Allocator Premium Portfolio



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          AlphaSector Allocator Premium Index provides investors critical
          benefits rarely seen in long-only strategies
         • Alpha is expressed where it is needed the most

                  – Traditional managers attempt to deliver their highest alpha in strong bull markets

                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

                  – AlphaSector Allocator Premium Index has historically delivered consistent alpha in
                    “normal” markets and highest alpha in negative markets
                       • However, the portfolio can lag in strong bull markets

         • AlphaSector Allocator Premium has the potential to improve consistency of
              returns across multiple markets

         • Live track record for U.S. equity sleeve – stress tested across two bear markets
                    • Live assets began tracking the strategies:
                         U.S. Equity – April 1, 2001                                                          International – May 1, 2009
                         Fixed Income – December1, 2009                                                       Alternatives – December 1, 2009

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                                 Limiting risk in down markets and participating in up markets

                                 AlphaSector Allocator Premium Index is designed to consistently outperform the Dow
                                 Jones Moderate Global Index and outperform cash

                                    • Quality downside risk management, especially in weak markets
                                    • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                             As of Jun 2011
                                                                                                                                                                                              vs.                   vs.
                                                                                                                                                                         AlphaSector               AlphaSector
                                                                                                                                                                          Allocator                 Allocator
                                                                                                                                                                                             DJ                AlphaSector
                                  AlphaSector Allocator Premium Index Performance                                                                                          Premium
                                                                                                                                                                                          Moderate
                                                                                                                                                                                                     Premium
                                                                                                                                                                                                                Allocator
                                                                Apr 2001 – Jun 2011                                                                                      Index (Pure               Index (Pure
                                                                                                                                                                                           Global                Blended
                    400                                                                                                                                                     Gross)                    Gross)
                                                                                                                                                                                           Index                  Index
                                                                                                                                                        Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                          AlphaSector
                                                                                                                                 AlphaSector
                                                                                                                                 Allocator                1 Yr Return       22.9%           20.8%         22.9%     22.4%
                                                                                                                                 Allocator
                                                                                                                                 Premium Index
                                                                                                                                 Premium   Index          3 Yr Return       14.9%           5.5%          14.9%     3.7%
                    300                                                                                                          (Pure Gross)
                                                                                                                                 (Pure Gross)
                                                                                                                                                          5 Yr Return       15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                 DJ Moderate
                                                                                                                                 DJ Moderate
                    250                                                                                                          Global
                                                                                                                                 Global Index
                                                                                                                                                     Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                          AlphaSector
                                                                                                                                 Allocator Blended          Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                 AlphaSector
                                                                                                                                 Index
                    150                                                                                                          Allocator                      Alpha        9.7%            N/A          10.8%      N/A
                                                                                                                                 Blended Index
                                                                                                                                                          R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                          Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                                                                                                                                              5 Yr Up Capture Ratio         100%             N/A           93%       N/A
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                                                                                                                                          5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                        All returns over one year are annualized.


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                                   Distribution of annual returns since inception shows the
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                                 AlphaSector Allocator Premium Index vs. Dow Jones
                                    Moderate Global Index, AlphaSector Allocator
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                                            Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                          35


                          30
                                                                                                                                                                   AlphaSector               AlphaSector
Frequency of Occurrence




                                                                                                                                                                     Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                           S&P 500
                          25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                   (Pure Gross)                 Index
                                            Tail Risk – risk an
                          20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                       33.84%      39.42%      40.00%      53.62%
                                                                                                                                                    Return
                          15
                                                                                                                                                   Minimum
                                                                                                                                                                        -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                     Return
                          10
                                                                                                                                                     Percent
                                                                                                                                                                         99%        75%         71%          69%
                                                                                                                                                     Positive
                           5


                           0
                               -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                              AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                              AlphaSector Allocator Blended Index                S&P 500




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                                                                                                                                                                               Utilities (XLU)      Financials (XLF)
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                                                                                                                                                                               Technology (XLK)     Energy (XLE)
                  50%
                350%                                                                                                                                                           Materials (XLB)      Cons. Staples (XLP)
                                                                                                                                                                               Healthcare (XLV)     Cons. Disc. (XLY)
                                                                                                                                                                               Industrials (XLI)    Short Term
                  0%
                300%                                                                                                                                                                                Treasuries (BIL)
                100%
International




                                                                                                                                                                               Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                           EAFE (EFA)

                                                                                                                                                                               Short Term
                                                                                                                                                                               Treasuries (BIL)
                  0%
                200%
                 100%
Alternatives




                                                                                                                                                                               Real Estate (IYR)
                                                                                                                                                                               Gold (GLD)
                150%
                  50%
                                                                                                                                                                               S&P 500 (SPY)
                                                                                                                                                                               Short Term
                   0%                                                                                                                                                          Treasuries (BIL)
                100%
                 100%                                                                                                                                                          AAA (LQD)
Fixed Income




                                                                                                                                                                               High Yield (HYG)
                 50%
                50%                                                                                                                                                            Mortgages (MBB)
                                                                                                                                                                               Municipals (MUB)
                                                                                                                                                                               7-10 Year Treasuries (IEF)
                  0%
                  0%




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                        Note periods where the Index goes to cash:                                           (BIL)                 (IEF)
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
bond indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed
Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
important benchmarks available to judge overall U.S. market performance.

Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
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From:                                   John Ranft <John_Ranft@navellier.com>
Sent:                                   Wednesday, November 09, 2011 11:05 PM
To:                                     'ppurcell@1stallied.com'
Cc:                                     Cheryl Czyz
Subject:                                Navellier / Vireo Meeting Follow-up
Attachments:                            Vireo Conf Call transcript_Howard Present080811.pdf; Special Market Update - 2011 08
                                        08.pdf; Special Market Update_Part II - 2011 08 15.pdf; AlphaSector Premium -
                                        alphadex 9-2011.pdf; 063011 Vireo AS Premium Sales Presentation_b.pdf; F-Squared
                                        Presentation featuring AlphaDEX ETFs v2 10-2011.pdf


Paul,

It was great meeting you today. Thank you very much for your time. I look forward working with you and Tom.

Attached is a variety of items concerning the Vireo portfolios. This should help you better understand the Vireo process
and its features and benefits. I have also included a couple of commentaries from F‐Squared that give a glimpse into
how the portfolio reacts to sudden movements in the market such as what happened back in August.

One F‐Squared presentation, “F‐Squared Presentation featuring AlphaDEX ETFs v2 10‐2011” is for broker/dealer use
only.

Please call me with any questions that you might have. My assistant, Cheryl, will be contacting you regarding the
seminar invitation.

Thank you for your business and have a great day!

John

John L. Ranft, CIMA
Senior Vice President
Director of Sales and Marketing

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775 785‐9411 / 775 562‐8252 fax
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cherylc@navellier.com

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           Introducing Vireo
           An exciting, new, defensive ETF portfolio


           Vireo AlphaSector Premium Portfolio


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         AlphaSector Premium Index provides investors critical benefits
         rarely seen in long-only strategies
             • High alpha equity solution with low correlation to broader equity markets

                        – Compared to the S&P 500, annual excess return of 10.6% since inception; R-
                             squared of 51%

             • Alpha
               Al h is
                     i expressed
                               d where
                                  h    it
                                       i is
                                          i needed
                                               d d the
                                                    h most

                        – Traditional managers attempt to deliver their highest alpha in strong bull markets

                                  – Traditional portfolios typically exhibit underperformance or modest
                                       outperformance
                                         t f          in
                                                      i bear
                                                         b   markets
                                                                k t

                        – AlphaSector Premium Index has historically delivered consistent alpha in
                             “normal” markets and highest alpha in negative markets

                                  – However,
                                    H        th
                                             the portfolio
                                                    tf li can llag iin strong
                                                                        t     b
                                                                              bullll markets
                                                                                        k t

             • AlphaSector Premium has the potential to improve consistency of returns
                  across multiple markets

             • Live track record, stress tested across two bear markets
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                              Limiting risk in down markets and participating in up markets
                              AlphaSector Premium Index is designed to consistently outperform the S&P 500 and
                              outperform cash

                                           • Quality downside risk management, especially in weak markets
                                                                                                                                                                                                                                     As of Jun 2011
                                           • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                                                           AlphaSector
                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                Premium Index   S&P 500
                                                   AlphaSector Premium Index Performance                                                                                                                                         (Pure Gross)
                                                                                  Apr 2001 – Jun 2011                                                                                                      Cumulative Return       275.8%        38.4%

                      410                                                                                                                                                                                        1 Yr Return       36.1%         30.7%
                                                                                                                                                                                                     3 Yr Return (Annualized)      15.2%         3.3%
                      360                                                                                                                                                                            5Y
                                                                                                                                                                                                      Yr R
                                                                                                                                                                                                         Return
                                                                                                                                                                                                           t    (A
                                                                                                                                                                                                                (Annualized)
                                                                                                                                                                                                                      li d)        15 9%
                                                                                                                                                                                                                                   15.9%         2 9%
                                                                                                                                                                                                                                                 2.9%

                      310                                                                                                                                                           AlphaSector
                                                                                                                                                                                    Premium Index        Maximum Drawdown          -13.3%       -51.0%
     ative Return




                                                                                                                                                                                    (Pure Gross)
                      260                                                                                                                                                                                 Standard Deviation       10.6%         15.8%
                                                                                                                                                                                    S&P 500
                                                                                                                                                                                                    Annualized Excess Return       10.6%          N/A
                      210
Cumula




                                                                                                                                                                                                                       Al h
                                                                                                                                                                                                                       Alpha        12 0
                                                                                                                                                                                                                                    12.0          N/A

                      160                                                                                                                                                                                         R-Squared         51%           N/A
                                                                                                                                                                                                                        Beta         0.5          N/A
                       110
                                                                                                                                                                                                       5 Yr Up Capture Ratio        89%           N/A

                        60                                                                                                                                                                           5 Yr Down Capture Ratio        45%           N/A
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         AlphaSector Premium includes or excludes sectors in the portfolio
         through disciplined re-allocation and diversification
    100%
                                                                                                                                                                              Utilities (XLU)
     90%
                                                                                                                                                                              Technology (XLK)

     80%                                                                                                                                                                      Materials (XLB)
                                                                                                                                                                              Healthcare (XLV)
     70%
                                                                                                                                                                              I d t i l (XLI)
                                                                                                                                                                              Industrials
                                                                                                                                                                              Financials (XLF)
     60%
                                                                                                                                                                              Energy (XLE)
     50%                                                                                                                                                                      Cons. Staples (XLP)

                                                                                                                                                                              Cons. Disc. (XLY)
     40%
                                                                                                                                                                              Short Term
                                                                                                                                                                              Treasuries (BIL)
     30%

     20%

     10%

       0%
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             Note periods where the Index goes to cash:                                             (BIL)
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Navellier Vireo AlphaSector Premium is a new strategy that attempts to track an index known as the AlphaSector Premium Index, owned
and published by Active Index Solutions, LLC (“AIS”).
                                                ( AIS ). The AlphaSector Premium Index is a quantitatively driven index that applies a
weekly trading protocol to nine Select Sector SPDRs and an exchange traded fund ("ETF") representing 1-3 month Treasuries (ticker
BIL). The index has the potential to be invested in any combination of the nine SPDRs including all nine at the same time, a combination
of sector SPDRs and the Treasury ETF, or can be 100% invested in the Treasury ETF. There is no guarantee that the advisor will be
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or custodian fees a client may incur.

The AlphaSector Premium Index is based on an active strategy, with an inception date of April 1, 2001. The process of converting the
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From:                                          Peter Nicolas <peter_nicolas@navellier.com>
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Sent:                                          Thursday, March 29, 2012 12:01 PM
To:                                            daniel.parilo@wellsfargoadvisors.com
Subject:                                       presentation-strategy description
Attachments:                                   063011 Vireo Allocator Sales Presentation_b.pdf




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Senior VP Regional Consultant - Eastern Division
Mobile-775-813-3433
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           An exciting, new, defensive ETF portfolio

           Vireo AlphaSector Allocator Premium Portfolio



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          AlphaSector Allocator Premium Index provides investors critical
          benefits rarely seen in long-only strategies
         • Alpha is expressed where it is needed the most

                  – Traditional managers attempt to deliver their highest alpha in strong bull markets

                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

                  – AlphaSector Allocator Premium Index has historically delivered consistent alpha in
                    “normal” markets and highest alpha in negative markets
                       • However,, the portfolio
                                       p         can lag
                                                       g in strong
                                                                 g bull markets

         • AlphaSector Allocator Premium has the potential to improve consistency of
              returns across multiple markets

         • Live track record for U.S. equity sleeve – stress tested across two bear markets
                    • Live assets began tracking the strategies:
                         U.S. Equity – April 1, 2001                                                          International – May 1, 2009
                         Fixed Income – December1,
                                         December1 2009                                                       Alternatives – December 11, 2009

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                                 Limiting risk in down markets and participating in up markets

                                 AlphaSector Allocator Premium Index is designed to consistently outperform the Dow
                                 Jones Moderate Global Index and outperform cash

                                    • Quality downside risk management, especially in weak markets
                                    • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                               As of Jun 2011
                                                                                                                                                                                                vs.                   vs.
                                                                                                                                                                           AlphaSector               AlphaSector
                                                                                                                                                                            Allocator                 Allocator
                                                                                                                                                                                               DJ                AlphaSector
                                  Al h S t Allocator
                                  AlphaSector All t Premium
                                                     P  i   Index
                                                            I d Performance
                                                                  P f                                                                                                        P
                                                                                                                                                                             Premium
                                                                                                                                                                                  i
                                                                                                                                                                                            Moderate
                                                                                                                                                                                                       P
                                                                                                                                                                                                       Premium
                                                                                                                                                                                                            i
                                                                                                                                                                                                                  Allocator
                                                                Apr 2001 – Jun 2011                                                                                        Index (Pure               Index (Pure
                                                                                                                                                                                             Global                Blended
                    400                                                                                                                                                       Gross)                    Gross)
                                                                                                                                                                                             Index                  Index
                                                                                                                                                          Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                            AlphaSector
                                                                                                                                  AlphaSector
                                                                                                                                  Allocator                1 Yr Return        22.9%           20.8%         22.9%     22.4%
                                                                                                                                  Allocator
                                                                                                                                  Premium Index
                                                                                                                                  Premium   Index          3 Yr Return        14.9%           5.5%          14.9%     3.7%
                    300                                                                                                           (Pure Gross)
                                                                                                                                  (Pure Gross)
                                                                                                                                                           5 Yr Return        15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                  DJ Moderate
                                                                                                                                  DJ Moderate
                    250                                                                                                           Global Index
                                                                                                                                  Global
                                                                                                                                                       Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                           AlphaSector
                                                                                                                                  Allocator Blended           Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                  AlphaSector
                                                                                                                                  Index
                    150                                                                                                           Allocator                       Alpha        9.7%            N/A          10.8%      N/A
C




                                                                                                                                  Blended Index
                                                                                                                                                            R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                            Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                  Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                          4/01




                                                                                                                                               5 Yr Up Capture Ratio          100%             N/A           93%       N/A
                                                                                                                        6/11
                          3/01


                                   3/02


                                            3/03


                                                      3/04


                                                               3/05


                                                                         3/06


                                                                                  3/07


                                                                                            3/08


                                                                                                     3/09


                                                                                                               3/10


                                                                                                                        3/11




                                                                                                                                            5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                          All returns over one year are annualized.


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                    necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential for partial or complete
                    loss of funds invested. Results presented include reinvestment of all dividends and other earnings. Please read important disclosures at the end of
                    this presentation.

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                                    Distribution of annual returns since inception shows the
                                    reduction in losses that has been incurred
                                  AlphaSector Allocator Premium Index vs. Dow Jones
                                     Moderate Global Index, AlphaSector Allocator
                                            Blended Index, and S&P 500
                                             Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                           35


                           30
                                                                                                                                                                    AlphaSector               AlphaSector
Frequenccy of Occurrence




                                                                                                                                                                      Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                            S&P 500
                           25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                    (Pure Gross)                 Index
                                             Tail Risk – risk an
                           20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                        33.84%      39.42%      40.00%      53.62%
                                                                                                                                                     Return
                           15
                                                                                                                                                    Minimum
                                                                                                                                                                         -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                      Return
                           10
                                                                                                                                                      Percent
                                                                                                                                                                          99%        75%         71%          69%
                                                                                                                                                      Positive
                            5


                            0
                                -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                               AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                               AlphaSector Allocator Blended Index                S&P 500




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                           presented herein do not necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
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                   AlphaSector Allocator Premium includes or excludes sectors in the
                   portfolio through disciplined re-allocation and diversification
                400%
                 100%
                                                                                                                                                                                Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                                Technology (XLK)      Energy (XLE)
                  50%
                350%                                                                                                                                                            Materials (XLB)       Cons. Staples (XLP)
                                                                                                                                                                                Healthcare (XLV)      Cons. Disc. (XLY)
                                                                                                                                                                                Industrials (XLI)     Short Term
                  0%
                300%                                                                                                                                                                                  Treasuries (BIL)
                100%
          nal
Internation




                                                                                                                                                                                Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                            EAFE (EFA)

                                                                                                                                                                                Short Term
                                                                                                                                                                                Treasuries (BIL)
                  0%
                200%
                 100%
         ves




                                                                                                                                                                                Real Estate ((IYR))
Alternativ




                                                                                                                                                                                Gold (GLD)
                  50%
                150%
                                                                                                                                                                                S&P 500 (SPY)
                                                                                                                                                                                Short Term
                   0%                                                                                                                                                           Treasuries (BIL)
                100%
                 100%                                                                                                                                                           AAA (LQD)
Fixed Income




                                                                                                                                                                                High Yield (HYG)
                 50%
                50%                                                                                                                                                             Mortgages (MBB)
                                                                                                                                                                                Municipals (MUB)
                                                                                                                                                                                7-10 Year Treasuries (IEF)
                  0%
                  0%




                                                                                                                                                                         6/11
                        4/01




                                                                                                                                                                         3/11
                        3/01

                               9/01

                                      3/02

                                             9/02

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                                                                                                                                                           3/10

                                                                                                                                                                  9/10
                        Note periods where the Index goes to cash:                                           (BIL)                 (IEF)
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Important Disclosures
Vireo AlphaSector Allocator Premium attempts to track an index known as the AlphaSector Allocator Premium Index, owned and
published by Active Index Solutions
                           Solutions, LLC (“AIS”)
                                            ( AIS ). The AlphaSector Allocator Premium Index is a quantitatively driven index that
applies a weekly trading protocol to the nine Select Sector SPDRs, an exchange traded fund (“ETF”) representing 1-3 month
Treasuries (ticker BIL), two international ETFs, five fixed income ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no
guarantee that the advisor will be successful in achieving returns similar to the AlphaSector Allocator Premium Index, and in fact
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Important Disclosures (cont.)
                      (cont )
The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
bond indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed
Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly. Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment
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Navellier equity strategies may (1) incur material management fees, (2) concentrate investments in relatively few ETFs, industries, or
sectors, (3) have significantly greater trading activity and related costs, and (4) be significantly more or less volatile than the Indices. The
secondary benchmark for the composite is a blended benchmark using the following indices: S&P 500 (45%), MSCI World ex U.S. (25%),
and Barclays Capital U.S. Aggregate Bond Index (30%). The benchmark is rebalanced daily. The S&P 500 Index measures the
performance of the 500 leading companies in leading industries of the U    U.S.
                                                                             S economy
                                                                                economy, focusing on the large cap segment of the market,
                                                                                                                                        market
with approximately 75% coverage of U.S. equities. The MSCI World ex U.S. Index is a free float-adjusted market capitalization weighted
index that is designed to measure the equity market performance of developed markets. As of June 2011, the MSCI World ex U.S. Index
consisted of the following 23 developed market country indices: Australia, Austria, Belgium, Canada, Denmark, Finland, France,
Germany, Greece, Hong Kong, Ireland, Israel, Italy, Japan, the Netherlands, New Zealand, Norway, Portugal, Singapore, Spain, Sweden,
Switzerland, and the United Kingdom. MSCI World ex U.S. Index targets 85% of the free float adjusted market capitalization. The
Barclays Capital U.S. Aggregate Bond Index is a broad-based benchmark that measures the investment grade, U.S. dollar-denominated,
fixed-rate taxable bond market, including Treasuries, government-related and corporate securities, MBS (agency fixed-rate and hybrid
ARM passthroughs), ABS, and CMBS.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed d off 400 industrial,
                   i d t i l 20 transportation,
                                t         t ti  40 utility,
                                                     tilit and
                                                             d 40 fifinancial
                                                                          i l companies.
                                                                                    i    M
                                                                                         Many experts
                                                                                                   t consider
                                                                                                          id th
                                                                                                              the S&P 500 one off the
                                                                                                                                   th mostt
important benchmarks available to judge overall U.S. market performance.

Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
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trading activity and related costs
                             costs, and (4) be significantly more or less volatile than the Indices.
                                                                                            Indices

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                                                                                                                            EXHIBIT
                                                                                                                                  28
From:                                          Cheryl Czyz <Cheryl_Czyz@navellier.com>
Sent:                                          Wednesday, June 20, 2012 5:35 PM
To:                                            kevin.norman@wfadvisors.com
Subject:                                       Vireo commentaries
Attachments:                                   Vireo SPECIAL commentary August 2011.pdf; Vireo SPECIAL commentary August 15
                                               2011.pdf


Mr. Norman,

Here are a couple of commentaries from F‐Squared Investments regarding last year’s signals, etc. that you might find
interesting. Sorry to inundate you with information, but don’t want to leave any stones unturned.

Thank you.

Cheryl

Cheryl Czyz
Marketing Associate-Central Division
-------------------------------------------------




-------------------------------------------------
(Please note our address has changed)
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                                                                                AlphaSector S u p p l e m e n ta l
                                                             
                                                        
                                                                            Premium Index I n f o r m at i o n

August 15, 2011
                                          F-Squared Investments
A SPECIAL COMMENTARY FROM F-SQUARED INVESTMENTS, INC.                                               August 15, 2011

SPECIAL MARKET UPDATE PART II – ALPHASECTOR/US EQUITIES

One week ago F-Squared published a Special Market Update addressing the fast changing market in August, and the
implications for the AlphaSector Indices1. Two key comments from that Update addressed the forward looking
outlook for the markets and the AlphaSector Premium Index:

           “the key analytical question that the AlphaSector models will be evaluating is whether this is a
         structural change in market dynamics (i.e. a formal correction with the potential to become a bear
        market), or just a high volatility market event representing nothing more than a buying opportunity”

          “A closer look at the models showed that of the remaining 8 active sectors, all but two have shown
         EXTENSIVE WEAKENING, and are extremely vulnerable to turning negative in the next week or two.”

The first of these two comments has not been fully answered yet, and is discussed further in the “Is this 2008 or
2010” section below. The second question, addressing sector stability in the Index, has been answered. In the wake
of sharp market declines seen in the first five trading days of August, this past week saw continued market weakness
coupled with record volatility, and has resulted in further changes to the AlphaSector Premium Index structure.

In addition to the one sector that turned off within the AlphaSector Premium Index one week ago, this past Friday
five additional sectors turned negative, and were also removed. With six sectors now removed and only three
remaining, the Index and all portfolios tracking the Index will now have a 25% cash allocation.

This dramatic and rapid response by AlphaSector, adapting to the fast moving markets, is literally unprecedented in
the ten-year history of the strategy. Prior to this month’s moves, the maximum number of sectors that had turned
off for the AlphaSector Premium Index over a two week period was three.

ANALYTICAL DYNAMICS IMPACTING ALPHASECTOR

The over-riding market dynamic of the past several weeks was the remarkable increase in volatility. As measured by
our proprietary volatility calculation, the average sector had a doubling of volatility in the past 6 weeks. Since our
investment engines respond to increasing levels of volatility by shortening the investment horizon and increasing
sensitivity to near-term market events, the doubling of volatility is having a tangible impact on our models.

The spike in sector volatility has thus resulted in a sharp shortening of the investment horizon, which has translated,
in just two weeks, into a transition of the portfolio to a very defensive profile. In the past two weeks, AlphaSector
Premium Index moved from a very bullish stance -- all nine sectors active -- to a 25% cash position.

(As a point of reference, while the current level of sector volatility has increased about 150% year to date, the level of
volatility seen is still only about one-half that seen in late 2008.)

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                                                                                                             S u p p l e m e n ta l
                                                                                                             I n f o r m at i o n
PORTFOLIO IMPLICATIONS

While disclosure rules prohibit us from disclosing the sectors that were turned off until 30 days from month end,
there are some interesting portfolio characteristics of the resulting portfolio structure that we can share.

With a 25% cash weighting, the portfolio has clearly become more defensive. And while the market from January
through July was trending positive and deserved a more bullish portfolio structure (see page one of the prior Special
Market Update), some insight into how the Index might respond to rest of this year can be gleaned by looking at
characteristics of the current Index design, as would have been seen earlier in 2011:

•   If this portfolio had been in place for the full year in 2011, the portfolio would have delivered a beta to the S&P
    500 Index of approximately 70%.
•   The current portfolio also would have had a 2011 year to date Down Capture Ratio of less than 40%2. Thus, the
    current Index structure would have participated in less than one-half of the decline in the S&P 500 in 2011.
•   Remarkably, the current Index design would have had a 2011 year to date Up Capture Ratio of more than 100%.2

IS THIS 2008 OR 2010?

One of the strengths of the AlphaSector strategies is their ability to adapt to changing markets, especially once most
of the sectors move to “inflection points”, or positions where they are actively transitioning from positive to negative
or back again. Over the past several years there have been two concentrated periods of time where the S&P 500
experienced a decline of 10% or more. In both cases AlphaSector moved to a very defensive position in the wake of
the declines. However, in one of the two cases the markets reversed themselves and began an extended rally. In the
other case, the decline signaled the beginning of a prolonged bear market.

Thus the question for investors is whether August 2011 will prove to look more like 2010 or 2008?

In the second quarter of 2010 the S&P 500 dropped over 11%. The AlphaSector Premium Index moved sharply
defensive, shifting from nine active sectors in April, 2010, to just two active sectors by the first week of July (50%
cash). July 2010 proved pivotal, as the market rebounded with a 7% gain for the month and set the stage for a 15%
gain for the calendar year. Fortunately, the AlphaSector Premium Index was able to respond in kind. The Index
added back three sectors in July, gained 10.1% for the month (310bp ahead of the S&P 500), and 17.7% for CY 2010.

During the week of October 5, 2008, the S&P 500 dropped a stunning 18.1%. AlphaSector Premium Index had
previously moved to a 75% cash weighting, and the events of early October pushed AlphaSector to a 100% cash
position. 2008 and 2009 proved to be one of the worst Bear markets of the past century, and the S&P 500
proceeded to drop another 14.7% from October 2008 to March 2009. In this case, AlphaSector Premium Index
maintained the 100% cash position until the first week of April, 2009, protecting investors during the Bear market
and still setting the stage for a 580bp outperformance versus the S&P 500 during 2009.

Fortunately, the current environment does not appear as dire as what was faced in 2008, and hopefully the market
will rebound by year end. Regardless, the AlphaSector models are designed to adapt and respond to changing
market conditions, and will hopefully demonstrate the same strengths for investors as shown in both 2008 and 2010.

The F-Squared Investment Committee
2
 Up/Down Number Ratio is defined by Morningstar as: Up/Down number ratio is a measure of the number of periods that the investment has
        www.vireoinvestments.com
positive/negative returns corresponding with positive/negative returns for the benchmark. A larger/smaller ratio is better.
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advisability of investing in them. One cannot invest directly in an index.
The Indexes are based on active strategies, with the strategy that the AlphaSector Rotation Index and the
AlphaSector Premium Index are based on having an inception date of April 1, 2001. The process of converting the
active strategy to an index implies that the returns presented, while not backtested, reflect theoretical performance
an investor would have obtained had it invested in the manner shown and does not represent returns that an
investor actually attained, as investors cannot invest directly in an index. Theoretical and hypothetical performance
has many inherent limitations. The performance is adjusted to reflect the reinvestment of dividends. The fee
schedule and anticipated expenses are included in the client agreement. F-Squared’s fees are available upon request
and also may be found in Part II of its Form ADV. Past performance is no guarantee of future results.
The information presented is based upon the performance of an Index as reported by NASDAQ OMX, or Active Index
Solutions, LLC. The information is adjusted to reflect the reinvestment of dividends and, except where indicated, all
returns are presented gross of fees. No representation or warranty is made as to the reasonableness of the
assumptions made or that all assumptions used in achieving the returns have been stated or fully considered.
Changes in the assumptions may have a material impact on the hypothetical returns presented.
AlphaSector Rotation Index is the exclusive property of F-Squared Investments, Inc. and Active Index Solutions, LLC.
Active Index Solutions, LLC has contracted with The NASDAQ OMX Group, Inc. (collectively, with its subsidiaries and
affiliates, “NASDAQ OMX”) to calculate and maintain the AlphaSector Rotation Index. NASDAQ OMX shall have no
liability for any errors or omissions in calculating the AlphaSector Rotation Index.
Returns represent past performance, and are not guarantees of future results or indicative of any specific investment.
Past performance is no guarantee of future results.
Sources: Morningstar, NASDAQ OMX, F-Squared Investments. All rights reserved.

1
  This update can be downloaded as a pdf from our website at www.vireoinvestments.com, under the Commentary tab. The
update is titled Special Commentary from F-Squared Investments - Monday, August 8, 2011.
2
  Up/Down Number Ratio is defined by Morningstar as: Up/Down number ratio is a measure of the number of periods that the
investment has positive/negative returns corresponding with positive/negative returns for the benchmark. A larger/smaller ratio
is better.

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                                                                                                           AlphaSectorTM                  2Q
                                                                                                      Premium Index 2011
                                                                                                                       (Equity)
        Vireo is a unique suite of investment strategies with a single-minded focus: limiting losses
                   ™
                                                                                                                                          S u p p l e m e n ta l
        during extended market downturns. For today’s investor, what you make is not nearly as
        important as what you keep! Based on the AlphaSector Indexes, owned and published by                                              I n f o r m at i o n
        Active Index Solutions LLC, this strategy, known as defensive allocation, also allows Vireo to
        deliver improved returns in up markets by constantly working from a position of strength (i.e.,
        the portfolio’s attempt to avoid losses before making new gains). The Vireo portfolios are
        designed to deliver attractive risk-adjusted returns through multiple investment markets via
        diversification and defensive re-allocation, including the use of cash.



        AlphaSector Premium Portfolio Key Features

        • Invests in the nine Select Sector SPDR ETFs and cash

        • Uses NO shorting, leverage, inverse ETFs, or exotic derivative investments

        • Focuses primarily on downside risk management, especially in weak markets

        • Under extreme market conditions, the portfolio can build and hold substantial cash
          positions to avoid losses

        • Participates in rising markets with the ability to outperform in up markets

        • 100% quantitiative process, highly disciplined, weekly calculation




        AlphaSector Premium Index Performance
         Growth of 100 Dollars from 4/1/2001 - 6/30/2011


$400

$350

$300

$250

$200

$150

$100

$50
                 12-01
       4-01




                                                                                                                                   6-11
                             12-02




                                        12-03




                                                                12-05




                                                                                       12-07




                                                                                                   12-08




                                                                                                               12-09
                                                       12-04




                                                                           12-06




                                                                                                                           12-10




              AlphaSector Premium Index (Pure Gross)           S&P 500




         Sources: Zephyr StyleADVISOR, F-Squared Investments, Inc. Performance results presented herein do not
         necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
         for partial or complete loss of funds invested. Results presented include reinvestment of all dividends and other
         earnings. Please read important disclosures at the end of this presentation.
         www.vireoinvestments.com
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Extreme losses can destroy any investment plan.                                                                                                        S u p p l e m e n ta l
                                        Gain Required                                  Capital                      Years Required                     I n f o r m at i o n
            Loss
                                         to Recover                                     Gap                        for Full Recovery
          -10.0%                               11.1%                                     1.1%                                  1.0
          -10.1%                               11.2%                                     1.1%                                  1.0
          -20.0%                               25.0%                                     5.0%                                  2.0
          -30.0%                               42.9%                                    12.9%                                  3.3
          -40.0%                               66.7%                                    26.7%                                  4.7
          -50.0%                              100.0%                                    50.0%                                  6.3
          -51.0%                              104.1%                                    53.1%                                  6.5

In less than one year (5/18/2008 - 3/7/2009), the S&P 500 lost -51%; full recovery
requires a gain of 104%. During the same period, AlphaSector Premium Index
only lost -10%; full recovery requires a gain of 11%.
Source: NASDAQ OMX, Morningstar, Active Index Solutions.


 Performance Returns                                                        Return/Risk Analysis
                                     AlphaSector                S&P                                             AlphaSector               S&P
 Annualized Returns                                                                    4/1/2001 to
                                    Premium Index               500                                            Premium Index              500
 through 6/30/11                                                                        6/30/2011
                                     (Pure Gross)              Index                                            (Pure Gross)             Index

 2nd Quarter                               0.92%              0.10%         Best Month                              10.12%               9.57%

 Year-to-Date                              6.97%              6.02%         Worst Month                              -7.85%            -16.79%

 Trailing 1 Year                         36.09%              30.69%         % of Up Month                               68%                63%

 Trailing 3 Years                        15.23%               3.34%         % of Down Month                             32%                37%

 Trailing 5 Years                        15.92%               2.94%         Maximum Drawdown (%)                   -13.25%             -50.95%

 Trailing 10 Years                       13.66%               2.72%

 Since Inception (4/1/01)                13.79%               3.22%
 Cumulative Return                      275.78%              38.41%
 (4/1/01-6/30/11)

 Yearly Returns                                                             Comparative Return/Risk Analysis
                                     AlphaSector                S&P                                             AlphaSector               S&P
                                                                                       4/1/2001 to
                                    Premium Index               500                                            Premium Index              500
                                                                                        6/30/2011
                                     (Pure Gross)              Index                                            (Pure Gross)             Index

 2010                                    17.90%              15.06%         Alpha(2)                                12.02%                0.00%

 2009                                    32.31%              26.46%         Beta (2)
                                                                                                                      0.48%               1.00%

 2008                                     -1.87%            -37.00%         Standard Deviation       (1)
                                                                                                                    10.60%               15.82%

 2007                                    14.97%               5.49%         R-Squared(2)                            51.41%             100.00%

 2006                                    16.69%              15.79%         Up Capture Ratio                        85.80%             100.00%

 2005                                      6.86%              4.91%         Down Capture Ratio                      41.50%             100.00%

 2004                                    14.88%              10.88%

 2003                                    24.81%              28.68%

 2002                                      5.33%            -22.10%

 2001 (9 months)                           5.99%             -0.03%
Source: Morningstar, F-Squared Investments, Zephyr StyleADVISOR.
(1)
    Annualized standard deviation since inception
(2)
    Calculated since inception vs. S&P 500 Index

Potential investors should consult with their financial advisor before investing in any investment product. Investment in equity strategies
involves substantial risk and has the potential for partial or complete loss of funds invested. Results presented do not necessarily indicate future
performance. All performance figures include reinvestment of dividends, interest, and other income.



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        Historical Diversification and Re-allocation                                                                                                               S u p p l e m e n ta l
        April 1, 2001 - May 31, 2011
        The Vireo AlphaSector Premium Index invests in the nine Select Sector ETFs and a cash equivalent,                                                          I n f o r m at i o n
        short-term Treasury ETF (“BIL”). Based upon a weekly risk assessment calculation, each sector may be
   ASP “turned on” or “turned off” and under certain circumstances, the portfolio has the potential to have a 100%
        allocation to the Treasury ETF (i.e., cash).
100%
                                                                                                                                                                    Utilities (XLU)
90%
                                                                                                                                                                    Technology (XLK)

80%                                                                                                                                                                 Materials (XLB)
                                                                                                                                                                    Healthcare (XLV)
70%
                                                                                                                                                                    I d t i l (XLI)
                                                                                                                                                                    Industrials
                                                                                                                                                                    Financials (XLF)
60%
                                                                                                                                                                    Energy (XLE)
50%                                                                                                                                                                 Cons. Staples (XLP)

                                                                                                                                                                    Cons. Disc. (XLY)
40%
                                                                                                                                                                    Short Term
                                                                                                                                                                    Treasuries (BIL)
30%

20%

10%

 0%




                                                                                                                                                            6/11
       3/01

              9/01

                      3/02

                             9/02

                                    3/03

                                           9/03

                                                  3/04

                                                         9/04

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                                                                                                    9/07

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                                                                                                                                                     3/11
       4/01




        Note periods where the Index goes to cash:                                      (BIL)
       Source: Morningstar, F-Squared Investments. Copyright 2009 – Patents pending. Allocations presented for each ETF
       represent the allocation for the majority of time during the stated period and do not necessarily represent the weight for
       any specific date. Allocations are rounded for presentation purposes.
                                                                                                                                                                                          1


        ETF Universe:
       The AlphaSector Premium Portfolio Covers all of the S&P 500 Sectors


              U.S. Equity ETFs                                                               Cash Equivalent

              Consumer Discretionary                              XLY                        Short-term Treasuries                              BIL

              Consumer Staples                                    XLP

              Energy                                              XLE

              Financials                                          XLF

              Healthcare                                          XLV

              Industrials                                         XLI

              Materials                                           XLB

              Technology                                          XLK

              Utilities                                           XLU



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Important Disclosures
ALPHASECTOR PREMIUM INDEX:
The AlphaSector Premium Index is owned and published by Active Index Solutions, LLC (“AIS”). The AlphaSector
Premium Index is a quantitatively driven index that applies a weekly trading protocol to nine Select Sector SPDRs
and an exchange traded fund (“ETF”) representing 1-3 month Treasuries (ticker BIL). The index has the potential
to be invested in any combination of the nine SPDRs including all nine at the same time, a combination of sector
SPDRs and the Treasury ETF, or can be 100% invested in the Treasury ETF. There is no guarantee that the
advisor will be successful in achieving returns similar to the AlphaSector Premium Index, and in fact client returns
will be significantly lower than the index returns after fees are taken into account, including management fees,
brokerage or transaction costs, or other administrative or custodian fees a client may incur. One cannot directly
invest in an index. Index returns presented represent past performance, and are not a guarantee of future results or
indicative of any specific investment.
“AlphaSector” is a service mark of F-Squared Investments, Inc., and AIS. Neither AIS nor F-Squared Investments,
Inc., is affiliated with Navellier & Associates, Inc. Navellier & Associates, Inc., has entered into a Model Manager
Agreement with F-Squared pursuant to which it timely receives any changes made to the AlphaSector Premium
Index holdings. Investment products such as the Vireo AlphaSector Premium strategy that are based on the
AlphaSector Premium Index are not necessarily sponsored by AIS or F-Squared, and AIS and F-Squared do not
make any representation regarding the advisability of investing in them. One cannot directly invest in an index.
Index returns presented represent past performance, and are not a guarantee of future results or indicative of any
specific investment.
Navellier does not calculate the statistical information included in the attached report. The calculation and the
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financial products.
The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard
& Poors, a division of The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total
capitalization of companies publicly traded in the United States. The S&P 500 Index is weighted by market value
and its performance is thought to be representative of the stock market as a whole. It is reported that over 70% of
all U.S. equity funds are tracked by the S&P 500. The index selects its companies based upon their market size,
liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is composed
of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500
one of the most important benchmarks available to judge overall U.S. market performance. Presentation of Index
data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor
cannot invest directly in an index. Among the most important differences between the Indices and Navellier
strategies are that the Navellier equity strategies may (1) incur material management fees, (2) concentrate
investments in relatively few ETFs, industries, or sectors, (3) have significantly greater trading activity and related
costs, and (4) be significantly more or less volatile than the Indices.
Potential investors should consult with their financial advisor before investing in any Navellier Investment Product.
Investment in equity strategies involves substantial risk and has the potential for partial or complete loss of funds
invested.




About Vireo                                                                                      800.887.8671
Vireo Portfolio Sponsor                                                                     Navellier & Associates
Navellier & Associates                                                                 One East Liberty, Third Floor,
                                                                                             Reno, Nevada 89501
Model Portfolio Management
F-Squared Investments/Active Index Solutions, LLC
Total Product Assets: $35 million
Benchmark: S&P 500 Index
Objective: The AlphaSector Premium Index seeks to limit losses during severe market downturns while
fully participating in up markets.
Investment Process: The AlphaSector Premium Index utilizes a highly disciplined, quantitative process
to assess forward-looking risk across each of the S&P 500 sectors. Using widely available ETFs, the
portfolio will re-allocate between these individual sectors whenever the risk is deemed too great. When
conditions warrant, the portfolio can go to cash.

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                                                                                                                                                                                                                                                 TM
                                                                                                                                                                                                                              Vireo AlphaSector
                                                                                                                                                                                                                              Premium
                                                                                                                                                                                                                              Performance
                                                                                                                                                                                                                              S u p p l e m e n ta l
                                                                                                                                                                                                                              I n f o r m at i o n
         Vireo AlphaSector Premium Performance (Equity)
          Wrap Composite Growth of 100 Dollars from 3/1/2010 - 6/30/2011

$130

$125

$120

$115

$110

$105

$100

$95

$90


                                                                                                                                                      1-31-11


                                                                                                                                                                2-28-11


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                    Vireo AlphaSector Premium (Pure Gross)                                              Vireo AlphaSector Premium (Net)                                   S&P 500

         Source: Zephyr StyleADVISOR.




                Performance Returns                                                                                                     Return/Risk Analysis
                                                     Vireo AlphaSector Premium                                     S&P                                                                Vireo AlphaSector Premium                     S&P
                Annualized Returns                                                                                                                  3/1/2010 to
                                                           Wrap Composite                                          500                                                                      Wrap Composite                          500
                through 6/30/11                                                                                                                      6/30/2011
                                                                                                                  Index                                                                                                            Index
                                                     (Pure Gross)                       Net                                                                                           (Pure Gross)                Net
                2nd Quarter                                      1.78%                  1.15%                            0.10%          Best Month                                         9.79%                  9.27%             8.92%

                Year-to-Date                                     7.79%                  6.80%                            6.02%          Worst Month                                       -7.79%                  -7.82%            -7.99%

                Trailing 1 Year                             35.90%                33.23%                           30.69%               % of Up Month                                          69%                          69%       69%

                Since Inception (3/1/10)                    17.48%                15.28%                           16.62%               % of Down Month                                        31%                          31%       31%
                Cumulative Return                           23.96%                20.88%                           22.75%               Maximum Drawdown (%)                             -13.67%                 -13.72%           -12.80%
                (3/1/10-6/30/11)

                Yearly Returns                                                                                                          Comparative Return/Risk Analysis
                                                     Vireo AlphaSector Premium                                     S&P                                                                Vireo AlphaSector Premium                     S&P
                                                                                                                                                    3/1/2010 to
                                                           Wrap Composite                                          500                                                                      Wrap Composite                          500
                                                                                                                                                     6/30/2011
                                                                                                                  Index                                                                                                            Index
                                                     (Pure Gross)                       Net                                                                                                      (Pure Gross)
                2010 (10 months)                            15.00%                13.18%                           15.77%               Alpha(2)                                                     1.56%                          0.00%
                Source: FactSet, Zephyr StyleADVISOR.                                                                                   Beta(2)                                                      0.95%                          1.00%
                (1)
                    Annualized standard deviation since inception
                (2)
                    Calculated since inception vs. S&P 500 Index                                                                        Standard Deviation(1)                                        16.08%                        16.43%

                                                                                                                                        R-Squared         (2)
                                                                                                                                                                                                     94.01%                       100.00%

                                                                                                                                        Up Capture Ratio                                             96.40%                       100.00%

                                                                                                                                        Down Capture Ratio                                           90.40%                       100.00%




         Performance results presented herein do not necessarily indicate future performance. Investment in equity strategies
         involves substantial risk and has the potential for partial or complete loss of funds invested. Results presented include
         reinvestment of all dividends and other earnings. Please read important disclosures at the end of this presentation.                                                                                                     2Q 2011
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                                                                                                                                               AlphaSector                2Q
                                                                                                                                                     Premium 2011
                                                   V i reo a lph as e c t o r P r e miu m W R A P C o m p o sit e
                                                               Reporting Currency U.S. Dollar | June 30, 2011
                  Firm               Composite                                                      Composite
                                                        Percentage of          Number of                               Composite Net        S&P 500 Index            Composite
     Year         Assets              Assets                                                        Pure Gross
                                                         Firm Assets           Accounts                                 Return (%)           Return (%)            Dispersion (%)
                  ($M)                 ($M)                                                         Return (%)
     20101         2,365                  3                  <1%                    21                 15.00                 13.18               15.77                  N/A2
 1
  Performance calculations for the period ended December 31, 2010 only includes 10 months of history.
 2
  N/A information is not statistically meaningful due to an insufficient number of portfolios in the composite for the entire year.

1. Compliance Statement – Navellier &                          the account. “Pure” gross-of-fees returns do not                presented in these materials or is necessarily
Associates, Inc. claims compliance with the Global             reflect the deduction of any trading costs, fees, or            comparable to such strategies.
Investment Performance Standards (GIPS®)                       expenses, and are presented only as supplemental
and has prepared and presented this report in                  information. Therefore, actual returns will be                  7. General Disclosure - The three-year annualized
compliance with GIPS standards. Navellier &                    reduced by advisory and other expenses incurred.                standard deviation is not presented because 36
Associates, Inc. has been independently verified               Performance results include the reinvestment of                 months of history is not available. Actual results
for the periods January 1, 1995 through December               any dividends. The composite was created March                  may differ from composite results depending
31, 2010 by Ashland Partners & Company LLP.                    1, 2010. As of April 2011, the Navellier Vireo                  upon the size of the account, custodian related
A copy of the verification report is available upon            AlphaSector Premium Wrap Composite has                          costs, the inception date of the account and other
request. Verification assesses whether (1) the firm            been renamed the Vireo AlphaSector Premium                      factors. Performance results presented herein
has complied with all the composite construction               Wrap Composite. Valuations and returns are                      do not necessarily indicate future performance.
requirements of the GIPS standards on a firm-wide              computed and stated in U.S. Dollars. Portfolio                  Investment in equity strategies involves
basis and (2) the firm’s policies and procedures are           valuation sources are IDC, Factset, and Thompson.               substantial risk and has the potential for partial
designed to calculate and present performance in               Performance is calculated using the “Modified                   or complete loss of funds invested. Results
compliance with the GIPS standards. Verification               Dietz Method.” Policies for valuing portfolios,                 presented include reinvestment of all dividends
does not ensure the accuracy of any specific                   calculating performance, and preparing compliant                and other earnings. The securities identified and
composite presentation.                                        presentations are available upon request.                       described do not represent all of the securities
                                                                                                                               purchased, sold, or recommended for client
2. Definition of Firm - Navellier & Associates,                4. Management Fees - The management fee                         accounts. The results presented were generated
Inc. is a registered investment adviser established            schedule for accounts ranges from 75 to 100 basis               during a period of improving and deteriorating
in 1987. Navellier & Associates, Inc. manages                  points, depending on account size and brokerage                 economic conditions in the U.S. and both positive
a variety of equity assets for primarily U.S. and              selected. Some incentive fee, fixed fee, and fulcrum            and negative market performance. There can be no
Canadian institutional and retail clients.                     fee accounts may be included. Fees are negotiable,              assurance that these favorable market conditions
                                                               and not all accounts included in the composite are              will occur again in the future. Navellier has no data
3. Composite Description - The Vireo                           charged the same rate. Bundled fee accounts make                regarding actual performance in different economic
AlphaSector Premium Wrap Composite includes                    up 100% of the composite for all periods shown.                 or market cycles or conditions. It should not be
all discretionary Vireo AlphaSector Premium                    Fee schedules are provided by independent sponsors              assumed that any securities recommendations made
equity accounts that are charged a wrap fee and                and are available upon request from the respective              by Navellier in the future will be profitable or equal
are managed with similar objectives for a full                 sponsor. The bundled fees include custody, trading              the performance of securities made in this request.
month, including those accounts no longer with                 expenses, and other expenses associated with the                For a list of recommendations made by Navellier &
the firm. The strategy attempts to track an index              management of the account. The client is referred               Associates, Inc. for the preceding twelve months
known as the AlphaSector Premium Index and                     to the firm’s Form ADV Part II for a full disclosure            or to receive a complete list and description
Navellier & Associates, Inc. pays a licensing fee to           of the fee schedule.                                            of Navellier & Associates, Inc.’s investment
F-Squared Investments, Inc. to provide a model of                                                                              composites, contact Tim Hope at (800) 365-8471,
the index. The index is quantitatively driven and              5. Composite Dispersion - If applicable, the                    extension 416, or write to Navellier & Associates,
applies a weekly trading protocol to nine Select               dispersion of annual returns is measured by the                 Inc., One East Liberty, 3rd Floor, Reno, NV 89501,
Sector SPDRs and an exchange traded fund (ETF)                 standard deviation across asset-weighted portfolio              or e-mail timh@navellier.com.
representing 1-3 month Treasuries. The index has               returns represented within the composite for the
the potential to be invested in any combination                full year.                                                      All Information contained herein is stated as of
of the nine SPDRs including all nine at the same                                                                               the date referenced at the top of this page unless
time, a combination of sector SPDRs and the                    6. Benchmark - The primary benchmark for the                    indicated otherwise. Past performance is no
Treasury ETF, or can be 100% invested in the                   composite is the S&P 500 Index. The S&P 500                     guarantee of future results.
Treasury ETF. There is no guarantee that Navellier             consists of 500 stocks chosen for market size,
will achieve returns similar to the index, and in fact         liquidity and industry group representation. It is              Navellier & Associates, Inc.
the strategy’s returns may vary from the index due             a market value weighted index with each stock’s                 One East Liberty, Third Floor
to the timing of trades and after fees are taken into          weight in the index proportionate to its market                 Reno, Nevada 89501
account, including management fees, brokerage                  value. The reported returns reflect a total return for
                                                                                                                               800-887-8671
or transactions costs, or other administrative                 each quarter inclusive of dividends. The asset mix
or custodian fees. Performance is calculated on                of the composite may not be precisely comparable
a “time-weighted” and “asset-weighted” basis.                  to the presented indices. Presentation of index
Performance figures that are net of fees take into             data does not reflect a belief by the Firm that the
account advisory fees and any brokerage fees                   S&P 500 Index, or any other index, constitutes an
or commissions that have been deducted from                    investment alternative to any investment strategy

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                                                          TM
                  Vireo    AlphaSector
                   Vireo AlphaSector PremiumAllWeather            Premium Portfolio
                                            • Supplemental Information                                                                                                                                       FOR MORE INFORMATION
                                                                                                                                                                                                                CALL 800.887.8671
                  An exciting, new, defensive ETF portfolio from Navellier                                                                                                                                    www.navelliervireo.com
                        Portfolio Diversification and Re-allocation History March 1, 2010 - May 31, 2011
                    The Vireo AlphaSector Premium Portfolio invests in the nine Select Sector ETFs and a cash equivalent short-term Treasury
                                                                                                                                                 Supplemental Information
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                     ETF (“BIL”). Based on a weekly risk assessment calculation, each sector may be “turned on” or “turned off” and under
                     certain circumstances,
                  AlphaSector     Allocatorthe portfolio has
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             diversification. The date live assets began tracking the strategies are: U.S. Equity - April 1, 2001, International -
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                    Source:
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                        majority of time during the stated period and do not necessarily represent the weight for any specific date. Allocations are rounded for presentation
April 2001 to purposes.    Performance
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                                                             AlphaSector Allocator S u p p l e m e n ta l
                                                                       Premium Index I n f o r m at i o n


August 8, 2011

A SPECIAL COMMENTARY FROM F-SQUARED INVESTMENTS, INC.

What a difference a week makes. The US stock market had been grinding its way
upwards throughout the majority of the year. Figure 1 below shows the market’s move
from January through the end of July, with the positive trend line provided. While there
clearly were market gyrations, a key aspect of the market through July 31 was that when
the S&P 500 declined, the lows were higher than the prior lows, and on the rallies, the
highs were higher than the prior highs. From most perspectives, this return stream would
characterize a healthy market.

FIGURE 1: S&P 500 Total Return, 1/1/2011 – 7/31/2011




August has proven to represent a different dynamic. As of August 5, 2011, the S&P 500
had fallen -10.4% for the prior month, but 69% of that decline occurred in this last week. In
fact, the S&P 500 is down -10.2% for the prior 3 months, which is virtually identical to the
prior one month period. Thus virtually all of the decline in the broader US markets for both
the trailing 30 days and 90 days has occurred in the last 5 trading days. This can be seen
clearly in Figure 2 below.

FIGURE 2: S&P 500 Total Return, 1/1/2011 – 8/5/2011




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Therefore, from the perspective of the AlphaSector Allocator Premium models, much of the         S u p p l e m e n ta l
key data reflecting the current state of the market is actually just one week old. And the
key analytical question that the AlphaSector models will be evaluating is whether this is a      I n f o r m at i o n
structural change in market dynamics (i.e., a formal correction with the potential to become
a bear market), or just a high volatility market event representing nothing more than a
buying opportunity.

This Special Market Update will therefore start with a brief “executive summary” of current
portfolio dynamics, and is then organized into the following sections to address this issue,
and set expectations on future activity: Market Backdrop; Historical Context; Implications
on the AlphaSector Models.

BRIEF SUMMARY OF ALPHASECTOR ALLOCATOR PREMIUM INDEX PORTFOLIO
DYNAMICS

The US markets have seen a dramatic performance decline over the past few weeks, with
a loss over the past week of -7.2%, and -9.0% since 7/1/11. The AlphaSector Allocator
Premium Index has declined significantly less than the S&P over the past several weeks.

•   AlphaSector Allocator Premium Index is outperforming the S&P 500 by 1.85% YTD, by
    1.58% for the week and 2.75% since 7/1/11.

While the AlphaSector Allocator Index had all equity sectors active for most of the year,
one of the sectors turned off this weekend. A closer look at the models showed that of the
remaining equity sectors, all but two have shown EXTENSIVE WEAKENING, and are
extremely vulnerable to turning negative in the next week or two. In the bond sleeve, the
bullish position in High Yield could be threatened by continued weakness in risky assets.

•   Unless conditions change dramatically, 6 of the US domestic equity sectors are
    vulnerable to turning negative. If all 6 of the vulnerable sectors turn negative, it would
    result in a significant cash position.

•   The level and extent of weakening seen in the sector evaluations by the AlphaSector
    Allocator models over the past few weeks represent one of the most dramatic deterio-
    rations in sector strength in the history of the model.

MARKET BACKDROP

While performance dynamics, such as shown on the prior page, are critical, at the heart of
the AlphaSector Allocator engines is a “Dynamic Volatility Window” that adjusts the
sensitivity of the models to the current environment. The higher the sector volatility level
(based on the proprietary AlphaSector Allocator volatility calculation), the more sensitive
the engine is to near-term market events; the lower the sector volatility, the less sensitive
the engine is to near-term market moves.

Therefore, some key volatility related data:

•   Overall changes in levels of volatility, at the sector level, had been very benign through
    the first quarter of the year. Average increase in volatility was just 18% through the
    first quarter, and negative on a year-over-year basis.


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•   The second quarter of 2011 and the early part of Q3 show a different volatility regime.
    Average volatility at the US domestic equity sector level increased 83% from March 31,
    and over 115% year-to-date (YTD). The vast majority of that volatility increase
    occurred in the last few weeks of July and the first week of August.

•   The US equity sector with the lowest increase in volatility YTD is Utilities with a 51%
    increase.

•   The US equity sector with the highest increase in volatility YTD is Energy, with a 225%
    increase.

Correlation among the US equity sectors is another market component that has an impact
on the AlphaSector Allocator models. Specifically, the higher the level of sector correlation,
the less value the AlphaSector Allocator decisions will have for the client. Fortunately,
correlations remain reasonably low, and dispersion reasonably high:

•   Trailing 3 months, spread between best to worst sector returns is 14.2%.

•   Trailing 6 months, spread between best to worst sector returns is 20.0%.

Final insight to understanding current market dynamics is sector performance moves. The
broader S&P 500 return pattern YTD is shown in Figures 1 and 2. For the sectors, some
additional detailed information includes:

•    On average, the equal weighted average return of the nine US equity sectors YTD is
    -3.2%, versus -3.6% for the S&P 500. This data point demonstrates the typical benefit
     of our equal weighting at the sector level within the US equity sleeve.

•    Declines by US equity sectors from the market peaks earlier in the year average a
    -12.8% decline. However, as mentioned earlier, approximately 70% of the declines
     occurred in the first week of trading in August.

•   The worst performing sector YTD is US Financials, which is down -15.2%.

•   The best performing sector YTD is Gold, which is up +19.8%.

HISTORICAL CONTEXT

AlphaSector strategies are designed to provide participation in up markets, and implement
aggressive risk controls in bear markets. Decisions are purely quantitative in nature, and
made on a weekly basis. The intent is not to employ market timing, but rather to make
repeatable decisions about the probability of a sector to lose money on a forward looking
basis. Volatility is a key component in defining how sensitive the models are at any given time.

Our models do not use fundamental information, or “guess” the direction of the markets.
Rather, we evaluate market results and adapt our positions based on the unbiased market data.

There is a lag in the time between a market move for a sector and when the AlphaSector
engine makes a change in sector direction. To put this lag into perspective, a “short”




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period of loss before a sector would turn off has historically been 4-5 weeks (i.e., Energy in
July/August of 2008). While this might appear deliberate, this approach has allowed
AlphaSector to avoid the past two bear markets. Further, the models will move aggres-
sively to become defensive once engaged. For example, from May 2010 to the first week
of July 2010, the AlphaSector Allocator Premium Index went from nine US equity sectors
active to only two active equity sectors.

A powerful means of understanding the performance profile of the AlphaSector strategies
is to look at returns over a series of rolling time periods. The various AlphaSector
strategies were all designed to deliver consistent, repeatable returns, with high predict-
ability of returns in similar categories of market conditions.

The following will provide key data reflecting performance over rolling time periods:

•   AlphaSector Allocator Premium Index has had positive returns 91% of the time for
    rolling 6 month periods, and 80% for rolling 3 month periods. Substantially better than
    the S&P 500. (See chart below and to the left.)

•   The lag in the AlphaSector Allocator decision implementation means that there is the
    potential for losses of more than 8% within a rolling 90 day period. However, as the
    time period gets longer, the maximum historical loss actually declines (i.e., AlphaSector
    Allocator has historically “set a floor” in maximum loss or drawdown within the first
    month or two, and then performance tends to improve as the time period expands.)
    (See chart below and to the right.)

•   The S&P 500 has had quarterly losses of more than 40%, and as the time period
    extends the maximum loss increases.




IMPLICATIONS FOR THE ALPHASECTOR ALLOCATOR MODELS

•   The US markets have seen a dramatic performance decline over the past few weeks,
    with a loss over the past week of -7.2%, and -9.0% since 7/1/11.

•   AlphaSector Allocator Premium has declined significantly less than S&P 500 over the
    past several weeks.




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•    AlphaSector Allocator Premium Index is outperforming the S&P 500 by 0.6% YTD, by
     1.58% over the last week and by 2.75% since 7/1/11.

•    While the AlphaSector Allocator Premium Index had all 9 US equity sectors active for
     most of the year, one of the nine sectors turned off this weekend.

•    A closer look at the models showed that of the remaining active equity sectors, all but
     two have shown EXTENSIVE WEAKENING, and are extremely vulnerable to turning
     negative in the next week or two. Weak risky asset price action increases the
     likelihood that High Yield will be removed from the bond sleeve.

•    Unless conditions change dramatically, 6 of the remaining 8 sectors are vulnerable to
     turning negative. If all 6 of the vulnerable sectors turn negative, it would result in a
     significant cash position.

•    The level and extent of weakening seen in the sector evaluations by the AlphaSector
     Allocator models over the past few weeks represent one of the most dramatic deterio-
     ration in sectors strength in the history of the model.

•    If it turns out that 6 or more sectors turn off over the next several weeks (and we build
     a partial cash weighting), it could easily represent the fastest our models have moved
     to a cash-based defensive position in the 10+ year history of the Index.

The F-Squared Investment Committee
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One cannot invest directly in an index.

The Indexes are based on active strategies, with the strategy that the AlphaSector
Rotation Index and the AlphaSector Premium Index are based on having an inception date
of April 1, 2001. The process of converting the active strategy to an index implies that the
returns presented, while not backtested, reflect theoretical performance an investor would
have obtained had it invested in the manner shown and does not represent returns that an




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investor actually attained, as investors cannot invest directly in an index. Theoretical and
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The AlphaSector Premium Index and the AlphaSector Allocator Premium Index are owned
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quantitatively driven index that applies a weekly trading protocol to nine Select Sector
SPDRs and an exchange traded fund (“ETF”) representing 1-3 month Treasuries (ticker
BIL). The index has the potential to be invested in any combination of the nine SPDRs
including all nine at the same time, a combination of sector SPDRs and the Treasury ETF,
or can be 100% invested in the Treasury ETF. The AlphaSector Allocator Premium Index is
a quantitatively driven index that applies a weekly trading protocol to the nine Select Sector
SPDRs, a Treasury exchange traded fund, two international ETFs, five fixed income ETFs,
two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will
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widely held by Standard & Poors, a division of The McGraw-Hill Companies, Inc., and
comprises approximately three-quarters of the total capitalization of companies publicly
traded in the United States. The S&P 500 Index is weighted by market value and its
performance is thought to be representative of the stock market as a whole. It is reported
that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its
companies based upon their market size, liquidity, and sector. Most of the companies in the
index are mid cap or large corporations. This index is composed of 400 industrial, 20
transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500
one of the most important benchmarks available to judge overall U.S. market performance.
Presentation of Index data does not reflect a belief by Navellier that any stock index
constitutes an investment alternative to any Navellier equity strategy presented in these
materials, or is necessarily comparable to such strategies and an investor cannot invest
directly in an index. Among the most important differences between the Indices and
Navellier strategies are that the Navellier equity strategies may (1) incur material
management fees, (2) concentrate investments in relatively few ETFs, industries, or
sectors, (3) have significantly greater trading activity and related costs, and (4) be signifi-
cantly more or less volatile than the Indices.
Potential investors should consult with their financial advisor before investing in any
Navellier Investment Product. Investment in equity strategies involves substantial risk and
has the potential for partial or complete loss of funds invested.



About Vireo                                                                          800.887.8671
Model Portfolio Management                                                  One East Liberty, Third Floor,
F-Squared Investments                                                             Reno, Nevada 89501
Howard Present, President

Total Product Assets: $283 million

Benchmark: Dow Jones Moderate Global Index

Objective: The Vireo AlphaSector Allocator Premium Portfolio seeks to limit losses during severe
market downturns while fully participating in up markets.

Investment Process: The Vireo AlphaSector Allocator Premium Portfolio utilizes a highly disciplined,
quantitative process to assess forward-looking risk across all major asset classes. Using widely
available ETFs, the portfolio will reallocate between individual sectors and asset classes whenever the
risk is deemed too great. When conditions warrant, the portfolio can go to cash.


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                                                                                                                             AlphaSector Allocator                         2Q
                                                                                                                                                      Premium 2011
                                        V i reo a lph as ec to r A l l o cat o r P r e miu m W R A P C o m p o sit e
                                                               Reporting Currency U.S. Dollar | June 30, 2011
                 Firm            Composite         Percentage                        Composite        Composite             DJ Moderate            AlphaSector           Composite
                                                                    Number of
     Year        Assets           Assets            of Firm                          Pure Gross       Net Return            Global Index         Allocator Blended       Dispersion
                                                                    Accounts
                 ($M)              ($M)              Assets                          Return (%)          (%)                Return (%)           Index Return (%)           (%)
     20101        2,365               73               3%               358            12.53            10.75                 13.87                    12.59                N/A2
 1
  Performance calculations for the period ended December 31, 2010 only includes 10 months of history.
 2
  N/A information is not statistically meaningful due to an insufficient number of portfolios in the composite for the entire year.

1. Compliance Statement – Navellier & Associates,              will achieve returns similar to the index, and in fact          market, with approximately 75% coverage of U.S.
Inc. claims compliance with the Global Investment              the strategy’s returns may vary from the index due              equities. The MSCI World ex U.S. Index is a free float-
Performance Standards (GIPS®) and has prepared                 to the timing of trades and after fees are taken into           adjusted market capitalization weighted index that is
and presented this report in compliance with GIPS              account, including management fees, brokerage or                designed to measure the equity market performance of
standards. Navellier & Associates, Inc. has been               transactions costs, or other administrative or custodian        developed markets. As of June 2011, the MSCI World
independently verified for the periods January 1, 1995         fees. Performance is calculated on a “time-weighted”            ex U.S. Index consisted of the following 23 developed
through December 31, 2010 by Ashland Partners &                and “asset-weighted” basis. Performance figures that            market country indices: Australia, Austria, Belgium,
Company LLP. A copy of the verification report is              are net of fees take into account advisory fees and             Canada, Denmark, Finland, France, Germany,
available upon request. Verification assesses whether          any brokerage fees or commissions that have been                Greece, Hong Kong, Ireland, Israel, Italy, Japan,
(1) the firm has complied with all the composite               deducted from the account. “Pure” gross-of-fees returns         the Netherlands, New Zealand, Norway, Portugal,
construction requirements of the GIPS standards                do not reflect the deduction of any trading costs, fees,        Singapore, Spain, Sweden, Switzerland, and the
on a firm-wide basis and (2) the firm’s policies and           or expenses, and are presented only as supplemental             United Kingdom. MSCI World ex U.S. Index targets
procedures are designed to calculate and present               information. Therefore, actual returns will be reduced          85% of the free float adjusted market capitalization.
performance in compliance with the GIPS standards.             by advisory and other expenses incurred. Performance            The Barclays Capital U.S. Aggregate Bond Index is a
The Vireo AlphaSector Allocator Wrap Composite has             results include the reinvestment of any dividends. The          broad-based benchmark that measures the investment
been examined for the periods March 1, 2010 through            composite was created March 1, 2010. As of October              grade, U.S. dollar-denominated, fixed-rate taxable
December 31, 2010. The verification and performance            2010, the Navellier Vireo AlphaSector AllWeather                bond market, including Treasuries, government-related
examination reports are available upon request.                Premium Wrap Composite has been renamed the                     and corporate securities, MBS (agency fixed-rate and
2. Definition of Firm - Navellier & Associates,                Navellier Vireo AlphaSector Allocator Premium Wrap              hybrid ARM passthroughs), ABS, and CMBS. The
Inc. is a registered investment adviser established in         Composite. As of April 2011, the Navellier Vireo                returns for the indices include the reinvestment of
1987. Navellier & Associates, Inc. manages a variety           AlphaSector Allocator Premium Wrap Composite                    any dividends. The asset mix of the composite may
of equity assets for primarily U.S. and Canadian               has been renamed the Vireo AlphaSector Allocator                not be precisely comparable to the presented indices.
institutional and retail clients.                              Premium Wrap Composite. Valuations and returns                  Presentation of index data does not reflect a belief
3. Composite Description - The Vireo AlphaSector               are computed and stated in U.S. Dollars. Portfolio              by the Firm that the Dow Jones Moderate Global
Allocator Premium Wrap Composite includes all                  valuation sources are IDC, Factset, and Thompson.               Index, or any other index, constitutes an investment
discretionary Vireo AlphaSector Allocator Premium              Performance is calculated using the “Modified Dietz             alternative to any investment strategy presented in
equity accounts that are charged a wrap fee and are            Method.” Policies for valuing portfolios, calculating           these materials or is necessarily comparable to such
managed with similar objectives for a full month,              performance, and preparing compliant presentations              strategies.
including those accounts no longer with the firm.              are available upon request.                                     7. General Disclosure - The three-year annualized
The strategy attempts to track an index known as               4. Management Fees - The management fee schedule                standard deviation is not presented because 36 months
the AlphaSector Allocator Premium Index and                    for accounts ranges from 75 to 100 basis points,                of history is not available. Actual results may differ
Navellier & Associates, Inc. pays a licensing fee to           depending on account size and brokerage selected.               from composite results depending upon the size of
F-Squared Investments, Inc. to provide a model of              Some incentive fee, fixed fee, and fulcrum fee accounts         the account, custodian related costs, the inception
the index. Thirty-six percent of the index consists of         may be included. Fees are negotiable, and not all               date of the account and other factors. Performance
the AlphaSector Premium Index, 30% consists of the             accounts included in the composite are charged the              results presented herein do not necessarily indicate
AlphaSector Fixed Income Index, 24% consists of the            same rate. Bundled fee accounts make up 100% of                 future performance. Investment in equity strategies
AlphaSector International Index, and 10% consists              the composite for all periods shown. Fee schedules are          involves substantial risk and has the potential for
of the AlphaSector Alternatives Premium Index. The             provided by independent sponsors and are available              partial or complete loss of funds invested. Results
AlphaSector Premium Index is quantitatively driven             upon request from the respective sponsor. The bundled           presented include reinvestment of all dividends and
and applies a weekly trading protocol to nine Select           fees include custody, trading expenses, and other               other earnings. The securities identified and described
Sector SPDRs and an exchange traded fund (ETF)                 expenses associated with the management of the                  do not represent all of the securities purchased, sold,
representing 1-3 month Treasuries. The index has the           account. The client is referred to the firm’s Form ADV          or recommended for client accounts. The results
potential to be invested in any combination of the             Part II for a full disclosure of the fee schedule.              presented were generated during a period of improving
nine SPDRs including all nine at the same time, a              5. Composite Dispersion - If applicable, the dispersion         and deteriorating economic conditions in the U.S.
combination of sector SPDRs and the Treasury ETF,              of annual returns is measured by the standard deviation         and both positive and negative market performance.
or can be 100% invested in the Treasury ETF. The               across asset-weighted portfolio returns represented             There can be no assurance that these favorable market
AlphaSector Fixed Income Index is quantitatively               within the composite for the full year.                         conditions will occur again in the future. Navellier
driven and applies a weekly trading protocol to four           6. Benchmark - The Dow Jones Moderate Global                    has no data regarding actual performance in different
fixed income ETFs along with a 7-year Treasury                 Index is a benchmark that takes 60% of the risk of the          economic or market cycles or conditions. It should not
ETF. The index has the potential to be invested                global securities market. It is a total returns index that      be assumed that any securities recommendations made
in a combination of the four fixed income ETFs                 is a time-varying weighted average of stocks, bonds,            by Navellier in the future will be profitable or equal
and the Treasury ETF or can be 100% invested in                and cash. The index is the efficient allocation of stocks,      the performance of securities made in this request.
the Treasury ETF. The AlphaSector International                bonds, and cash in a portfolio whose semideviation              For a list of recommendations made by Navellier &
Index is quantitatively driven and applies a weekly            is 60% of the annualized 36-month historic                      Associates, Inc. for the preceding twelve months or
trading protocol to two international equity ETFs,             semideviation of the Dow Jones Aggressive Portfolio             to receive a complete list and description of Navellier
representing developed international markets and               Index. Stocks are represented by the Dow Jones                  & Associates, Inc.’s investment composites, contact
emerging markets, along with a 1-3 month Treasury              Aggressive Portfolio Index. Bonds are represented by            Tim Hope at (800) 365-8471, extension 416, or write
ETF. The index has the potential to be invested                an equal weighting of the following four bond indexes           to Navellier & Associates, Inc., One East Liberty, 3rd
in a combination of the two international ETFs,                with monthly rebalancing: BarCap Government                     Floor, Reno, NV 89501, or e-mail timh@navellier.com.
a combination of the international ETFs and the                Bonds Index, BarCap Corporate Bonds Index, BarCap               All Information contained herein is stated as of the
Treasury ETF, or can be 100% invested in the                   Mortgage-backed Bonds Index, and BarCap Majors                  date referenced at the top of this page unless indicated
Treasury ETF. The AlphaSector Alternatives Index               (ex U.S.) Bonds Index. Cash is represented by the               otherwise. Past performance is no guarantee of future
is quantitatively driven and applies a weekly trading          91-Day T-Bill Auction Average. The efficient portfolio          results.
protocol to two alternative ETFs, representing real            is updated monthly. The secondary benchmark for
estate and gold, and either an S&P 500 ETF or a 1-3            the composite is a blended benchmark using the                  Navellier & Associates, Inc.
month Treasury ETF. The index has the potential to             following indices: S&P 500 (45%), MSCI World ex
be invested in a combination of the alternative ETFs           U.S. (25%), and Barclays Capital U.S. Aggregate Bond            One East Liberty, Third Floor
or a combination of the alternative ETFs and the               Index (30%). The benchmark is rebalanced daily. The             Reno, Nevada 89501
S&P 500 ETF or the 1-3 month Treasury ETF if the               S&P 500 Index measures the performance of the 500
AlphaSector Premium Index has any exposure to the              leading companies in leading industries of the U.S.             800-887-8671
Treasury ETF. There is no guarantee that Navellier             economy, focusing on the large cap segment of the

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                                                                                                                                               AlphaSector                2Q
                                                                                                                                                     Premium 2011
                                                   V i reo a lph as e c t o r P r e miu m W R A P C o m p o sit e
                                                               Reporting Currency U.S. Dollar | June 30, 2011
                  Firm               Composite                                                      Composite
                                                        Percentage of          Number of                               Composite Net        S&P 500 Index            Composite
     Year         Assets              Assets                                                        Pure Gross
                                                         Firm Assets           Accounts                                 Return (%)           Return (%)            Dispersion (%)
                  ($M)                 ($M)                                                         Return (%)
     20101         2,365                  3                  <1%                    21                 15.00                 13.18               15.77                  N/A2
 1
  Performance calculations for the period ended December 31, 2010 only includes 10 months of history.
 2
  N/A information is not statistically meaningful due to an insufficient number of portfolios in the composite for the entire year.

1. Compliance Statement – Navellier &                          the account. “Pure” gross-of-fees returns do not                presented in these materials or is necessarily
Associates, Inc. claims compliance with the Global             reflect the deduction of any trading costs, fees, or            comparable to such strategies.
Investment Performance Standards (GIPS®)                       expenses, and are presented only as supplemental
and has prepared and presented this report in                  information. Therefore, actual returns will be                  7. General Disclosure - The three-year annualized
compliance with GIPS standards. Navellier &                    reduced by advisory and other expenses incurred.                standard deviation is not presented because 36
Associates, Inc. has been independently verified               Performance results include the reinvestment of                 months of history is not available. Actual results
for the periods January 1, 1995 through December               any dividends. The composite was created March                  may differ from composite results depending
31, 2010 by Ashland Partners & Company LLP.                    1, 2010. As of April 2011, the Navellier Vireo                  upon the size of the account, custodian related
A copy of the verification report is available upon            AlphaSector Premium Wrap Composite has                          costs, the inception date of the account and other
request. Verification assesses whether (1) the firm            been renamed the Vireo AlphaSector Premium                      factors. Performance results presented herein
has complied with all the composite construction               Wrap Composite. Valuations and returns are                      do not necessarily indicate future performance.
requirements of the GIPS standards on a firm-wide              computed and stated in U.S. Dollars. Portfolio                  Investment in equity strategies involves
basis and (2) the firm’s policies and procedures are           valuation sources are IDC, Factset, and Thompson.               substantial risk and has the potential for partial
designed to calculate and present performance in               Performance is calculated using the “Modified                   or complete loss of funds invested. Results
compliance with the GIPS standards. Verification               Dietz Method.” Policies for valuing portfolios,                 presented include reinvestment of all dividends
does not ensure the accuracy of any specific                   calculating performance, and preparing compliant                and other earnings. The securities identified and
composite presentation.                                        presentations are available upon request.                       described do not represent all of the securities
                                                                                                                               purchased, sold, or recommended for client
2. Definition of Firm - Navellier & Associates,                4. Management Fees - The management fee                         accounts. The results presented were generated
Inc. is a registered investment adviser established            schedule for accounts ranges from 75 to 100 basis               during a period of improving and deteriorating
in 1987. Navellier & Associates, Inc. manages                  points, depending on account size and brokerage                 economic conditions in the U.S. and both positive
a variety of equity assets for primarily U.S. and              selected. Some incentive fee, fixed fee, and fulcrum            and negative market performance. There can be no
Canadian institutional and retail clients.                     fee accounts may be included. Fees are negotiable,              assurance that these favorable market conditions
                                                               and not all accounts included in the composite are              will occur again in the future. Navellier has no data
3. Composite Description - The Vireo                           charged the same rate. Bundled fee accounts make                regarding actual performance in different economic
AlphaSector Premium Wrap Composite includes                    up 100% of the composite for all periods shown.                 or market cycles or conditions. It should not be
all discretionary Vireo AlphaSector Premium                    Fee schedules are provided by independent sponsors              assumed that any securities recommendations made
equity accounts that are charged a wrap fee and                and are available upon request from the respective              by Navellier in the future will be profitable or equal
are managed with similar objectives for a full                 sponsor. The bundled fees include custody, trading              the performance of securities made in this request.
month, including those accounts no longer with                 expenses, and other expenses associated with the                For a list of recommendations made by Navellier &
the firm. The strategy attempts to track an index              management of the account. The client is referred               Associates, Inc. for the preceding twelve months
known as the AlphaSector Premium Index and                     to the firm’s Form ADV Part II for a full disclosure            or to receive a complete list and description
Navellier & Associates, Inc. pays a licensing fee to           of the fee schedule.                                            of Navellier & Associates, Inc.’s investment
F-Squared Investments, Inc. to provide a model of                                                                              composites, contact Tim Hope at (800) 365-8471,
the index. The index is quantitatively driven and              5. Composite Dispersion - If applicable, the                    extension 416, or write to Navellier & Associates,
applies a weekly trading protocol to nine Select               dispersion of annual returns is measured by the                 Inc., One East Liberty, 3rd Floor, Reno, NV 89501,
Sector SPDRs and an exchange traded fund (ETF)                 standard deviation across asset-weighted portfolio              or e-mail timh@navellier.com.
representing 1-3 month Treasuries. The index has               returns represented within the composite for the
the potential to be invested in any combination                full year.                                                      All Information contained herein is stated as of
of the nine SPDRs including all nine at the same                                                                               the date referenced at the top of this page unless
time, a combination of sector SPDRs and the                    6. Benchmark - The primary benchmark for the                    indicated otherwise. Past performance is no
Treasury ETF, or can be 100% invested in the                   composite is the S&P 500 Index. The S&P 500                     guarantee of future results.
Treasury ETF. There is no guarantee that Navellier             consists of 500 stocks chosen for market size,
will achieve returns similar to the index, and in fact         liquidity and industry group representation. It is              Navellier & Associates, Inc.
the strategy’s returns may vary from the index due             a market value weighted index with each stock’s                 One East Liberty, Third Floor
to the timing of trades and after fees are taken into          weight in the index proportionate to its market                 Reno, Nevada 89501
account, including management fees, brokerage                  value. The reported returns reflect a total return for
                                                                                                                               800-887-8671
or transactions costs, or other administrative                 each quarter inclusive of dividends. The asset mix
or custodian fees. Performance is calculated on                of the composite may not be precisely comparable
a “time-weighted” and “asset-weighted” basis.                  to the presented indices. Presentation of index
Performance figures that are net of fees take into             data does not reflect a belief by the Firm that the
account advisory fees and any brokerage fees                   S&P 500 Index, or any other index, constitutes an
or commissions that have been deducted from                    investment alternative to any investment strategy

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                                                                                                        EXHIBIT

From:                              John Ranft <John_Ranft@navellier.com>
                                                                                                            29
Sent:                              Wednesday, October 05, 2011 9:15 PM
To:                                'pgoll@ladenburg.com'
Cc:                                Brent Farber
Subject:                           Navellier Vireo Portfolios - The Portfolios That Go To Cash
Attachments:                       063011 Vireo Allocator Sales Presentation_b.pdf; VAllocatorFULL_Slick.pdf; Vireo
                                   AlphaDEX 063011slick.pdf; AlphaSector Premium - alphadex 9-2011.pdf; Vireo Conf
                                   Call transcript_Howard Present080811.pdf


Hi Paige,

It was good speaking with you today. Thank you for your interest in our products. I am sorry that I could not help you
with the covered call portfolio.

As I mentioned, about two years ago Navellier introduced a suite of defensive portfolios that we call Vireo. The Vireo
portfolios were designed with the primary goal of protecting assets during a prolonged down market. The AlphaSector
Allocator Portfolio, our most popular portfolio, is a balanced account that has an equity component (both domestic and
foreign), a fixed income component, and an alternative investments component. The portfolio uses a proprietary
quantitative process, developed by F‐Squared Investments, that identifies those market sectors or asset classes in which
it is best to be invested and those in which it is not. As stock market volatility increases, the Vireo process gets more
sensitive and the shifting between sectors may increase. But, the real power behind the portfolio comes from its ability
to raise cash when conditions warrant. It is entirely possible that the portfolio would raise a substantial amount of cash
should conditions deteriorate beyond a certain point. And through this cash position, Vireo is able to protect a
portfolio’s value and ultimately take advantage of upswings in the market.

We also offer an all domestic equity portfolio (AlphaSector Premium), a global portfolio (AlphaSector Global Premium)
and an international portfolio (AlphaSector International Premium). They are each managed in a similar way to the
AlphaSector Allocator Premium Portfolio and can go to cash if needed. Finally, we recently introduced two brand new
portfolios, AlphaSector AlphaDEX Portfolio and the AlphaSector AlphaDEX Allocator portfolio (an all equity portfolio
and a balanced portfolio using the AlphaDEX Sector ETFs from First Trust).

Attached is a presentation from our Vireo partner, F‐Squared Investments as well as our own presentation. The
presentations explain more about the Vireo process. I have also included the Q2‐2011 portfolio fact sheets, as well as a
couple of white papers and articles that address the philosophy behind the portfolios.


Thank you again for your interest and please let me know if you have any questions.


John

John L. Ranft, CIMA
Senior Vice President
Director of Sales and Marketing

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Navellier & Associates
1 East Liberty Street, 3rd Floor, Reno, NV 89501

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800 365‐8471 toll‐free
cherylc@navellier.com

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It is the responsibility of the Financial Advisor to submit any materials intended for client use to the proper compliance channels for approval
prior to distribution.




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The SEC suggests that clients compare the accuracy of portfolio statements provided by Navellier & Associates Inc. to
statements provided to clients by their custodian

Navellier & Associates, Inc.
1 East Liberty, 3rd Floor
Reno, Nevada 89501

info@navellier.com

Visit us on the web at: http://www.navellier.com




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  F–Squared Investments, Inc.

Strategies Tracking the AlphaSectorTM
          Series of Indexes:
      AlphaSector Premium Index
Featuring the First Trust AlphaDEX ETF’s

               Wealth and Advisor
   Additional info at www.alphasectoralphadex.com
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    Investment strategies         need     to be     designed           to     meet   investor
    goals
     Investors’ investment goals fall into one of three categories:
       • Wealth Creation
       • Wealth Distribution
           – Retirement income (retail)
           – Annual funding requirements (institutional)
       • Wealth Preservation
     HIDDEN TRUTHS BEHIND IMPROVING ODDS TO ACHIEVE INVESTOR GOALS:
             •    AVOID SIGNIFICANT LOSSES
             •    CONSISTENCY OF RETURNS
             •    REPEATABILITY OF RETURNS


                    “The #1 rule of making money is not to lose money.
                        The second rule is to never forget rule #1.”
                                                                                       - Warren Buffett

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                       – Confidential;
                                Patents      Patents
                                        Pending.
                                       Patents          Pending
                                                   Please
                                               Pending     see “Important          2     F–Squared Investments, LLC
Information” on last page for disclosures that are an integral part of presentation.       F-Squared Investments, Inc.
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    Extreme losses can devastate any investment program

          Severe losses create long-term impairment of portfolios due to “Capital Gap”
             •    Reduces future earnings power of the portfolio due to smaller capital base
             •    Can add years to the recovery of an investment portfolio


                      GAIN
                                                                                                 YEARS REQUIRED FOR
      ACTUAL LOSS REQUIRED FOR                   CAPITAL GAP                       ACTUAL LOSS
                                                                                                   FULL RECOVERY
                    RECOVERY

           -10.0%               11.1%                  1.1%                            -10.0%           0.9
                                                                                                                         AlphaSector
           -11.8%               13.4%                  1.6%                            -11.8%           1.1
                                                                                                                       Premium Index
           -20.0%               25.0%                  5.0%                            -20.0%           2.0            - Featuring the
           -30.0%               42.9%                 12.9%                            -30.0%           3.3               AlphaDEX
                                                                                                                            ETF’s
           -40.0%               66.7%                 26.7%                            -40.0%           4.7              5/18/2008 –
           -50.0%              100.0%                 50.0%                            -50.0%           6.3               3/7/20091
           -51.0%              104.1%                 53.1%                            -51.0%           6.5
           -60.0%              150.0%                 90.0%                            -60.0%           8.4               S&P 500
           -70.0%              233.3%                163.3%                            -70.0%           11.0             5/18/2008 –
                                                                                                                          3/7/20091
           -80.0%              400.0%                320.0%                            -80.0%           14.7



1Source:   NASDAQ OMX, Morningstar, Active Index Solutions

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                       – Confidential;
                                Patents      Patents
                                        Pending.
                                       Patents          Pending
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                                               Pending     see “Important          3                      F–Squared Investments, LLC
Information” on last page for disclosures that are an integral part of presentation.                        F-Squared Investments, Inc.
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                                                                              on39 statistical
    advantages of avoiding losses
           Traditional “valuation-based” investment model is based on upside capture
            •   Requires unrealistic ability in avoiding extreme downside moves for full market success
           AlphaSector “defensive allocation” model is based on avoiding losses
               Creates “odds in our favor” investment design
               Assumes missing majority of extreme upside moves
               Simultaneously reduces overall investment risk while capturing excess return

             S&P 500 Sector Returns – Extreme Gains and Equivalent Losses1
40.00%
                                                 Extreme Losses         Extreme Gains
30.00%                                               (-10%+)                (10%+)
                      # of Extreme Weeks                 70                    43
20.00%
                      Maximum                         -33.4%                 31.5%
10.00%                Cumulative Value                -1026%                 592%

  0.00%

-10.00%
                                                                                                         Extreme Weekly
-20.00%
                                                                                                        Gains (10% or more)
-30.00%                                                          Extreme Weekly Losses
                                                                     (-10% or worse)
-40.00%
                                              Sources: Morningstar, F-Squared Investments            Time Period: 10/89 – 6/09
1”Winning  by Not Losing – The Hidden Power of Defensive Allocation”, F-Squared Investments, 6/09
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                                                                                  needs    39
                                                                                              of investors:
          risk controls for down markets, participation in up markets1,2
          
          Powerful but simple story, and uses NO derivatives, leverage, or shorting
       Cumulative Returns: Comparison vs. S&P 500              Returns as of June 30, 20111
250
                    ASP Index with AlphaDEX
                    AlphaSector Premium Index
                                                                                                                    ASP Index   AlphaSector
200                 S&P 500 TR                                                                                        with       Premium
                                                                                                                    AlphaDEX       Index    S&P 500
150                                                                                                  Cumulative
                                                                                                                     98.5%        69.6%     -5.7%
                                                                                                        Return
100
                                                                                                   1 Year Return     41.2%        36.1%     30.7%
 50
                                                                                                      3 Yr Return
                                                                                                                     22.0%        15.2%      3.3%
  0                                                                                                 (Annualized)

450                                                                                                    Standard
                                                                                                                     15.5%        13.5%      19.4
400                   AlphaSector Premium Index                                                        Deviation
350                   S&P 500 TR                                                                   Annual Excess
300                                                                                                                  19.7%        15.2%      N/A
                                                                                                         Return
250
200                                                                                                   R-Squared      54.3%        52.0%      N/A
150                                                                                                   Maximum
                                                                                                                     -13.4%      -13.4%     -51.0%
100                                                                                                  Drawdown
50
                                                                                                Up Capture Ratio    111.3%        89.8%      N/A
 0
                                                                                                  Down Capture
                                                                                                                     44.2%        38.4%      N/A
                                                                                                           Ratio
      1AlphaDEX    Index Returns and AlphaSector Premium Index returns June, 2007– June, 2011
      2Source:   NASDQ OMX, Morningstar, Active Index Solutions
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                                                               remarkably  Page
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                                                                                       39
                                                                                          consistent
       returns across multiple market cycles1

                                                   Annual Returns by Calendar Year                                         48.8%
50%


40%
                                                                                                                                   32.3%

30%                             28.7%
                                                                                                                                     26.5%
                        24.8%                                                                                                            23.6%
                                                                                                                                             17.7%
20%                                                                    16.7%      15.8%
                                           14.9%                                          15.0%                                                   15.1%
                                                   10.9%
                                                                                                                                                      9.6%
10%                                                         6.9%                                                                                              7.0%
            5.3%                                                   4.9%                             5.5%                                                         6.0%


 0%
                                                                                                  -1.3%
                                                                                                          -1.9%
-10%


-20%
               -22.1%
-30%


-40%                                                                                                              -37.0%
           2002            2003            2004            2005            2006           2007             2008               2009          2010          2011 YTD

                      ASP Index with AlphaDEX                             AlphaSector Premium Index                                  S&P 500 TR
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                                                                                       methodology
    featuring AlphaDEX ETF’s
         Investments include:
             •    9 First Trust AlphaDEX exchange traded funds (ETFs) reflecting the primary
                  sectors of the S&P 500
             •    Short-term Treasuries ETF (only used in Bear Markets)
     FXR             FXU             FXO             FXL            FXD                FXN      FXH          FXZ          FXG           BIL
  Industrials       Utilities     Financials     Technology      Cons Discr        Energy    Health Care   Materials   Cons Staples   S-T Treas


         Index is re-evaluated weekly
         Sector ETFs are traded using a binary model – either IN or OUT of the portfolio
             •    Sectors forecasted for positive return are left in; sectors forecasted to lose money are
                  removed entirely
             •    Decisions are based on a proprietary quantitative model, developed over 9 year period
         All sectors remaining IN the index are always equal weighted at the time of rebalancing
             •    There is a maximum cap of 25% for any sector ETF at time of rebalance

         When 6 or more sectors are removed, signals a Bear Market
             •    Begin to build “cash” position using BIL ETF
                      –   3 sectors IN = 25% cash; 2 sectors IN = 50% cash; 1 sector IN = 75% cash
             •    Can go to 100% in S-T Treasuries if all 9 sectors are eliminated

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          AlphaSector Indexes         periodically        decide        to either       eliminate or
          include a sector from the Index (binary option)1
100%
                                                                                                                 BIL - S-T Treasuries
90%
                                                                                                                 XLU - Utilities
80%
                                                                                                                 XLK - Technology
70%
                                                                                                                 XLB - Materials
60%

50%                                                                                                              XLI - Industrials

40%                                                                                                              XLV - Health Care

30%                                                                                                              XLF - Financials

20%                                                                                                              XLE - Energy

10%                                                                                                              XLP - Cons Staples

  0%                                                                                                             XLY - Cons Discr
450

400                   AlphaSector Premium Index
350                   S&P 500 TR
300

250

200

150

100

 50

  0



        1April   2001– June 2011                2Source:   Morningstar, F-Squared Investments
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    AlphaSector Strategy – Model description

     Model objective
       • Makes a “probabilistic” determination of risk of loss for each sector-based ETF
       • Does not use valuation metrics, and does not determine relative high or low
                  valuations
     Key inputs to the Model
       • Historical price returns for each ETF
            – Used to generate rolling moving averages for each sector-based ETF
       • Volatility
            – Comparison of near term volatility to historical volatility allows a statistical
                          adjustment to eliminate near term “market noise”
             •    Changing levels of volatility
                     – Increasing levels of volatility results in the window size for the rolling moving
                          averages to compress, increasing sensitivity to near market results
                     – Decreasing volatility levels expands the window size, increasing stability
     Output from the Model
       • Determination of forecasted performance relative to cash returns (binary decision)
           – Results in a sector either included or removed from the portfolio
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                                                                                   showing  39
                                                                                               price
         returns, rolling moving averages, and volatility
        The example shown below is a conceptual example of how different moving
        average windows and volatility can provide insight into AlphaSector decisions
                                      Financial Price Movement Relative to Moving Average
50.00


40.00


30.00


20.00


10.00


 0.00




                                                         Price       6-Month Moving Avg    3-Year Moving Avg

                                                                    3-Month Std Dev
 40%
 30%
 20%
 10%
  0%




                                                                                             Source: Morningstar, F-Squared Investments
                 Included in the portfolio

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    About F-Squared Investments

         SEC registered investment management firm
             •    Over $3.9 billion in assets under management or advisement
             •    Headquartered in Newton, MA

         Founded with the mission of redefining how investment solutions can be reliably
          delivered to investors
             •    The starting point of every investment strategy, process, and product is the client
             •    Investment strategies are designed to meet the clients’ needs, not to generate sales
             •    Loss avoidance, downside risk management, and repeatability of returns are keys to
                  unlocking real wealth, and thus our aggressive focus

         Pioneered an innovative business model that delivers several benefits not previously
          seen together in the investments industry:
             •    Industry leading transparency of process and holdings
             •    Virtually unlimited investment options
                     –    AlphaSector suite of investment strategies
                     –    Custom Replication investment solutions
             •    Low cost customization, short delivery cycles, and private label options
             •    Low cost manufacturer for active investment solutions

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The Indexes are based on active strategies, with the strategy that the AlphaSector Rotation Index and the AlphaSector Premium Index are
based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies that the returns
presented, while not backtested, reflect theoretical performance an investor would have obtained had it invested in the manner shown and
does not represent returns that an investor may have actually attained as an investor cannot invest directly into an index. Theoretical and
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                                                                                             AlphaSector Allocator                          2Q
                                                                                                            Premium Index 2011
                                                                                                                    (Balanced)
        Vireo is a unique suite of investment strategies with a single-minded focus: limiting losses
                   ™
                                                                                                                                            S u p p l e m e n ta l
        during extended market downturns. For today’s investor, what you make is not nearly as
        important as what you keep! Based on the AlphaSector Indexes, owned and published by                                                I n f o r m at i o n
        Active Index Solutions LLC, this strategy, known as defensive allocation, also allows Vireo to
        deliver improved returns in up markets by constantly working from a position of strength (i.e.,
        the portfolio’s attempt to avoid losses before making new gains). The Vireo portfolios are
        designed to deliver attractive risk-adjusted returns through multiple investment markets via
        diversification and defensive re-allocation, including the use of cash.


        AlphaSector Allocator Premium Portfolio Key Features
        • Invests in all key equity sectors and major asset classes, including bonds, real estate, gold,
          foreign markets, and cash

        • Utilizes only simple, readily available ETFs (iShares® and Select Sector SPDRs®) and cash

        • Uses NO shorting, leverage, inverse ETFs, or exotic derivative investments

        • Focuses primarily on downside risk management, especially in weak markets

        • Under extreme market conditions, the portfolio can build and hold substantial cash
          positions to avoid losses

        • Participates in rising markets with a proven ability to outperform in up markets

        • 100% quantitiative process, highly disciplined, weekly calculation




        AlphaSector Allocator Premium Index Performance
         Growth of 100 Dollars from 4/1/2001 - 6/30/2011

$400

$350

$300

$250

$200

$150

$100

 $50
                 12-01
       4-01




                                                                                                                                     6-11
                             12-02




                                          12-03




                                                                 12-05




                                                                                            12-07




                                                                                                         12-08




                                                                                                                     12-09



                                                                                                                             12-10
                                                      12-04




                                                                           12-06




              AlphaSector Allocator Premium Index (Pure Gross)                     AlphaSector Allocator Blended Index
              Dow Jones Moderate Global Index


         Sources: Zephyr StyleADVISOR, F-Squared Investments, Inc. Performance results presented herein do not
         necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
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Extreme losses can destroy any investment plan.                                                                                                      S u p p l e m e n ta l
                                       Gain Required                               Capital                              Years Required               I n f o r m at i o n
           Loss
                                        to Recover                                  Gap                                for Full Recovery
           -3.1%                               3.2%                                  0.1%                                     0.3
          -10.0%                              11.1%                                  1.1%                                     1.0
          -20.0%                              25.0%                                  5.0%                                     2.0
          -30.0%                              42.9%                                 12.9%                                     3.3
          -40.0%                              66.7%                                 26.7%                                     4.7
          -50.0%                             100.0%                                 50.0%                                     6.3
          -51.0%                             104.1%                                 53.1%                                     6.5

In less than one year (5/18/2008 - 3/7/2009), the S&P 500 lost -51%; full recovery
requires a gain of 104%. During the same period, AlphaSector Allocator
Premium Index only lost -3%; full recovery requires a gain of only 3%.
Source: NASDAQ OMX, Morningstar, Active Index Solutions.

 Performance Returns                                                                    Return/Risk Analysis
                                     AlphaSector          Dow Jones AlphaSector                                              AlphaSector          Dow Jones AlphaSector
 Annualized Returns                    Allocator           Moderate Allocator                     4/1/2001 to                  Allocator           Moderate Allocator
 through 6/30/11                    Premium Index           Global    Blended                      6/30/2011                Premium Index           Global    Blended
                                     (Pure Gross)           Index      Index                                                 (Pure Gross)           Index      Index

 2nd Quarter                              1.35%              1.08%         1.03%        Best Month                               6.81%               8.24%        7.71%

 Year-to-Date                             4.87%              4.40%         4.84%        Worst Month                              -5.81%           -13.63%       -13.46%

 Trailing 1 Year                         22.94%             20.75%       22.42%         % of Up Month                               70%                63%          61%

 Trailing 3 Years                        14.89%              5.45%         3.73%        % of Down Month                             30%                37%          39%

 Trailing 5 Years                        15.15%              5.36%         4.34%        Maximum Drawdown (%)                     -8.15%           -35.06%       -39.27%

 Trailing 10 Years                       13.36%              6.62%         4.96%

 Since Inception (4/1/01)                13.38%              6.94%         5.11%
 Cumulative Return                     262.39%              98.95%       66.64%
 (4/1/01-6/30/11)

 Yearly Returns                                                                         Comparative Return/Risk Analysis
                                                                                                                         AlphaSector    vs.       AlphaSector     vs.
                                     AlphaSector          Dow Jones AlphaSector                                           Allocator                Allocator
                                                                                                                                       Dow
                                       Allocator           Moderate Allocator                    4/1/2001 to              Premium     Jones        Premium AlphaSector
                                    Premium Index           Global    Blended                     6/30/2011                 Index                    Index    Allocator
                                                                                                                                     Moderate
                                                                       Index                                                (Pure                    (Pure    Blended
                                     (Pure Gross)           Index                                                                     Global
                                                                                                                            Gross)                   Gross)     Index
                                                                                                                                      Index

 2010                                    12.69%             13.95%        11.60%        Alpha(2) (3)                        9.72%       0.00%       10.78%         0.00%

 2009                                    29.39%             23.79%       22.41%         Beta(2) (3)                         0.49%       1.00%         0.46%        1.00%

 2008                                     3.32%            -24.74%       -27.77%        Standard Deviation       (1)
                                                                                                                            7.32%      10.72%         7.32%       11.41%

 2007                                    15.50%              8.02%         7.90%        R-Squared      (2) (3)
                                                                                                                           51.29%    100.00%        51.93%      100.00%

 2006                                    15.40%             11.91%       14.78%         Up Capture Ratio                   90.10%    100.00%        89.10%      100.00%

 2005                                    10.74%              7.25%         6.71%        Down Capture Ratio                 35.80%    100.00%        29.50%      100.00%

 2004                                    14.64%             13.15%        11.35%

 2003                                    21.89%             27.18%       23.62%

 2002                                     5.58%             -7.05%       -11.18%

 2001 (9 months)                          5.34%              3.51%        -0.32%
Source: Morningstar, F-Squared Investments, Zephyr StyleADVISOR.
(1)
    Annualized standard deviation since inception
(2)
    Calculated since inception vs. Dow Jones Moderate Global Index
(3)
    Calculated since inception vs. AlphaSector Blended Index

Potential investors should consult with their financial advisor before investing in any investment product. Investment in equity strategies involves substantial risk and has
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                         Historical Portfolio Diversification and Re-allocation                                                                                              S u p p l e m e n ta l
                         April 1, 2001 - May 31, 2011
                         The AlphaSector Allocator Premium Index is divided into four sleeves with fixed percentage allocations -                                            I n f o r m at i o n
                         domestic equity 36%, international equity 24%, fixed income 30%, and alternatives 10%. Each sleeve is
                   Allocator
                         populated by a set of relevant ETFs that can be “turned on” or “turned off” based upon a weekly risk assessment
                         calculation. Under certain circumstances each sleeve has the potential to have a 100% allocation to cash.
                400%
                 100%
                                                                                                                                                                             Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                             Technology (XLK)      Energy (XLE)
                  50%
                350%
                                      36%                                                                                                                                    Materials (XLB)
                                                                                                                                                                             Healthcare (XLV)
                                                                                                                                                                                                   Cons. Staples (XLP)
                                                                                                                                                                                                   Cons. Disc. (XLY)
                                                                                                                                                                             Industrials (XLI)     Short Term
                   0%
                300%                                                                                                                                                                               Treasuries (BIL)
                 100%
          nal
Internation




                                                                                                                                                                             Emerging Markets (EEM)

                250%
                  50%
                                      24%                                                                                                                                    EAFE (EFA)

                                                                                                                                                                             Short Term Treasuries (BIL)

                   0%
                200%
                 100%
Alternativves




                                                                                                                                                                             Real Estate ((IYR))

                150%
                  50%
                                      10%                                                                                                                                    Gold (GLD)
                                                                                                                                                                             S&P 500 (SPY)
                                                                                                                                                                             Short Term Treasuries (BIL)
                  0%
                100%
                100%                                                                                                                                                         AAA (LQD)
Fixed Income




                                                                                                                                                                             High Yield (HYG)
                50%
                 50%
                                      30%                                                                                                                                    Mortgages (MBB)
                                                                                                                                                                             Municipals (MUB)
                                                                                                                                                                             7-10 Year Treasuries (IEF)
                  0%
                  0%




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                         Note periods where the Index goes to cash:                                    (BIL)               (IEF)
                         Source: Morningstar, F-Squared Investments. Copyright 2009 ~ Patents pending. Allocations presented for each
                         ETF represent the allocation for the majority of time during the stated period and do not necessarily represent the
                         weight for any specific date. Allocations are rounded for presentation purposes.
                                                                                                                                                                                                                      2

                         ETF Universe (By Sleeve):
                         The AlphaSector Allocator Premium Index Covers all Major Asset Classes

                                U.S. Equity ETFs                                                             Fixed Income ETFs
                                Consumer Discretionary                             XLY                       7-10 year Treasury Bond                           IEF




                                                                                                                                  30%
                                Consumer Staples                                   XLP                       AAA Corp Bond                                     LQD
                                Energy                                             XLE                       High Yield                                        HYG
                                Financials                                         XLF                       Municipals                                        MUB
                                Healthcare
                                Industrials
                                Materials
                                                     36%                           XLV
                                                                                   XLI
                                                                                   XLB
                                                                                                             Mortgages


                                                                                                             Alternative ETFs
                                                                                                                                                               MBB




                                Technology                                         XLK                       Gold                                              GLD
                                Utilities
                                Short-term Treasuries
                                                                                   XLU
                                                                                   BIL
                                                                                                             Real Estate
                                                                                                             S&P 500
                                                                                                             Short-term Treasuries
                                                                                                                                  10%                          IYR
                                                                                                                                                               SPY
                                                                                                                                                               BIL
                                International Equity ETFs



                                                       24%
                                EAFE (Developed Markets)                           EFA
                                Emerging Markets                                   EEM
                                Short-term Treasuries                              BIL

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Important Disclosures
ALPHASECTOR ALLOCATOR PREMIUM INDEX:
The AlphaSector Allocator Premium Index is owned and published by Active Index Solutions, LLC (“AIS”). The
AlphaSector Allocator Premium Index is a quantitatively driven index that applies a weekly trading protocol to
the nine Select Sector SPDRs, a Treasury exchange traded fund, two international ETFs, five fixed income
ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful
in achieving returns similar to the AlphaSector Allocator Premium Index, and in fact client returns may be
significantly lower than the index returns after actual fees are taken into account, including management fees,
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market.
It is a total returns index that is a time-varying weighted average of stocks, bonds, and cash. The index is
the efficient allocation of stocks, bonds, and cash in a portfolio whose semideviation is 60% of the annualized
36-month historic semideviation of the Dow Jones Aggressive Portfolio Index. Stocks are represented by the
Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four bond
indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap
Mortgage-backed Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day
T-Bill Auction Average. The efficient portfolio is updated monthly. Presentation of Index data does not reflect a
belief by Navellier that any stock index constitutes an investment alternative to any Navellier equity strategy
presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest
directly in an index. Among the most important differences between the Indices and Navellier strategies are
that the Navellier equity strategies may (1) incur material management fees, (2) concentrate investments in
relatively few ETFs, industries, or sectors, (3) have significantly greater trading activity and related costs, and (4)
be significantly more or less volatile than the Indices. The secondary benchmark for the composite is a blended
benchmark using the following indices: S&P 500 (45%), MSCI World ex U.S. (25%), and Barclays Capital U.S.
Aggregate Bond Index (30%). The benchmark is rebalanced daily. The S&P 500 Index measures the performance
of the 500 leading companies in leading industries of the U.S. economy, focusing on the large cap segment of the
market, with approximately 75% coverage of U.S. equities. The MSCI World ex U.S. Index is a free float-adjusted
market capitalization weighted index that is designed to measure the equity market performance of developed
markets. As of June 2011, the MSCI World ex U.S. Index consisted of the following 23 developed market country
indices: Australia, Austria, Belgium, Canada, Denmark, Finland, France, Germany, Greece, Hong Kong, Ireland,
Israel, Italy, Japan, the Netherlands, New Zealand, Norway, Portugal, Singapore, Spain, Sweden, Switzerland,
and the United Kingdom. MSCI World ex U.S. Index targets 85% of the free float adjusted market capitalization.
The Barclays Capital U.S. Aggregate Bond Index is a broad-based benchmark that measures the investment
grade, U.S. dollar-denominated, fixed-rate taxable bond market, including Treasuries, government-related and
corporate securities, MBS (agency fixed-rate and hybrid ARM passthroughs), ABS, and CMBS.
Potential investors should consult with their financial advisor before investing in any Navellier Investment
Product. Investment in equity strategies involves substantial risk and has the potential for partial or complete
loss of funds invested.



About Vireo                                                                                      800.887.8671
Vireo Portfolio Sponsor                                                                     Navellier & Associates
Navellier & Associates                                                                 One East Liberty, Third Floor,
                                                                                             Reno, Nevada 89501
Model Portfolio Management
F-Squared Investments/Active Index Solutions, LLC
Total Product Assets: $283 million
Benchmark: Dow Jones Moderate Global Index & AlphaSector Allocator Blended Index
Objective: The AlphaSector Allocator Premium Index seeks to limit losses during severe market
downturns while fully participating in up markets.
Investment Process: The AlphaSector Allocator Premium Index utilizes a highly disciplined,
quantitative process to assess forward-looking risk across all major asset classes. Using widely
available ETFs, the portfolio will re-allocate between individual sectors and asset classes whenever the
risk is deemed too great. When conditions warrant, the portfolio can go to cash.

www.vireoinvestments.com
                          Vireo    AlphaSector
                           Vireo AlphaSector            AllWeather
                                             Allocator Premium            Premium
                                                               • Supplemental Information Portfolio                                                                                                                 FOR MORE INFORMATION
                                                                                                                                                                                                                       CALL 800.887.8671
                          An exciting, new, defensive ETF portfolio from Navellier                                                                                                                                   www.navelliervireo.com
                                Portfolio Diversification and Re-allocation History March 1, 2010 - May 31, 2011
                            The Vireo AlphaSector Allocator Premium Portfolio is divided into four sleeves with fixed percentage allocations -
                                                                                                                                                   Supplemental Information
                                                                                                                                                                                                                                                                               Case




                             domestic equity 36%, international equity 24%, fixed income 30%, and alternatives 10%. Each sleeve is populated by
                             a set of relevant ETFs that can be “turned on” or “turned off” based upon a weekly risk assessment calculation. Under
                          AlphaSector
                         Allocator
                                 AllocatorAllocator Premium includes or excludes sectors in the portfolio through disciplined re-allocation and
                                   – inception
                                           – inception
                                                 3/1/103/1/10
                             certain circumstances each sleeve has the potential to have a 100% allocation to cash (cash equivalence).
                    diversification. The date live assets began tracking the strategies are: U.S. Equity - April 1, 2001, International -
                400%
                 100%             Alternatives - December 1, 2009 and Fixed Income - December 1, 2009.
                    May 1, 2009,400%
                                  100%                                                                                                  Utilities
                                                                                                                                         Utilities(XLU)
                                                                                                                                                    (XLU)                                                                                                Financials
                                                                                                                                                                                                                                                             Financials
                                                                                                                                                                                                                                                                    (XLF) (XLF)
                        400%
                         100%                                                                                                                                                                                                                            Energy
                                                                                                                                                                                                                                                            (XLE)(XLE)
                                                                                                                                                                                                                               Technology
                                                                                                                                                                                                                               Technology
                                                                                                                                                                                                                      S T Treasuries
                                                                                                                                                                                                                      S-T                     ((XLK)
                                                                                                                                                                                                                                     (BIL) (XLK) ) ) Energy
                                                                                                                                                                                                                                           ( Healthcare (XLV)




                  y
                                                                                                                                                                                                                               Materials
                                                                                                                                                                                                                               Materials (XLB)
                                                                                                                                                                                                                                           (XLB)     Cons.
                                                                                                                                                                                                                                                         Cons.
                                                                                                                                                                                                                                                           Staples
                                                                                                                                                                                                                                                                Staples
                                                                                                                                                                                                                                                                   (XLP) (XLP)
                350%
                  50%                       350%
                                              50%                                                                                                                                                                     Utilities (XLU)           Financials (XLF)
                                           36%                                                                                                                                                                                     Healthcare
                                                                                                                                                                                                                                   Healthcare (XLV)      Cons.
                                                                                                                                                                                                                                                (XLV) Cons. Disc. Disc.
                                                                                                                                                                                                                                                                  (XLY) (XLY)
                   50%
                 350%                                                                                                                                                                                                 Technology (XLK)          Energy (XLE)
                                                                                                                                                                                                                                   Industrials
                                                                                                                                                                                                                                    Industrials(XLI)
                                                                                                                                                                                                                                                 (XLI)   ShortShort
                                                                                                                                                                                                                                                               Term Term




U.S. Equitty
                                            U.S. Equitty
                                                                                                                                                                                                                      Materials (XLB)           Cons. Staples (XLP)
                                                                                                                                                                                                                                                       Treasuries
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                                                                                                                                                                                                                                                                  (BIL) (BIL)
                                                                                                                                                                                                                                                                                Case1:17-cv-11633-DJC




                   0%                                          0%
                300%                                        300%




        U.S. Equity
                 100%                                        100%                                                                                                                                                     Industrials (XLI)         Cons. Disc. (XLY)
                    0%




          nal
                                                     nal
                        300%                                                                                                                                                                                                       Emerging
                                                                                                                                                                                                                                   Emerging Markets
                                                                                                                                                                                                                                             Markets(EEM)
                                                                                                                                                                                                                                                       (EEM)
                  100%
                                                                                                                                                                                                                                   EAFE
                                                                                                                                                                                                                                   EAFE(EFA)
                                                                                                                                                                                                                                         (EFA)
                250%
                  50%                       250%
                                              50%
                                           24%                                                                                                                                                                        S-T Treasuries
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                                                                                                                                                                                                                               ShortTerm
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                          50%
                        250%                                                                                                                                                                                                   Treasuries
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                                                                                                                                                                                                                               Markets (EEM)(BIL)




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                         0%                                    0%
                200%                                        200%                                                                                                                                                      EAFE (EFA)
                 100%                                       100%                                                                                                                                                                   Real
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                                                                                                                                                                                                                                                 (IYR)




        International
                                                    ves
                    0%                                                                                                                                                                                                             Gold
                                                                                                                                                                                                                                   Gold(GLD)
                                                                                                                                                                                                                                        (GLD)
                 200%
                  100%
                150%                                        150%
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                        50%                                   50%                                                                                                                                                                  S&P
                                                                                                                                                                                                                                   S&P500
                                                                                                                                                                                                                                       500(SPY)
                                                                                                                                                                                                                                            (SPY)




                  es
                                           10%                                                                                                                                                                        S-T
                                                                                                                                                                                                                      S T Treasuries (BIL)
                                                                                                                                                                                                                                   Short
                                                                                                                                                                                                                                   ShortTerm
                                                                                                                                                                                                                                         Term
                                                                                                                                                                                                                      Real Estate
                                                                                                                                                                                                                               Treasuries
                                                                                                                                                                                                                                Treasuries
                                                                                                                                                                                                                                  (IYR) (BIL)
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                   0%
                   50%
                 150%                                          0%
                100%                                        100%                                                                                                                                                      Gold (GLD)
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                 100%                                       100%                                                                                                                                                                   AAA
                                                                                                                                                                                                                                   AAA(LQD)
                                                                                                                                                                                                                                       (LQD)
                                                                                                                                                                                                                      S&P 500 (SPY)




        Alternative
                                                                                                                                                                                                                                   High
                                                                                                                                                                                                                                   HighYield
                                                                                                                                                                                                                                        Yield(HYG)
                                                                                                                                                                                                                                               (HYG)
                     0%
                  50%
                  100%                                      50%                                                                                                                                                                    Mortgages
                                                                                                                                                                                                                                   Mortgages (MBB)
                                                                                                                                                                                                                                               (MBB)
                   50%
                   100%                    30%               50%
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                                                                                                                                                                                                                      7-10 Treasuries (IEF)
                                                                                                                                                                                                                               Municipals
                                                                                                                                                                                                                               Municipals (MUB)
                                                                                                                                                                                                                                            (MUB)




                  me
                                                                                                                                                                                                                              7-10
                                                                                                                                                                                                                              7-10Year
                                                                                                                                                                                                                      AAA (LQD)    YearTreasuries
                                                                                                                                                                                                                                         Treasuries
                                                                                                                                                                                                                                                  (IEF)(IEF)




Fixed Income
                        0%
                         0%
                         50%                                  0%
                                                               0%
                        50%                                                                                                                                                                                           High Yield (HYG)
                                                                                                                                                                                                                                                                                                                              08/12/19Page




                                                                                                                                                                                                                      Mortgages (MBB)
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                                                                                                                                                                                                                      Municipals (MUB)




        Fixed Incom
                          0%
                                                                                      (BIL) (BIL)                                                               (IEF)(IEF)
                                                                                                                                                                                                                                                                                                                                           8519




                          0%Note periods where
                                         Note periods
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                            Source:
                          Note      Morningstar,
                               periods   whereF-Squared Investments.
                                                 the portfolio goesCopyright
                                                                     to cash:2009 ~ Patents pending. Allocations presented for each ETF represent the allocation for the
                                majority of time during the stated period and do not necessarily represent the weight for any specific date. Allocations are rounded for presentation
         April 2001 to purposes.    Performance
                       September 2010.             results presented
                                          Source: Morningstar, F-Squared  herein  do not necessarily
                                                                              Investments.            indicate
                                                                                            Copyright 2009     future performance.
                                                                                                           – Confidential.            Investment
                                                                                                                           Patents pending.       in equity
                                                                                                                                            Performance      strategies
                                                                                                                                                          results       involves
                                                                                                                                                                  presented  hereinsubstantial
                                                                                                                                                                                    do not     risk                                                                        2                                                                             2
                       and has
         necessarily indicate future
                                 the performance.  partial or complete
                                     potential for Investment   in equityloss    of funds
                                                                             strategies    invested.
                                                                                        involves  substantial  presented
                                                                                                      Results risk and hasinclude   reinvestment
                                                                                                                            the potential         of all
                                                                                                                                          for partial or dividends
                                                                                                                                                         complete loss   other
                                                                                                                                                                     and of     earnings. Please
                                                                                                                                                                            funds
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         invested. Results              disclosures
                             presented include        at the end
                                                reinvestment           this presentation.
                                                              of allofdividends  and other earnings. Please read important disclosures on next page.
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           Introducing Vireo
           An exciting, new, defensive ETF portfolio

           Vireo AlphaSector Allocator Premium Portfolio



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          AlphaSector Allocator Premium Index provides investors critical
          benefits rarely seen in long-only strategies
         • Alpha is expressed where it is needed the most

                  – Traditional managers attempt to deliver their highest alpha in strong bull markets

                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

                  – AlphaSector Allocator Premium Index has historically delivered consistent alpha in
                    “normal” markets and highest alpha in negative markets
                       • However,, the portfolio
                                       p         can lag
                                                       g in strong
                                                                 g bull markets

         • AlphaSector Allocator Premium has the potential to improve consistency of
              returns across multiple markets

         • Live track record for U.S. equity sleeve – stress tested across two bear markets
                    • Live assets began tracking the strategies:
                         U.S. Equity – April 1, 2001                                                          International – May 1, 2009
                         Fixed Income – December1,
                                         December1 2009                                                       Alternatives – December 11, 2009

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         Extreme losses can destroy any investment plan

                                              Gain Required                               Years Required for         Years Required to
                           Loss                                        Capital Gap
                                               to Recover                                   Full Recovery           Recover Capital Gap

                           -3.1%                   3.2%                    0.1%                     0.3                        0.1
                          -10.0%                   11.1%                   1.1%                     1.0                        0.1
                          -20.0%                   25.0%                   5.0%                     2.0                        0.4
                          -30.0%                   42.9%                   12.9%                    3.3                        1.1
                          -40.0%                   66.7%                   26.7%                    4.7                        2.2
                          -50.0%                  100.0%                   50.0%                    6.3                        3.7
                          -51.0%                  104.1%                   53.1%                    6.5                        3.9
                          -60.0%                  150.0%                   90.0%                    8.4                        5.9
                          -70.0%                  233.3%                  163.3%                   11.0                        8.8

                          -80.0%                  400.0%                  320.0%                   14.7                       13.1

                          -90.0%                  900.0%                   810.%                   20.9                       20.1



                In less than one year (5/18/2008–3/7/2009), the S&P 500 lost -51%; full recovery
                requires
                     i    a gain
                              i off 104%

                During the same period, the AlphaSector Allocator Premium Index lost -3%; full
                recovery requires a gain of only 3%


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                                 Limiting risk in down markets and participating in up markets

                                 AlphaSector Allocator Premium Index is designed to consistently outperform the Dow
                                 Jones Moderate Global Index and outperform cash

                                    • Quality downside risk management, especially in weak markets
                                    • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                             As of Jun 2011
                                                                                                                                                                                              vs.                   vs.
                                                                                                                                                                         AlphaSector               AlphaSector
                                                                                                                                                                          Allocator                 Allocator
                                                                                                                                                                                             DJ                AlphaSector
                                  Al h S t Allocator
                                  AlphaSector All t Premium
                                                     P  i   Index
                                                            I d Performance
                                                                  P f                                                                                                      P
                                                                                                                                                                           Premium
                                                                                                                                                                                i
                                                                                                                                                                                          Moderate
                                                                                                                                                                                                     P
                                                                                                                                                                                                     Premium
                                                                                                                                                                                                          i
                                                                                                                                                                                                                Allocator
                                                                Apr 2001 – Jun 2011                                                                                      Index (Pure               Index (Pure
                                                                                                                                                                                           Global                Blended
                    400                                                                                                                                                     Gross)                    Gross)
                                                                                                                                                                                           Index                  Index
                                                                                                                                                        Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                          AlphaSector
                                                                                                                                 AlphaSector
                                                                                                                                 Allocator                1 Yr Return       22.9%           20.8%         22.9%     22.4%
                                                                                                                                 Allocator
                                                                                                                                 Premium Index
                                                                                                                                 Premium   Index          3 Yr Return       14.9%           5.5%          14.9%     3.7%
                    300                                                                                                          (Pure Gross)
                                                                                                                                 (Pure Gross)
                                                                                                                                                          5 Yr Return       15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                 DJ Moderate
                                                                                                                                 DJ Moderate
                    250                                                                                                          Global Index
                                                                                                                                 Global
                                                                                                                                                     Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                          AlphaSector
                                                                                                                                 Allocator Blended          Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                 AlphaSector
                                                                                                                                 Index
                    150                                                                                                          Allocator                      Alpha        9.7%            N/A          10.8%      N/A
C




                                                                                                                                 Blended Index
                                                                                                                                                          R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                          Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                          4/01




                                                                                                                                              5 Yr Up Capture Ratio         100%             N/A           93%       N/A
                                                                                                                       6/11
                          3/01


                                   3/02


                                            3/03


                                                      3/04


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                                                                                                                                          5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                        All returns over one year are annualized.


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                    not necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential for partial or
                    complete loss of funds invested. Results presented include reinvestment of all dividends and other earnings. Please read important disclosures at
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                                    Distribution of annual returns since inception shows the
                                    reduction in losses that has been incurred
                                  AlphaSector Allocator Premium Index vs. Dow Jones
                                     Moderate Global Index, AlphaSector Allocator
                                            Blended Index, and S&P 500
                                             Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                           35


                           30
                                                                                                                                                                    AlphaSector               AlphaSector
Frequenccy of Occurrence




                                                                                                                                                                      Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                            S&P 500
                           25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                    (Pure Gross)                 Index
                                             Tail Risk – risk an
                           20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                        33.84%      39.42%      40.00%      53.62%
                                                                                                                                                     Return
                           15
                                                                                                                                                    Minimum
                                                                                                                                                                         -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                      Return
                           10
                                                                                                                                                      Percent
                                                                                                                                                                          99%        75%         71%          69%
                                                                                                                                                      Positive
                            5


                            0
                                -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                               AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                               AlphaSector Allocator Blended Index                S&P 500




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                           presented herein do not necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
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                   AlphaSector Allocator Premium includes or excludes sectors in the
                   portfolio through disciplined re-allocation and diversification
                400%
                 100%
                                                                                                                                                                                 Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                                 Technology (XLK)      Energy (XLE)
                  50%
                350%                                                                                                                                                             Materials (XLB)       Cons. Staples (XLP)
                                                                                                                                                                                 Healthcare (XLV)      Cons. Disc. (XLY)
                                                                                                                                                                                 Industrials (XLI)     Short Term
                  0%
                300%                                                                                                                                                                                   Treasuries (BIL)
                100%
          nal
Internation




                                                                                                                                                                                 Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                             EAFE (EFA)

                                                                                                                                                                                 Short Term
                                                                                                                                                                                 Treasuries (BIL)
                  0%
                200%
                 100%
         ves




                                                                                                                                                                                 Real Estate ((IYR))
Alternativ




                                                                                                                                                                                 Gold (GLD)
                  50%
                150%
                                                                                                                                                                                 S&P 500 (SPY)
                                                                                                                                                                                 Short Term
                   0%                                                                                                                                                            Treasuries (BIL)
                100%
                 100%                                                                                                                                                            AAA (LQD)
Fixed Income




                                                                                                                                                                                 High Yield (HYG)
                50%
                 50%                                                                                                                                                             Mortgages (MBB)
                                                                                                                                                                                 Municipals (MUB)
                                                                                                                                                                                 7-10 Year Treasuries (IEF)
                   0%
                  0%




                                                                                                                                                                          6/11
                        4/01




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                        Note periods where the Index goes to cash:                                            (BIL)                 (IEF)
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Navellier Vireo AlphaSector Allocator Premium is a new strategy that attempts to track an index known as the AlphaSector Allocator
Premium Index, owned and published by Active Index Solutions, LLC (“AIS”).
                                                                       ( AIS ). The AlphaSector Allocator Premium Index is a quantitatively
driven index that applies a weekly trading protocol to nine Select Sector SPDRs, a Treasury exchange traded fund, two international
ETFs, five fixed income ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful in
achieving returns similar to the AlphaSector Allocator Premium Index, and in fact, client returns will be significantly lower than the index
returns after actual fees are taken into account, including management fees, brokerage or transaction costs, or other administrative or
custodian fees a client may incur.

             q y sleeve” referenced in the materials refers to the AlphaSector
The “U.S. equity                                                      p         Premium Index,, with the strategy
                                                                                                               gy that the AlphaSector
                                                                                                                             p
Premium Index is based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies
that the returns presented, while not back-tested, reflect theoretical performance an investor would have obtained had it invested in the
manner shown and does not represent returns that an investor may have actually attained, as an investor cannot invest directly into an
index. Theoretical and hypothetical performance have many inherent limitations. The performance is adjusted to reflect the reinvestment
of dividends.

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directly invest in an index. Index returns presented represent past performance and are not a guarantee of future results or indicative of
any specific investment.




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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
bond indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed
Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
important benchmarks available to judge overall U U.S.
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Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest directly in an
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CONFERENCE CALL WITH HOWARD PRESENT OF F-SQUARED INVESTMENTS, INC.
August 8, 2011

John Ranft: Good morning, everyone and welcome to the Vireo update call.

Thanks for joining us and thank you for your business and your confidence.

The purpose of today’s call is to give you more insight into how the Vireo/F-Squared
process works especially given the recent volatility in the market. We are joined by Howard
Present, President and Co-founder of F-Squared Investments, Navellier’s partner in the
Vireo portfolios.

As was mentioned in the conference call invitation, due to the number of participants on
the call, all lines have been muted. If you would like to submit a question, please email
them to Brent Farber at Navellier who will forward them to F-Squared. Brent’s email
address is brentf@navellier.com.

And now, Mr. Howard Present. Howard?

Howard Present: Hey, John, a pleasure to be on. How would you like to handle this? Do
you want a quick overview and then we can get to questions?

John: Yes, that would be fine.

Howard: Alright. Hopefully everybody can hear me alright.

This has been an interesting year, calendar year 2011. And in fact, in some ways, this is
now the fourth consecutive year of fairly dramatically different economic environments
going back to 2008 bear market, 2009 aggressive rally. 2010 in general was a positive
economic environment. Now we see the S&P at the end of the year up 15% although it
was characterized by very high volatility, high correlation among the sectors. This year, I
would say, up until the end of July, the way I would have characterized the year has been a
lot of headline risk translating to a certain amount of volatility, translated into the S&P 500.
But in reality, it was still a fairly attractive environment for investing. Through the end of July
the S&P was up 3.9% on a total return basis. There had been some fairly meaningful
cyclicality but it seemed like the market would cycle up and then trend down due to some
concerns about maybe international sovereign risk, etc. But the lows were always higher
than the prior low, and the highs were always higher than the prior highs. So it was an
environment that, as I said, translated into some pretty meaningful returns, considering
especially the economic environment.

What changed the equation in a lot of ways is the first week of August, and certainly today
hasn’t started off particularly well. But the decline that occurred over the last week where



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the S&P literally, in a five trading day period, was down over 7% has changed the equation.
Now looking at the S&P, and certainly over the last 30 days and 90 days, you’re starting to
see some fairly meaningful declines, the S&P’s down if you take a look at the last 30 days,
it’s down about 10.4% and the S&P over the last 90 days is pretty much in line, 10.2%. The
key characteristic relative to understanding AlphaSector is that literally 70% of that decline,
that 10% decline we’ve seen in the last 30 days, the last 90 days, occurred in the last week.
And so in a lot of ways, and certainly the way the AlphaSector engines respond to market
data and market dynamics a lot of this is really a one-week relevant move.

Now the key question’s going to be whether or not this is a great buying opportunity --
which I just saw a report from one of the major wire-house firms that said that that’s exactly
what this is and they actually just formally increased their allocation to large cap equities –
or is this going to be the beginning of a meaningful correction and potentially an extended
bear market? And I guess that’s the key question facing all of us right now.

I will tell you, just to give you a short, a little bit of an advance notice, over the weekend,
one of the nine sectors of the S&P turned off in our engines, so we are down to eight
sectors active. And I will give you a lot more data, but I will also tell you that there’s been a
fairly transformational adjustment or change in the overall profile of our signals and the
vast, vast majority of those eight sectors that are still on are now in what we would consider
a red zone which means they are very vulnerable to declines if you will, to moving negative
which could result in them turning off.

In fact, as sort of an advance on this, I’ll get into more detail later, there’s only one or two of
the nine sectors that we think are at all stable at this point: that’s the Utilities and Consumer
Staples. Those two have had the least volatility, the least market declines. They’re not in
what I would consider robust shape, but certainly they’re the only two that have not moved
into this red zone as far as our models. What that means is that it’s very possible over the
next several weeks that you could see the majority of the sectors turn off to the point where
AlphaSector actually starts moving into a partial cash position.

So let me go back a little bit into the market, give you some dynamics so far on a year-to-
date basis, and then probably at that point, translate that into implications for our models,
and then we’ll open it up for Q&A.

One of the key elements behind AlphaSector is an element we call Dynamic Volatility
Window. And what this does is it adjusts the overall sensitivity of the engines to the market.
The higher the volatility, and this is a sector by sector decision, not based upon the S&P,
the higher the volatility in a given sector, the more that translates into an increased
sensitivity to current events, current market dynamics into our engine. As volatility
decreases and moves into a more benign environment it tends to result in a little bit less
sensitivity and translates to, if you will, analytically speaking, a more patient analysis of
events.

The year has been characterized, interestingly enough, into the first quarter or so and now
the second quarter, particularly the last 30 days. The first quarter overall if you take a look
at all nine sectors they were from a volatility standpoint, it was pretty benign. On average
they were up about 18%, some a little bit higher, some a little lower. Technology was one of
the ones that had seen probably the highest, and Industrials -- excuse me -- Technology
had seen probably the highest level of increase on a change basis for the first quarter.



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The second quarter has changed that dynamic. On a percent change basis, based again
on our proprietary volatility measure, we’ve seen volatility increase 83%. Now that’s a lot.
On a year-to-date basis that means that the volatility has more than doubled. It’s up on
average across the sectors, 115%. The highest one is actually Energy which is up 225%
on a year-to-date basis.

What that means is that over the last quarter, and a lot of this has accelerated in the last 30
days, we’ve been increasing the sensitivity of our engines. One of the key components of
our analysis is rolling moving averages, and this means we’ve been shortening that rolling
moving average. Where the other dynamic which we saw actually a year ago which can be
profoundly negative in the way that returns are translated has to do with correlation sector
to sector. The good news here is that there’s still some meaningful dispersion of returns. In
other words, correlations have not dominated the market – it has over the last week
because everything’s gone down aggressively. But you’re still seeing some pretty
meaningful changes, not only over the last week, but certainly over the last several months,
where for example if you look at the last 30 days, Industrials are down 16% and you have
a couple like Consumer Staples that are down just five, and of that 5% the vast majority of
it occurred in the last week. So we are still seeing dispersion returns at the sector level
that’s very constructive – that’s a positive for us – that also represents a reasonable degree
of market health as far as our analysis of it. So if you couple reasonable dispersion, in
other words, correlation not getting excessive at this point coupled with increasing volatility
that translates into the way our engines operate, as follows:

We are now shortening our horizons so our sensitivity to the current market has picked up.
We anticipate that this will result in not an impact on every single one of the sectors, but,
as I said, one sector turned off over the week, and literally if you look at six of the
remaining eight sectors, the degree of weakening that we’ve seen in the last couple weeks,
in other words, the number of sectors that have been moved right to the cusp of turning off
or going negative for us, is literally the most aggressive downward shift in market sentiment
that we’ve seen, certainly on a broad-based basis, in the history of the ten years’
operations of the signals.

Our outlook at this point is therefore turning fairly bearish. We’re not trying to get into a
fundamental analysis of the market, but I can tell you, one sector’s off. We have six others
that are in what I consider this red zone which is a high watch environment. We would not
be surprised in the least over the next one week, two weeks’, three weeks’ period to see
enough sectors turn off for us to actually build a cash position. This is a pretty negative
environment by the way we evaluate the marketplace.

I do want to end with a couple of data points that provide context to what AlphaSector is
intending to do, what we’ve done in the past, and if you will, I’m going to try to manage
expectations a little bit here.

The first data point I want to provide to you tends to be the time period that our models
require before you’ll see a meaningful shift of positive to negative, negative to positive. In a
very high volatility environment such as we saw in 2008, the low, the shortest window we
saw was about a four-week move from a market peak to when a signal would turn off, and
Energy from the first, second week of July of 2008 is a good example. We actually turned
that sector off in the second week of August. So about a four-or five-week window has
historically been the low end. As I said right now, we’re actually in a position where for all


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intents and purposes, you could be looking at a two-week or a three-week window for
meaningful sectors being turned off.

So, we do not try to respond on a day-to-day or week-to-week basis, and certainly not with
the kind of volatility we just saw, it’s not intended to operate on a daily basis. I’m sure that
will come up in the Q&A as far as why. But the main perspective that should be drawn from
that is that we’re not trying to guess the market dynamics; we’re not market timing. We’re
trying to identify the longer-term and intermediate-term trends that are affecting the market
and put together a stable investment program that allows clients to succeed. That’s worked
dramatically well for us in the past; we’ve beaten the S&P in eight of the nine last calendar
years. We have effectively avoided the last two bear markets. There are some very
confusing market dynamics in second quarter and third quarter of 2010; we managed to
handle those well, and so far year-to-date there’s a lot of managers who are lagging the
S&P by probably, I don’t know, a thousand basis points and right now we’re modestly
ahead of the S&P, about 100 basis points on a year-to-date basis.

The second thing I want to put into context is – and we’ve sent this kind of information out
in the past – is: we provide aggressive downside risk controls, but they’re not intended to
be an absolute return product. This product is capable of losing 8-10%, 12%, on a rolling
90-day basis. That’s happened in the past, in fact the worst rolling 90-day returns in the
history of this strategy has been a 14% loss. Characterize that by the worst 90-day return
for the S&P 500 which is a 41% loss.

The other thing that’s critical here is that certainly in the past the AlphaSector engine and
the AlphaSector model have effectively put a floor in place fairly quickly. And what’s really, I
think, one of the key data points is that if you look at rolling 6-month returns, and you look
at the worst that we’ve had, so rolling 90-day the worst return is a 14% loss. Rolling
6-month the worst return is an 11% loss which is actually better obviously than the 90-day,
and the worst rolling one-year return is a 10½% loss. If you look at the S&P, it goes 41 for
rolling 90-days, 46% is the worst for rolling 6-months, and 47½ for rolling 12-months.

So we do have the capacity, we do have the historical reality that we could lose money in
that 10% plus or minus range, but that tends to be the floor at which point the returns over
slightly longer rolling periods start to improve. And on average over rolling one-year
periods, the AlphaSector Premium Index has actually exceeded the return of the S&P 87%
of the time.

So with that, let me leave one sort of an information point and then I’ll open it up to
questions. From an information standpoint we do have a special market update that will
probably reflect much of what I just got done saying over the last ten or fifteen minutes. It
will be coming out and will be posted on our website and our partner firms’ websites, such
as Navellier’s, by the end of today.

And with that, John, why don’t we open up for questions.

Q&A

John: Alright, Howard, we’ve sent a few questions to you by email. Do you have access to
those?

Howard: Yes, I probably do somewhere around here.



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John: Why don’t we start with those then, because we’ve got about 150 or 160 people on
the call and rather than just opening it up for a free-for-all.

Howard: Alright, the first question here is, and I’ll paraphrase it slightly, it’s a little bit long:

Q: It seems that the market tended to peak at the beginning of May and it’s been trending
down since then. There hasn’t been a lot of trading on the ETF side, and the question was:
How come?

A: I sort of gave the underpinning to the answer at the beginning here, but if you actually
look at the first seven months of the year, and you can even take a look at the last couple
months, in general the market has been trending up. The market would rally, there’d be
some sort of pullback, the bottom would be higher than the prior bottom, and it would take
back off again. The high would reach a new high.

The real change to that dynamic, and in fact as I said, 70% of the decline over the last 30
days, and 90 days has occurred in the last five trading days of this year which is the first
five trading days of August. So from a lot of perspectives and certainly the way our
engines work, much of the meaningful, negative sentiment that everybody’s responding to
today is actually one-week old. Now that said, we did turn a signal off, that signal went out
over the weekend; so the portfolios are trading today, and as I said I expect to see more
changes occurring over the next several weeks.

But the overall approach of the AlphaSector model is while the markets tend to have a
consensus in trend, certainly sector by sector, which it had for the majority of this year, we
don’t trade, so we don’t try to engage in unnecessary trading. The average holding period
for AlphaSector is at this point just under a year. So we tend to have a fairly long-term
holding under almost all conditions.

Howard: John, are we ready to go to the second one?

John: Yes, go ahead.

Q: This one says that the F-Squared models are proprietary which this individual
understood, and they wanted to understand a little bit more detail on what causes the buy
and sell signals.

A: Well, they are proprietary so there’s a limit to how much we can share. The key drivers
behind the signals are rolling moving averages, built around total return of each sector. A
key component is the volatility of the sector today, current market environment. We have a
proprietary volatility calculation which we generate which includes intraday volatility as well
as closing day volatility. You can see for example on Friday how much of a difference
intraday volatility has versus closing volatility. And then the last one is the rate of change of
that volatility factor. I’m not going to go through the whole methodology. I know there’s
been a lot of information out there on this. But the key element is that we implement a
dynamic volatility window. Our engine is intended to be able to become more sensitive to
current events as volatility is increasing, and we’ve seen that over the last quarter. And
when we have effectively, where our proprietary rolling engine, rolling models – sees a
crossover point versus current trends, we use a lot of data smoothing so it’s not just a
simple long-term rolling average against a short-term price change. But when those things
shift then that would go from a positive to a negative or a negative to a positive.



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Howard: John, is it worth going into more detail than that?

John: No, I think that’s fine; and if anybody would like more information about the process,
we do have a presentation that if you’ll contact us at Navellier, we’ll be more than happy to
email to you which will perhaps explain it a little bit better, or a little bit clearer.

Howard: Well put; and the next one has to do with, again, it’s sort of repetitive on what
goes into the models which I’ve shared.

Q: The next question gets into the timing and scheduling of buys and sells which I think has
probably two implications. Number one, is trading obligated to occur on a Monday, and the
second one is do we operate our engine? And this is a question that comes up a lot. Why
do we only run it once a week? What about running it every day or more frequently?

A: Let me answer that in this order. We run our engines. It translates to potential changes
in the portfolio. We publish our returns and our portfolio structure as an index. The public
index there’s a tremendous amount of structure imbedded around that. That structure
includes both rigor and oversight and so when we send our signals out to Navellier who will
be trading the accounts for you all, their job is to try to implement that in a manner that’s as
efficient and reasonable as possible. That does not mean that it needs to be at 9:01 every
morning, considering market dynamics to determine whether or not it’s a stable enough
market to begin trading. But there is not any flexibility in the timing of those events.

Q: The second question gets into why does our engine operate only on a weekly basis?
And the reason is our volatility measures actually break the world into blocks of data. And
those data blocks are five business days long. So when we go back and look at the last 5
years’ worth of data and are calculating our moving averages or calculating our volatility
measures, etc., we view the world in little packets of data that are one-week in length.
There’s some critical data smoothing that comes from this.

You know what’s interesting to me is there’s a lot of managers out there that are going to try
to have the ability to go to cash, more and more every day can do that. And some of them
will make some really good calls and deserve credit for that. The key is repeatedly making
quality calls. This is an engine and an approach, and a methodology that’s effectively been
in place for over a decade. In 2002 the market was down about 20%, the strategy was up
5. In 2008 the market was down 37, the strategy was down less than 2. We’re not trying to
catch every market move. We are trying to be able to provide a high-quality profile of
returns over time. And the data smoothing that comes from this weekly packet of data is
actually very important to the stability and quality of the signals we’ve generated.

Howard: And I think that pretty much answers effectively all the questions you’ve sent me
so far, John. What else have you got?

John: Well, Howard, at the risk of causing an avalanche here, I’ll invite anybody that would
like to ask a question if you’ll hit *6 that will un-mute your line, and then just keep your
question short and brief. Then, Howard, will you then answer it, please.

Howard: We’ll run it for the time being and see how long it goes. Maybe another 15
minutes.

John: That’s fine. So anybody that wants to hit *6 and un-mute your line, and you can ask
Howard a question directly, please.


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Q: Howard, I was just going to ask on the rolling 90-day, 6-month, and one-year numbers
that you quoted, was that just for the domestic equity version, or is that the AllWeather
version?

A: Everything I gave you is the domestic equities. As it turns out the Allocator data actually
is much better. And everybody right now I think is focusing – you know the bond market,
even this morning, even with the S&P modest downgrade, last time I saw, the Treasuries
had strengthened rather than weakened on that. So really the driver of I think a lot of the
market sentiment right now and certainly the driver of a lot of the performance is the US
equities which is what I’ve been sharing. When we come up with our update later today,
we’ll add the Allocator data in but I will tell you, the rolling periods for the Allocator are much
better than the US equity because you’ve got a 30% bond piece, you’ve got gold, you’ve
got REIT, some other diversifiers in there. So we’ll be able to provide an updated data, but
just to not to be overly confusing to the call this morning, I’ve been focusing all the
dynamics on the US equity piece.

Q: Howard, I did a seminar for F-Squared and I had a computer programmer there who
said, you know, I understand the principle of GIGO: garbage in, garbage out. Does the
computer make all these decisions without human involvement? And what do you do to
safeguard against any garbage in, garbage out type behavior?

A: Yes, it’s an important question. The engine runs on an unadjusted and independent
basis, and we therefore do not have human intervention to the key process. I want to
answer your question, but let me also make just one point. A lot of the intent and a lot of the
success of AlphaSector to date has been based upon consistency and repeatability of
returns. And to our view and philosophy the only way to deliver that is from a consistency
and repeatability of process. So having a quantitative or if you will objective, unemotional
approach we think is very important to that process; and just from a perspective standpoint,
if there’s 125 people on this call today, and we took a poll: How many of them think that the
market’s going to go down 10% between now and year-end; and how many think it’s going
to go up 10%? I would wager that it’s somewhere close to 50/50 split. When you’re talking
about significant market moves, and inflection points, and whether it’s a sector, or cumula-
tively the sectors add up to broad market review, at the time we’re making decisions like
right now they are unbelievably emotionally-charged. They are unbelievably, I think,
challenging for individuals to apply a consistent, unemotional approach. Now like I just said,
I just saw one of the major wire-houses just came out with basically their increase in the US
equity allocation; and I know there’s a lot of firms out there saying that we’re heading into a
double-dip recession, another bear market. So, anyway, all that conflicting information,
individuals, I think are going to make bad calls, but let me answer your…

Q: What about your international weight?

A: Hang on a second. Let me answer this garbage in, garbage out. So we do pay strict
attention to the stability of the inputs and from that standpoint we’re looking at is there
something in the data signals that would cause the engine not to interact with that data or
analyze that data correctly? I will tell you in 2009 we came to exactly that conclusion. The
tail end of 2008 was a massive spike in volatility and the unbelievable collapse in return
caused what from our definition was a discontinuity, if you will, a break in the data feeds at
the sector level.

We actually made a temporary adjustment to the way the analytical engines operate in


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2009. We implemented that in February. Sector by sector they were removed as we got
from July through November of 2009. Today the engine’s working exactly the way it was at
the beginning of 2008. But I will tell you that that adjustment we made to address that
garbage in, garbage out problem probably added nine hundred basis points to the return in
2009 and was the difference why we outperformed the S&P by 600 as opposed to lagging
by 300. So hopefully that addresses the question.

Q: Internationally, what about your emerging markets – are they on or off, and also the
regular bond markets?

A: So right now as it stands today, emerging markets and EAFE are fully invested. I will tell
you, though, that they could be massively in cash here over the next couple weeks. So the
signals and the other early feeds that we have indicating what’s likely to occur over the
next several weeks should result in almost a complete shift to cash or certainly very close
to that for the international portfolio.

On the bond side what we’re looking at right now is corporates are still in high yield
although I expect that to shift over the coming weeks. We also have mortgages that have
turned off and on the gold/REIT side, gold is off although that’s very likely to turn back on
given the current market dynamics and REITs are on although that’s probably vulnerable to
a negative turn in the next several weeks.

John: Howard, you touched on gold very quickly. We’ve had a number of questions come
up about why it’s been off for the majority of the year. I know you don’t like to get into
specifics, but can you address gold at all, please?

A: Well I’ll tell you this, gold tends to be a defensive element and without getting into all of
the mechanics, I can tell you that when we’re operating with all nine US equity sector
signals active, that’s a fairly bullish stance. That played well through the end of July. And
therefore, a position in gold is unlikely to be justified when you’ve got that kind of a positive
stance on the broad US equity market. Clearly today that’s not the case and I know
everybody’s been focusing on the upward trend in gold where it continues to reach new
highs, but if you actually look at the percentage change up until the last couple weeks, it
really hasn’t been that dramatic. So although it was a positive investment for calendar year
2011, so was US equities, so was international equities. And, again, the dynamic’s
changing here fairly recently and I think over the next several weeks you’re going to be
seeing some pretty major portfolio changes certainly profile changes within the AlphaSector
suite of portfolios.

John: Any other questions, please?

Q: I have a question. Howard, can you just give us a quick review of which segments are
on and which are off?

A: Well, we don’t provide live updates on that. So what I can tell you is over the weekend,
one of the nine sectors turned off. We’d had a fully-invested, in other words, all nine US
sectors had been on for the majority of the last certainly four or five months. One sector
turned off this weekend and that’s being reflected in the portfolios today. But from a variety
of disclosure constraints that I’m under, I can’t really share which one that is.

I will also tell you that international equities have not changed profile recently but I do
anticipate that changing over the coming weeks. The one sector that turned off has been,


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we’ve mentioned in prior dialogues, that there’s been two or three of the sectors that’ve
been the weakest: Technology, Financials, and Industrials and it is one of those three but
unfortunately I’m not at liberty to share the specifics.

Any other questions we might have?

Q: I have one. You commented about the performance of the market versus your product
for the 2000 downturn and the 2008 downturn. Could you repeat those numbers, please?

A: Sure. In 2002 the S&P was down 22%. And the AlphaSector Premium Index was up 5%.
In 2008 the S&P on a total return basis was down 37%, and we were down as an index
1.9%.

Q: Thank you.

A: My pleasure.

John, any more questions, or should we just make sure everybody tries to go to your
website and will be able to get the special market update being released later today?

John: We’ll certainly get that out to everybody. In addition, tomorrow I will send out an
email that will give you a link to the replay of this call so if you missed part of it or you want
to go back over it, we’ll have that available. I want to thank everybody very much for their
time. If you have any questions at all, please don’t hesitate to get in touch with us at
Navellier.

Have a great day. Thank you and thank you, Howard.

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Thank you. Have a great day.

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Cheryl


Cheryl Czyz
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                                                                                                                                                                                                                                   Supplemental Information




                                 Limiting risk in down markets and participating in up markets

                                 AlphaSector
                                   p         Allocator Premium Index is designed
                                                                            g    to consistently
                                                                                               y outperform
                                                                                                    p       the Dow
                                 Jones Moderate Global Index and outperform cash

                                         • Quality downside risk management, especially in weak markets
                                                                                                                                                                                                                                       As of Mar 2011
                                         • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                                                               AlphaSector
                                                                                                                                                                                                                                     Allocator    DJ Moderate
                                                                                                                                                                                                                                  Premium Index      Global
                                        AlphaSector Allocator Premium Index Performance                                                                                                                                            (Pure Gross)
                                                                                    Apr 2001 – Mar 2011                                                                                                      Cumulative Return       257.6%         96.8%
                    400
                                                                                                                                                                                                                   1 Yr Return        12.7%         13.4%

                    350                                                                                                                                                                                3 Yr Return (Annualized)       15.7%          4.7%
                                                                                                                                                                                                       5 Yr Return (Annualized)       14.7%          5.0%
                    300                                                                                                                                                          AlphaSector
                                                                                                                                                                                 Allocator Premium
   ulative Return




                                                                                                                                                                                 Index (Pure Gross)        Maximum Drawdown           -8.2%         -35.1%
                    250
                                                                                                                                                                                                            Standard Deviation        7.3%          10.8%
                                                                                                                                                                                 DJ Moderate
                                                                                                                                                                                 Global               Annualized Excess Return        6.6%              N/A
                    200
Cumu




                                                                                                                                                                                                                         Alpha        9.9%              N/A
                    150                                                                                                                                                                                             R-Squared         51%               N/A
                                                                                                                                                                                                                          Beta        0.5%              N/A
                    100
                                                                                                                                                                                                         5 Yr Up Capture Ratio        100%              N/A

                     50                                                                                                                                                                                5 Yr Down Capture Ratio        39%               N/A
                          4/01




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                    not necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential for partial or
                    complete loss of funds invested. Results presented include reinvestment of all dividends and other earnings. Please read important disclosures at
                    the end of this presentation.

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         AlphaSector Premium includes or excludes sectors in the portfolio
         through disciplined re-allocation and diversification
    100%
                                                                                                                                                                        Utilities (XLU)
     90%
                                                                                                                                                                        Technology (XLK)

     80%                                                                                                                                                                Materials (XLB)
                                                                                                                                                                        Healthcare (XLV)
     70%
                                                                                                                                                                        I d t i l (XLI)
                                                                                                                                                                        Industrials
                                                                                                                                                                        Financials (XLF)
     60%
                                                                                                                                                                        Energy (XLE)
     50%                                                                                                                                                                Cons. Staples (XLP)

                                                                                                                                                                        Cons. Disc. (XLY)
     40%
                                                                                                                                                                        Short Term
                                                                                                                                                                        Treasuries (BIL)
     30%

     20%

     10%

       0%
            3/01

                     9/01

                             3/02

                                    9/02

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            4/01




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             Note periods where the Index goes to cash:                                               (BIL)
For Financial Consultant One-on-One Use Only. April 2001 to March 2011. Source: Morningstar, F-Squared Investments. Copyright 2009 –
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Important Disclosures
Navellier Vireo AlphaSector Allocator Premium is a new strategy that attempts to track an index known as the AlphaSector Allocator
Premium Index, owned and published by Active Index Solutions, LLC (“AIS”).
                                                                         ( AIS ). The AlphaSector Allocator Premium Index is a quantitatively
driven index that applies a weekly trading protocol to nine Select Sector SPDRs, a Treasury exchange traded fund, two international
ETFs, five fixed income ETFs, and three “alternative” ETFs (please refer to slide 10 in this presentation). There is no guarantee that the
advisor will be successful in achieving returns similar to the AlphaSector Allocator Premium Index, and in fact, client returns will be
significantly lower than the index returns after actual fees are taken into account, including management fees, brokerage or transaction
costs, or other administrative or custodian fees a client may incur.

             q y sleeve” referenced in the materials refers to the AlphaSector
The “U.S. equity                                                      p         Premium Index,, with the strategy
                                                                                                               gy that the AlphaSector
                                                                                                                             p
Premium Index is based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies
that the returns presented, while not back-tested, reflect theoretical performance an investor would have obtained had it invested in the
manner shown and does not represent returns that an investor may have actually attained, as an investor cannot invest directly into an
index. Theoretical and hypothetical performance have many inherent limitations. The performance is adjusted to reflect the reinvestment
of dividends.

AlphaSector Allocator Premium Index is the exclusive property of F-Squared Investments, Inc. and AIS. AIS calculates and publishes the
value of the index on a monthly basis. Source: Morningstar Direct. Although AlphaSector Indexes do not short securities nor utilize
leverage or derivatives, the ETFs that AlphaSector tracks may make use of such financial instruments or strategies.

“AlphaSector” is a service mark of F-Squared Investments, Inc. and AIS. Neither AIS nor F-Squared Investments, Inc., is affiliated with
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it timely receives any changes made to the AlphaSector Allocator Premium Index holdings. Investment products such as the Navellier
Vireo AlphaSector Allocator Premium strategy that are based on the AlphaSector Allocator Premium Index are not necessarily sponsored
b AIS or F
by          F-Squared,
              S      d andd AIS anddFF-Squared
                                       S      dddo nott make
                                                          k any representation
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directly invest in an index. Index returns presented represent past performance and are not a guarantee of future results or indicative of
any specific investment.




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Important Disclosures (cont.)
Navellier does not calculate the statistical information included in the attached report. The calculation and the information are provided by
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                                                                 g information contained in the report
                                                                                                     p has been obtained from Zephyr p y
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
bond indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed
Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
important benchmarks available to judge overall U U.S.
                                                     S market performance
                                                               performance.

Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest directly in an
index. Among the most important differences between the Indices and Navellier strategies are that the Navellier equity strategies may (1)
incur material management fees, (2) concentrate investments in relatively few ETFs, industries, or sectors, (3) have significantly greater
trading activity and related costs, and (4) be significantly more or less volatile than the Indices.

Potential investors should consult with their financial advisor before investing in any Navellier Investment Product. Investment in equity
strategies involves substantial risk and has the potential for partial or complete loss of funds invested.




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1. Compliance Statement – Navellier & Associates, Inc. claims compliance with the Global Investment Performance Standards (GIPS®) and has prepared and presented this report in
compliance with GIPS standards. Navellier & Associates, Inc. has been independently verified for the periods January 1, 1995 through September 30, 2009 by Ashland Partners & Company
LLP. A copy of the verification report is available upon request. Verification assesses whether (1) the firm has complied with all the composite construction requirements of the GIPS standards
on a firm-wide basis and (2) the firm’s policies and procedures are designed to calculate and present performance in compliance with the GIPS standards. Verification does not ensure the
accuracy of any specific composite presentation.

2. Definition of Firm - Navellier & Associates, Inc. is a registered investment adviser established in 1987. Navellier & Associates, Inc. manages a variety of equity assets for primarily U.S. and
Canadian institutional and retail clients.

3. Composite Description - The Navellier Vireo AlphaSector Allocator Premium Wrap Composite includes all discretionary Navellier Vireo AlphaSector Allocator Premium equity accounts that
are charged a wrap fee and are managed with similar objectives for a full month,
                                                                            month including those accounts no longer with the firm.
                                                                                                                                 firm The strategy attempts to track an index known as the
AlphaSector Allocator Premium Index and Navellier & Associates, Inc. pays a licensing fee to F-Squared Investments, Inc. to provide a model of the index. Thirty-six percent of the index
consists of the AlphaSector Premium Index, 30% consists of the AlphaSector Fixed Income Index, 24% consists of the AlphaSector International Index, and 10% consists of the AlphaSector
Alternatives Premium Index. The AlphaSector Premium Index is quantitatively driven and applies a weekly trading protocol to nine Select Sector SPDRs and an exchange traded fund (ETF)
representing 1-3 month Treasuries. The index has the potential to be invested in any combination of the nine SPDRs including all nine at the same time, a combination of sector SPDRs and the
Treasury ETF, or can be 100% invested in the Treasury ETF. The AlphaSector Fixed Income Index is quantitatively driven and applies a weekly trading protocol to four fixed income ETFs along
with a 7-year Treasury ETF. The index has the potential to be invested in a combination of the four fixed income ETFs and the Treasury ETF or can be 100% invested in the Treasury ETF. The
AlphaSector International Index is quantitatively driven and applies a weekly trading protocol to two international equity ETFs, representing developed international markets and emerging
markets along with a 1-3 month Treasury ETF
markets,                                    ETF. The index has the potential to be invested in a combination of the two international ETFs,
                                                                                                                                        ETFs a combination of the international ETFs and the
Treasury ETF, or can be 100% invested in the Treasury ETF. The AlphaSector Alternatives Index is quantitatively driven and applies a weekly trading protocol to two alternative ETFs,
representing real estate and gold, and either an S&P 500 ETF or a 1-3 month Treasury ETF. The index has the potential to be invested in a combination of the alternative ETFs or a combination
of the alternative ETFs and the S&P 500 ETF or the 1-3 month Treasury ETF if the AlphaSector Premium Index has any exposure to the Treasury ETF. There is no guarantee that Navellier will
achieve returns similar to the index, and in fact the strategy’s returns may vary from the index due to the timing of trades and after fees are taken into account, including management fees,
brokerage or transactions costs, or other administrative or custodian fees. Performance is calculated on a “time-weighted” and “asset-weighted” basis. Performance figures that are net of fees
take into account advisory fees and any brokerage fees or commissions that have been deducted from the account. Gross-of-fees returns reflect the deduction of transaction costs/commissions,
but do not reflect the deduction of any investment management fees. Therefore, actual returns will be reduced by advisory and other expenses incurred. Performance results include the
reinvestment of any dividends. The composite was created January 1, 2010. As of October 2010, the Navellier Vireo AlphaSector AllWeather Premium Wrap Composite has been renamed the
Navellier Vireo AlphaSector Allocator Premium Wrap Composite. Valuations and returns are computed and stated in U.S. Dollars. Portfolio valuation sources are IDC, Factset, and Thompson.
Performance is calculated using the “Modified Dietz Method.” Policies for valuing portfolios, calculating performance, and preparing compliant presentations are available upon request.

4. Management Fees - The management fee schedule for accounts ranges from 75 to 100 basis points, depending on account size and brokerage selected. Some incentive fee, fixed fee, and
fulcrum fee accounts may be included. Fees are negotiable, and not all accounts included in the composite are charged the same rate. Bundled fee accounts make up 100% of the composite for
all periods shown. Fee schedules are provided by independent sponsors and are available upon request from the respective sponsor. The bundled fees include custody, trading expenses, and
other expenses associated with the management of the account. The client is referred to the firm's Form ADV Part II for a full disclosure of the fee schedule.
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5. Composite Dispersion - If applicable, the dispersion of annual returns is measured by the standard deviation across asset-weighted portfolio returns represented within the composite for the
full year.

6. Benchmark - The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the g      global securities market. It is a total returns index that is a time-varying
                                                                                                                                                                                   y g weighted
                                                                                                                                                                                          g
average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a portfolio whose semideviation is 60% of the annualized 36-month historic semideviation
of the Dow Jones Aggressive Portfolio Index. Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four bond
indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap Mortgage-backed Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash
is represented by the 91-Day T-Bill Auction Average. The efficient portfolio is updated monthly. The secondary benchmark for the composite is the S&P 500 Index, which measures the
performance of the 500 leading companies in leading industries of the U.S. economy, focuses on the large cap segment of the market, with approximately 75% coverage of U.S. equities. The
returns for the S&P 500 Index include the reinvestment of any dividends. The asset mix of the composite may not be precisely comparable to the presented indices. Presentation of index data
does not reflect a belief by the Firm that the Dow Jones Moderate Global or S&P 500 indices, or any other index, constitutes an investment alternative to any investment strategy presented in
these materials or is necessarily comparable to such strategies.

7. General Disclosure - The three-year annualized standard deviation is not presented because 36 months of history is not available. Actual results may differ from composite results depending
upon the size of the account, custodian related costs, the inception date of the account and other factors. Performance results presented herein do not necessarily indicate future
performance. Investment in equity strategies involves substantial risk and has the potential for partial or complete loss of funds invested. Results presented include reinvestment
of all dividends and other earnings. The securities identified and described do not represent all of the securities purchased, sold, or recommended for client accounts. The results presented
were generated during a period of improving and deteriorating economic conditions in the U.S. and both positive and negative market performance. There can be no assurance that these
favorable market conditions will occur again in the future. Navellier has no data regarding actual performance in different economic or market cycles or conditions. It should not be assumed that
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Associates, Inc. for the preceding twelve months or to receive a complete list and description of Navellier & Associates, Inc.’s investment composites, contact Tim Hope at (800) 365-8471,
extension 416, or write to Navellier & Associates, Inc., One East Liberty, 3rd Floor, Reno, NV 89501, or e-mail timh@navellier.com.

All Information contained herein is stated as of the date referenced at the top of this page unless indicated otherwise. Past performance is no guarantee of future results.




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From:                                          Seth Lee <seth_lee@navellier.com>
Sent:                                          Thursday, June 21, 2012 1:43 PM
To:                                            Daniells, Preston
Subject:                                       AlphaSector Premium
Attachments:                                   Premium033112slick.pdf; Vireo ASPremium commentary 033112.pdf; Vireo AS
                                               Premium Commentary 123111.pdf


Fact sheet, Q1 2012 commentary, & end of year 2011 commentary


Seth Lee
Marketing Associate - Western Division
775-785-9426
-------------------------------------------------




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                                                                                     AlphaSector           1Q
                                                                                                Index 2012


Overview                                                                                                   S u p p l e m e n ta l
•       The first quarter of 2012 witnessed the best quarterly performance by the market, as               I n f o r m at i o n
        measured by the S&P 500 Index, in 14 years.  To put the S&P 500’s 12.6% quarterly return
        into perspective, it would translate on a compounded basis to an amazing annualized
        return of 60.8%.  Further, the 12.6% gain ranked among the best handful of all rolling
        90-day periods over the past decade, placing it above 94% of all other rolling 90-day
        periods in the past 11 years.

•       Equity volatility levels, as measured by F-Squared’s proprietary models, were markedly
        lower than in 2011, which is a positive sign for the markets.  The S&P 500 had a loss of
        more than 1% only one day in the quarter (March 6th), as compared to an average of 12
        days for each of the past four quarters.

•       As to be expected in such an extreme upward move for the market coming on the heels of
        a period of high risk (August 2011 – December 2011), the AlphaSector Premium Index
        (“AlphaSector Index”) lagged.  While the AlphaSector Index gained a healthy 8.7% (pure
        gross; 7.9% net) for the quarter, the gain represented only 69% of the upside performance
        of the S&P 500 Index.  By way of reference, during those rare times when the S&P 500
        gained more than 12% for a rolling 90 day period, the average up capture ratio of
        AlphaSector Index was 64%.

Market Environment
There were a number of factors behind the strong equity market advance, including the
absence of material negative news from Europe, a gradually declining unemployment rate in
    the US (new unemployment claims dropped to a four-year low), and improving investor
sentiment.  Even the housing industry posted some encouraging signs. Still, all was not rosy on
    the economic front, as the related factors of a three-year high in the US trade deficit and higher
    prices at the pump dampened some investors’ enthusiasm.

An “Off the Charts” Quarter for the S&P 500
One of Vireo’s key mantras is that we are not benchmark-centric. Instead, we are client-centric,
    meaning that we align the goals of the investment process with the goals of the client.  We are
    more focused on seeking to avoid loss for our clients (minimizing drawdowns) than “tracking-
error” versus a benchmark. As straightforward and intuitive as this sounds, most of our large
cap core competitors in the equity area are in fact benchmark-centric – and therefore hew
closely to the relevant benchmark.  As 2002 (S&P 500 -22%) and 2008 (S&P 500 -37%) taught
    us, low tracking error can be a risky pursuit.  But in the first quarter of 2012, benchmark-centric,
    low tracking error managers had their day (or 90 days) in the sun.  

Performance Review1 – Q1 2012
As recently as mid-December 2011, the AlphaSector Index had a very bearish positioning and
50% cash weighting.  By the beginning of January, the Index had progressed to a fully
    invested positioning in the equity market, with five sectors active. As the first quarter

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progressed, the increasingly positive tone of the market was reflected in the model, and by                  S u p p l e m e n ta l
quarter’s end, six sectors were on and two more were very close to engaging.
                                                                                                             I n f o r m at i o n
The strong market benefitted just about all sectors, with utilities the only sector declining in the
quarter, down 1.65% after a 2011 in which utilities was the best performing sector of the S&P
500. Financials exhibited the strongest move, up 22.0%, followed closely by technology, which
posted an 18.8% advance.  Utilities has been a mainstay of the portfolio throughout the past
year – in fact it is one of only two sectors (with consumer staples the other) that have stayed
on for over a year.  While detracting from performance in the first quarter, utilities has been a
solid core holding over the past year. The absence of financials in the portfolio also hurt
relative performance in the quarter, but the quantitative engine will not signal a re-engagement
in the sector until it discerns that stability has returned.  A similar pattern was evidenced in the
2008-2009 bear market.  After the financials sector was turned off in mid-2007, it was not
added back into the AlphaSector Index until May 2009 – about 60 days after that sector had
bottomed.
1
    Performance is proxied by the relevant SPDR ETF

Outlook
Because all of the analysis that is done for the portfolios is quantitatively-based and all of the
data is historical in nature, we do not make formal projections or outlook statements.  
However, some potential insight can be gained by looking at trends in volatility and overall
positioning.  

With lower volatility than we saw in 2011, US and international equity markets surged in the
first quarter of 2012. The US market witnessed broad participation among the nine sectors
with only utilities posting a decline.  The signals generated by our quantitative engine have
become progressively more bullish since the closing months of 2011.

There are many positive signs on the investment landscape, and the quantitative engine has
adapted to reflect this. However, it is also important to note that early March marked the
three-year anniversary of the market bottom – the S&P 500 Index is up over 20% per annum
in this period – about double the historical average for this Index. While we are not market
prognosticators, we do know that markets move in cycles and having a “tool in your toolbox”
for the bear phases of the market is of paramount importance.  Vireo is such a tool – a
time-tested quantitative engine that has the ability to move to cash in a toxic market
environment. We employed this tool in 2002 and 2008 and as recently as last August. While
we currently see no reversal of the bullish trend, it’s helpful to remember that the F-Squared
quantitative engine can pivot fairly quickly. At the end of last July, we had all nine US sectors
engaged – but by the beginning of September, the portfolio had an allocation to cash and
seven sectors off. Market tone can change, and our model will adapt to that change as we
seek to protect down, participate up.

The comments and opinions outlined in the first quarter commentary consider market conditions and index
performance as of March 31, 2012. In light of the fact that as of this printing market conditions may have
changed dramatically, we encourage our readers to check the Vireo website at www.vireoinvestments.com for
the most up-to-date news and opinions.




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Important Disclosures
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ALPHASECTOR INDEX: Vireo Premium attempts to track an index known as the AlphaSector Premium Index
(“Index”), owned and published by Active Index Solutions, LLC (“AIS”). The AlphaSector Premium Index is a quan-
titatively driven index that applies a weekly trading protocol to nine Select Sector SPDRs and an exchange traded
fund (“ETF”) representing 1-3 month Treasuries (ticker BIL). Note that the Vireo Premium accounts managed by the
adviser may invest in a cash equivalent, such as money market funds, in place of BIL. The Index has the potential
to be invested in any combination of the nine SPDRs including all nine at the same time, a combination of sector
SPDRs and the Treasury ETF, or can be 100% invested in the Treasury ETF. There is no guarantee that the adviser
will be successful in achieving returns similar to the AlphaSector Premium Index, and in fact client returns will be
significantly lower than the Index returns after fees are taken into account, including management fees, brokerage or
transaction costs, or other administrative or custodian fees a client may incur. One cannot directly invest in an index.
Index returns presented represent past performance and are not a guarantee of future results or indicative of any
specific investment.
“AlphaSector” is a service mark of F-Squared Investments, Inc. (“F-Squared”), and AIS. Neither AIS nor F-Squared
 Investments, Inc. is affiliated with Navellier & Associates, Inc. (“Navellier”). Navellier has entered into a Model Manager
 Agreement with F-Squared pursuant to which it timely receives any changes made to the AlphaSector Premium Index
 holdings. Investment products such as the Vireo Premium strategy that are based on the AlphaSector Premium Index
 are not necessarily sponsored by AIS or F-Squared, and AIS and F-Squared do not make any representation regarding
 the advisability of investing in them.
As a matter of normal and important disclosures to you, as a potential investor, please consider the following. Some of
the returns presented reflect hypothetical performance an investor would have obtained had it invested in the manner
shown and does not represent returns that an investor actually attained. Hypothetical backtested performance has
many inherent limitations. The Index should be considered as Model Portfolio results and are mere “paper” or proforma
performance results. There are material differences between Vireo Investment Product portfolios and the Index,
research, and performance figures presented here. The Index and the research results (1) may contain stocks that
are illiquid and difficult to trade; (2) may contain ETF holdings materially different from actual funded Vireo Investment
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 As a matter of important disclosure regarding the hypothetical results presented in the accompanying charts and
graphs, the following factors must be considered when evaluating the performance figures presented:
1) Historical or illustrated results presented herein do not necessarily indicate future performance; Investment in
securities involves significant risk and has the potential for partial or complete loss of funds invested.
2) The results presented were generated during a period of mixed (improving and deteriorating) economic conditions
in the U.S. and positive and negative market performance. There can be no assurance that the favorable market
conditions will occur again in the future. Navellier has no data regarding actual performance in different economic or
market cycles or conditions.
3) The results portrayed reflect the reinvestment of dividends and other income.
4) LIMITATIONS INHERENT IN HYPOTHETICAL RESULTS:  The performance results presented are from an Index,
not an actually funded portfolio, and may not reflect the impact that material economic and market factors might have
had on the adviser’s decision-making if the adviser were actually managing clients’ money, and thus present returns
which are greater than what a potential investor would have experienced for the time period.  The results are presented
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be considered mere ‘paper’ or pro forma performance results. The Index results do not represent actual funded trades
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5) The reported performances of Indexes presented in the accompanying charts and graphs do not reflect the
performance results of Navellier’s actually funded and traded Investment Products.
6) In most cases, the adviser’s clients’ investment results would be materially lower than the results portrayed in the
Index.
7) The Index results may or may not relate, or only partially relate, to the type of advisory services currently offered by
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Navellier does not calculate the statistical information included herein. This material has been prepared solely for
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cited in these reports. Although information contained herein is based on sources Navellier believes to be reliable,
Navellier does not guarantee its accuracy, and the information may be incomplete or condensed. Statistical analyses
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financial products.
The results portrayed include investment advisory fees paid to the adviser equal to 1.25% plus an estimated custodian/
brokerage fee to account for transaction/brokerage costs equal to 1.75%, for total fees equal to 3.00%. The adviser


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believes these fees represent the highest fees a client may incur with a brokerage firm or other financial intermediary.
However, it may be that some financial intermediaries charge fees greater than the adviser is aware of. The pure
gross results portrayed do not include any investment advisory fees, administrative fees, or transaction expenses,
or other expenses that a client would have paid or actually paid. The fees reflected in the net performance figures in
this presentation may not include administrative fees, or transaction expenses, or other expenses that a client would
have paid or actually paid. The fees may also vary depending on the account size and estimated trading costs will be
greater for smaller accounts. The ETFs invested in the model portfolios have their own expenses that are included in
the gross and net returns presented.
The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard
& Poors, a division of The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total
capitalization of companies publicly traded in the United States. The S&P 500 Index is weighted by market value and
its performance is thought to be representative of the stock market as a whole. It is reported that over 70% of all U.S.
equity funds are tracked by the S&P 500. The index selects its companies based upon their market size, liquidity, and
sector. Most of the companies in the index are mid cap or large corporations. This index is composed of 400 industrial,
20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most important
benchmarks available to judge overall U.S. market performance. Presentation of index data does not reflect a belief by
Navellier that any stock index constitutes an investment alternative to any Navellier equity strategy presented in these
materials, or is necessarily comparable to such strategies and an investor cannot invest directly in an index. Among the
most important differences between the indexes and Navellier strategies are that the Navellier equity strategies may
(1) incur material management fees, (2) concentrate investments in relatively few ETFs, industries, or sectors, (3) have
significantly greater trading activity and related costs, and (4) be significantly more or less volatile than the indexes.
All indexes are unmanaged and performance of the indices includes reinvestment of dividends and interest income,
unless otherwise noted, is not illustrative of any particular investment and an investment cannot be made in any index.
Potential investors should consult with their financial adviser before investing in any Navellier Investment Product.




About Vireo                                                                                       800.887.8671
 Vireo Portfolio Sponsor                                                                  One East Liberty, Suite 504,
                                                                                               Reno, Nevada 89501
 Navellier & Associates
 Model Portfolio Management
 F-Squared Investments/Active Index Solutions, LLC
 Benchmark: S&P 500 Index
 Objective: The Vireo Premium Portfolio seeks to limit losses during severe market downturns while fully
 participating in up markets.
 Investment Process: The Vireo Premium Portfolio utilizes a highly disciplined, quantitative process to
 assess forward-looking risk across all major asset classes. Using widely available ETFs, the portfolio will
 re-allocate between individual sectors and asset classes whenever the risk is deemed too great. When
 conditions warrant, the portfolio can go to cash.




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                                                              AlphaSector Premium                4Q
                                                                                      Index 2011


AlphaSectorTM strategies protected investors from extreme volatility while                       S u p p l e m e n ta l
delivering market-level returns during turbulent 2011
                                                                                                 I n f o r m at i o n
Key takeaways:

•   Volatility dominated the markets in 2011, and in response the AlphaSector strategies
    adapted to market conditions by aggressively “de-risking.”  AlphaSector Premium
    Index reduced overall volatility by 43% versus that of the S&P 500 in 2011.

•   AlphaSector Premium Index returned 1.7% for the year, lagging the S&P 500’s modest
    2.1% gain by only 40bp.

Sustained Market Volatility was the major challenge to investors in 2011

In the equity markets, 2011 may have ended nearly flat, but investors experienced an
uncomfortable up-and-down ride.  Volatility rattled the markets, especially in the second
half of the year:

•   The first quarter of 2011 was the best Q1 since 1998 for the S&P 500 TR Index. The
    third quarter was the worst Q3 since 2008.

•   The VIX reached a high of 30 or more during twenty weeks in 2011, a level of volatility
    exceeded in only two periods since 1989:  the 2002 and 2008-2009 market crashes.

•   Between August 1 and December 1, the S&P 500 saw eight declines of 5% or more
    and eight advances of 5% or more.  The total of sixteen such movements means
    that, on average, big swings were a weekly occurrence.

The headlines echoed the market swings and added to investor uncertainty.  Stories on the
sluggish economy at home and abroad, US government deficits, and the Euro credit crisis
added to investor uncertainty.  Investors responded to the heightened risk: according to
Morningstar, US stock mutual funds lost $101 Billion during 2011, the worst year since
2008.

Although the S&P 500 TR Index advanced 2.1% for the full year 2011, that seemingly dull
outcome conceals a year of volatility and anxiety for most investors.

The AlphaSector strategies protected clients from the worst of market volatility

A key aspect of the value proposition of AlphaSector is the ability to “de-risk the portfolio”
in volatile and negative markets. In an extended bear market, as in 2008-2009, the goal is




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to reduce capital loss. In periods of up-and-down swings such as 2011, the dual objectives              S u p p l e m e n ta l
are to 1) position the portfolio defensively to move quickly to cash if the markets deteriorate
significantly, and 2) to reduce volatility and its negative impact on clients.                          I n f o r m at i o n
The AlphaSector Premium Index achieved that objective, as the following chart shows:

When the S&P 500 Total Return Index (red line) showed extreme volatility, the
AlphaSector Premium Index (blue line), provided a smoother ride for investors and
yet delivered virtually identical returns.




Source: Morningstar, F-Squared Investments

•     When volatility spiked in late July and August, the AlphaSector Premium Index
      reduced exposure to the most volatile sectors and assumed a defensive
      part-cash position. Cash remained in the portfolio, at 25% or 50% weighting, into
      early
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    pages for disclosures that are an integral part of presentation.


•     The AlphaSector Premium Index ended 2011 with a one-year return of 1.7% versus
      2.1% for the S&P 500 Total Return Index.  AlphaSector Premium therefore came
      within 42 basis points of the S&P return, but AlphaSector had 43% less volatility
      for the year than the S&P. Standard Deviation for 2011 was 9.1% for AlphaSector
      Premium versus 15.9% for the S&P 500.

•     Using Morningstar’s U.S. Large Blend Funds as a peer group, the AlphaSector
      Premium Index outperformed the 1.5% return threshold for Top Quartile performance
      and strongly exceeded the -1.2% return of the Peer Group Average.  Note: as an
      index, AlphaSector Premium does not reflect expenses.*

 *Source: Zephyr StyleADVISOR, Morningstar Large Blend Universe. The AlphaSector Premium Index ranked
413 out of 1,821 managers for the 1-year period ending December 31, 2011.




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Delivering on the real needs of investors:

•     Most investors experienced 2011 as a very rough ride.  They needed protection from
      volatility, which can create anxiety and weaken commitment to investment plans.

•    AlphaSector delivered a measurably smoother, less volatile investing experience in
     2011.  For advisors, this can help you keep clients on track, preserving your time to
     build their portfolios and your practice.

See Important Disclosures below.
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cannot invest directly in an index.  
The AlphaSector Premium Index is based on an active strategy with an inception date of April 1, 2001.  
Inception date is defined as the date as of which investor assets began tracking the strategy.  The process of
converting the active strategy to an index implies that the returns presented, while not backtested, reflect
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Theoretical and hypothetical performance has certain inherent limitations.  Backtested results in general also
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The results shown do not reflect the deduction of any advisory fees or expenses, nor trading costs, both of
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of dividends.  The fees and anticipated expenses will be specified in each client agreement.  F-Squared’s fees
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The AlphaSector Premium Index was constructed to reflect the intended portfolio composition for client
accounts that will trade utilizing the Index as its Model Portfolio.   It is an index of sector-based ETFs and an
ETF that reflects short-term Treasury securities.  It is based on an active strategy with an inception date of
April 1, 2001.
The S&P 500 Index is a broad-based unmanaged index of 500 stocks, which is widely recognized as a
representative of the equity market in general.  
None of the indices referred to herein reflect the deduction of the fees and expenses to be borne by a client,
whose managed account may trade and invest in different financial instruments than those in a particular index.  
Concentration, volatility and other risk characteristics of a client’s account also may differ from the indices




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shown herein.  Index data is provided only for reference purposes and is not intended to suggest that any client
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meet the listed investment category and was selected as a relevant comparison due to the similarity in
investment objective of the profiled F-Squared index.
Past performance is no guarantee of future results.
Sources: Morningstar, NASDAQ OMX, F-Squared Investments
A definition of all standard terms used in this presentation can be found at www.morningstar.com.

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The comments and opinions outlined in the third quarter commentary consider market conditions
and index performance as of December 31, 2011. In light of the fact that as of this printing market
conditions may have changed dramatically, we encourage our readers to check the Vireo website
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                                                   V i reo a lph as e c t o r P r e miu m W R A P C o m p o sit e
                                                                         Reporting Currency U.S. Dollar
                  Firm               Composite                                                      Composite
                                                        Percentage of          Number of                               Composite Net        S&P 500 Index            Composite
     Year         Assets              Assets                                                        Pure Gross
                                                         Firm Assets           Accounts                                 Return (%)           Return (%)            Dispersion (%)
                  ($M)                 ($M)                                                         Return (%)
     2011          2,719                  23                 <1%                    99                  3.18                  1.15                2.11                   0.16
     20101         2,365                  3                  <1%                    21                 15.00                 13.18               15.77                   N/A2
 1
  Performance calculations for the period ended December 31, 2010 only includes 10 months of history.
 2
  N/A information is not statistically meaningful due to an insufficient number of portfolios in the composite for the entire year.




1. Compliance Statement – Navellier &                          The index has the potential to be invested in any               returns represented within the composite for the
Associates, Inc. claims compliance with the Global             combination of the nine SPDRs including all nine                full year.
Investment Performance Standards (GIPS®)                       at the same time, a combination of sector SPDRs
and has prepared and presented this report in                  and the Treasury ETF, or can be 100% invested
compliance with GIPS standards. Navellier &                    in the Treasury ETF. There is no guarantee that                 6. Benchmark - The primary benchmark for the
Associates, Inc. has been independently verified               Navellier will achieve returns similar to the index,            composite is the S&P 500 Index. The S&P 500
for the periods January 1, 1995 through March                  and in fact the strategy’s returns may vary from                consists of 500 stocks chosen for market size,
31, 2011 by Ashland Partners & Company LLP.                    the index due to the timing of trades and after fees            liquidity and industry group representation. It is
Verification assesses whether (1) the firm has                 are taken into account, including management                    a market value weighted index with each stock’s
complied with all the composite construction                   fees, brokerage or transactions costs, or other                 weight in the index proportionate to its market
requirements of the GIPS standards on a firm-wide              administrative or custodian fees. Performance                   value. The reported returns reflect a total return for
basis and (2) the firm’s policies and procedures are           is calculated on a “time-weighted” and “asset-                  each quarter inclusive of dividends. The asset mix
designed to calculate and present performance in               weighted” basis. Performance figures that are net               of the composite may not be precisely comparable
compliance with the GIPS standards. The Vireo                  of fees take into account advisory fees and any                 to the presented indices. Presentation of index
AlphaSector Premium Wrap Composite has been                    brokerage fees or commissions that have been                    data does not reflect a belief by the Firm that the
examined for the periods March 1, 2010 through                 deducted from the account. “Pure” gross-of-fees                 S&P 500 Index, or any other index, constitutes an
March 31, 2011. The verification and performance               returns do not reflect the deduction of any trading             investment alternative to any investment strategy
examination reports are available upon request.                costs, fees, or expenses, and are presented only as             presented in these materials or is necessarily
                                                               supplemental information. Performance results                   comparable to such strategies.
                                                               are total returns and include the reinvestment of
2. Definition of Firm - Navellier & Associates,                all income, including dividends. The composite
Inc. is a registered investment adviser established            was created March 1, 2010. As of April 2011,                    7. General Disclosure - The three-year annualized
in 1987. Navellier & Associates, Inc. manages                  the Navellier Vireo AlphaSector Premium                         standard deviation is not presented because 36
a variety of equity assets for primarily U.S. and              Wrap Composite has been renamed the Vireo                       months of history is not available. Actual results
Canadian institutional and retail clients. The firm’s          AlphaSector Premium Wrap Composite.                             may differ from composite results depending
list of composite descriptions as well as information          Valuations and returns are computed and stated in               upon the size of the account, custodian related
regarding the firm’s policies for valuing portfolios,          U.S. Dollars.                                                   costs, the inception date of the account and
calculating performance, and preparing compliant                                                                               other factors. Performance results presented
presentations are available upon request.                                                                                      herein do not necessarily indicate future
                                                               4. Management Fees - The management fee                         performance. Investment in equity strategies
                                                               schedule for accounts ranges from 75 to 100 basis               involves substantial risk and has the potential
3. Composite Description - The Vireo                           points, depending on account size and brokerage                 for partial or complete loss of funds invested.
AlphaSector Premium Wrap Composite includes                    selected. Some incentive fee, fixed fee, and fulcrum            Results presented include reinvestment of all
all discretionary Vireo AlphaSector Premium                    fee accounts may be included. Fees are negotiable,              dividends and other earnings. The securities
equity accounts that are charged a wrap fee and are            and not all accounts included in the composite are              identified and described do not represent all of
managed with similar objectives for a full month,              charged the same rate. Bundled fee accounts make                the securities purchased, sold, or recommended
including those accounts no longer with the firm.              up 100% of the composite for all periods shown.                 for client accounts. It should not be assumed
The strategy attempts to track an index known                  Fee schedules are provided by independent sponsors              that any securities recommendations made by
as the AlphaSector Premium Index (“Index”).                    and are available upon request from the respective              Navellier in the future will be profitable or equal
Navellier & Associates, Inc. pays a licensing fee              sponsor. The bundled fees include custody, trading              the performance of securities made in this report.
to F-Squared Investments, Inc. to provide a model              expenses, and other expenses associated with the                A list of recommendations made by Navellier &
of the Index. The Index is quantitatively driven               management of the account. The client is referred               Associates, Inc. for the preceding twelve months is
and applies a weekly trading protocol to nine                  to the firm’s Form ADV Part 2A for a full disclosure            available upon request.
Select Sector SPDRs and an exchange traded fund                of the fee schedule.
(“ETF”) representing 1-3 month Treasuries. Note
                                                                                                                               Navellier & Associates, Inc.
that the Vireo AlphaSector Premium accounts
managed by Navellier & Associates, Inc. may                    5. Composite Dispersion - If applicable, the                    One East Liberty, Third Floor
invest in a cash equivalent, such as money market              dispersion of annual returns is measured by the                 Reno, Nevada 89501
funds, in place of the 1-3 month Treasury ETF.                 standard deviation across asset-weighted portfolio              800-887-8671
www.vireoinvestments.com                                                                                                                                         Premium
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Vireo Premium
An all equity portfolio, represented by the nine S&P 500 sectors, using SPDR Sector ETFs.




Vireo - The Defensive ETF Portfolios that Go To Cash




“The #1 rule of making money is not to lose money.
The second rule is to never forget rule #1.”

Warren Buffet, The Sage of Omaha



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  Vireo is a unique suite of investment strategies with a single-minded focus:
          ™
                                                                                                                 Supplemental
  limiting losses during extended market downturns. For today’s investor, what
  you make is not nearly as important as what you keep! Based on the AlphaSector                                 InformatIon
  Indexes, owned and published by Active Index Solutions LLC, this strategy,
  known as defensive allocation, also allows Vireo to deliver improved returns in
  up markets by constantly working from a position of strength (i.e., the portfolio’s
  attempt to avoid losses before making new gains). The Vireo portfolios are
  designed to deliver attractive risk-adjusted returns through multiple investment
  markets via diversification and defensive re-allocation, including the use of cash.



  Allocator Portfolio Key Features

• Invests in the nine Select Sector SPDR ETFs and cash equivalents

• Uses NO shorting, leverage, inverse ETFs, or exotic derivative investments

• Focuses primarily on downside risk management, especially in weak markets

• Under extreme market conditions, the portfolio can build and hold substantial
  cash positions to avoid losses

• Participates in rising markets with the ability to outperform in down markets

• 100% quantitative process, highly disciplined, weekly calculation



  Extreme losses can destroy any investment plan.

                               Gain Required                    Capital                Years Required
          Loss
                                to Recover                       Gap                  for Full Recovery

         -10.0%                      11.1%                        1.1%                         1.0

          -10.1%                     11.2%                        1.1%                         1.0

         -20.0%                     25.0%                        5.0%                          2.0

         -30.0%                     42.9%                        12.9%                         3.3

         -40.0%                     66.7%                        26.7%                         4.7

         -50.0%                    100.0%                       50.0%                          6.3

         -51.0%                     104.1%                       53.1%                         6.5


  In less than one year (5/18/2008 - 3/7/2009), the S&P 500 lost 51%; full
  recovery requires a gain of 104%. During the same period, AlphaSector
  Premium Index only lost 10% with full recovery only requiring a gain of 11.1%.
  Source: F-Squared Investments, Inc., NASDAQ OMX, Morningstar, Active Index Solutions.


  Investment in equity strategies involves substantial risk and has the potential for partial or complete loss
  of funds invested. Please read important disclosures at the end of this presentation.
  vireoinvestments.com                                                                                               Premium
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            Vireo
            Historical
                   is aDiversification
                        unique suite ofand
                        ™
                                            Re-allocation
                                        investment strategies with a single-minded focus:                                                                                       Supplemental
            limiting
            April      losses
                  1, 2001         during
                           - February  29, extended
                                           2012         market downturns. For today’s investor, what
            you   make    is not   nearly  as  important
            The AlphaSector Index invests in the nine Selectas what  youETFs
                                                                  Sector  keep! andBased
                                                                                    a cashon  the AlphaSector
                                                                                            equivalent. Based                                                                   InformatIon
            Indexes,    owned
            upon a weekly           and published
                              risk assessment           by each
                                                calculation, Active  Index
                                                                  sector may Solutions     LLC,
                                                                               be “turned on”     this strategy,
                                                                                              or “turned  off” and
      ASP   under   certain  circumstances,   the portfolio has the potential to have  a
            known as defensive allocation, also allows Vireo to deliver improved returns 100% allocation to a in
ASP100%
            cash equivalent.
            up markets by constantly working from a position of strength (i.e., the portfolio’s
  100%
            attempt to avoid losses before making new gains). The Vireo portfolios are
            designed to deliver attractive risk-adjusted returns through multiple investment                                                                                    Utilities (XLU)
    90%
   90%
                                                                                                                                                                                Utilities (XLU)
            markets via diversification and defensive re-allocation, including the use of cash.                                                                                 Technology   (XLK)
    80%                                                                                                                                                                         Technology   (XLK)
                                                                                                                                                                                Materials (XLB)
   80%
                                                                                                                                                                                Materials
                                                                                                                                                                                Healthcare(XLB)
                                                                                                                                                                                           (XLV)
   70%
    70%                                                                                                                                                                         Healthcare (XLV)
            Allocator Portfolio Key Features                                                                                                                                     I d t i l (XLI)
                                                                                                                                                                                 Industrials
                                                                                                                                                                                I d t i l (XLI)
                                                                                                                                                                                Industrials
                                                                                                                                                                                Financials (XLF)
   60%
    60%
                                                                                                                                                                                Financials (XLF)
                                                                                                                                                                                Energy (XLE)
                                                                                                                                                                                Energy (XLE)
   50%
    50%                                                                                                                                                                         Cons. Staples (XLP)
                                                                                                                                                                                Cons. Staples (XLP)
                                                                                                                                                                                Cons. Disc. (XLY)
   40%
    40%                                                                                                                                                                         Cons. Disc. (XLY)
                                                                                                                                                                                Short-term
                                                                                                                                                                                Short-term
                                                                                                                                                                                Treasuries (BIL)*
   30%                                                                                                                                                                          Treasuries (BIL)*
    30%


   20%
    20%


   10%
    10%


    0%




                                                                                                                                                                         6/11
     0%
          4/01
         3/01

                 9/01

                        3/02

                               9/02

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         4/01
         4/01




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                                                                                                                                                                9/11

                                                                                                                                                                        2/12
        Note periods
 Note periods where where  the Index
                     the Index  goes goes to cash: (BIL)(BIL)
                                     to cash:
         *Vireo AlphaSector
*Vireo AlphaSector    PremiumPremium accountsinvest
                               accounts       may invest   in a cash equivalent, such as money  market  funds,
          * Vireo Premium  accounts may may          in a cash
                                        invest in a cash         equivalent,
                                                         equivalent,  such assuch
                                                                              moneyas money  market
                                                                                      market funds, infunds,
                                                                                                       place of BIL.
         in BIL.
in place of place of BIL.
            Source: F-Squared Investments, Morningstar. Copyright 2009 – Patents pending. Allocations presented for each
            ETF represent the allocation as of the last day of the period. Allocations are rounded for presentation purposes.
                                                                                                                                                                                                      11


            AlphaSector Index* Performance
            Growth of 100 Dollars from 4/1/2001 - 3/31/2012

 $400

 $350

 $300

 $250

 $200

  $150

  $100

  $50
          4-01




                                                    12-03
                    12-01




                                                                     12-04




                                                                                                       12-06




                                                                                                                                          12-09
                                  12-02




                                                                                                                              12-08
                                                                                      12-05




                                                                                                                      12-07




                                                                                                                                                                    3-12
                                                                                                                                                     12-10



                                                                                                                                                                   12-11




                  AlphaSector Index (Pure Gross)                                      AlphaSector Index (Net)                         S&P 500


            *The Model Manager, F-Squared Investments, refers to the index as the AlphaSector Premium Index. Sources:
            F-Squared Investments, Inc., Morningstar, Zephyr StyleADVISOR. Performance results presented herein do not
            necessarily indicate future performance. Graphs are for illustrative and discussion purposes only. Investment in
            equity strategies involves substantial risk and has the potential for partial or complete loss of funds invested.
            Results presented include reinvestment of all dividends and other earnings. Please read important disclosures at
            the end of this presentation.

            vireoinvestments.com                                                                                                                                                          Premium
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AlphaSector Index Performance                                                                                          AlphaSector
 Performance Returns                                       Return/Risk Analysis                                        Index
 Annualized Returns
                      AlphaSector AlphaSector     S&P
                                                                     4/1/2001 to
                                                                                   AlphaSector AlphaSector      S&P    Performance
                         Index       Index        500                                 Index       Index         500
 through 3/31/12                                                      3/31/2012
                      (Pure Gross)   (Net)       Index                             (Pure Gross)   (Net)        Index
Vireo is a unique suite of investment strategies with a single-minded focus:
         ™

 1st Quarter            8.69%      7.89%      12.59%
                                                                                                                       Supplemental
limiting losses during          extended      market Best   Month
                                                       downturns.            10.12%
                                                                       For today’s        9.87%
                                                                                         investor,  10.93%
                                                                                                      what
 Year-to-Date           8.69%      7.89%      12.59%  Worst Month           -7.85%
you make is not nearly as important as what you keep! Based on the AlphaSector           -8.10%    -16.79%             InformatIon
 Trailing 1 Year
Indexes,      owned 4.25%           1.18%
                         and published         8.54%
                                              by      % of Up
                                                   Active      Month Solutions
                                                             Index             68%LLC, this 62% strategy,
                                                                                                       62%

known as defensive allocation, also allows Vireo to deliver improved returns
 Trailing 3 Years      19.83%     16.33%     23.42%   %  of Down Month         32%          38%          in
                                                                                                       38%
                                                      Maximum   Drawdown
up  markets
 Trailing 5 Years by constantly
                       13.62%       working2.01%
                                  10.29%        from a(%)
                                                       position of strength-13.25%(i.e.,-13.72%
                                                                                          the portfolio’s
                                                                                                  -50.95%

attempt       to avoid
 Trailing 10 Years          losses9.84%
                        13.15%       before making
                                               4.12%     new gains). The Vireo portfolios are
 Since Inception
designed
 (4/1/01)      to  deliver   attractive
                        13.12%     9.81%  risk-adjusted
                                               3.76%        returns through multiple investment
 Cumulativevia
markets       Return
                  diversification
                     288.17%           and
                                 179.86%   defensive
                                             50.09%     re-allocation,   including the use of cash.
 (4/1/01-3/31/12)

 Yearly Returns                                            Comparative Return/Risk Analysis
                      AlphaSector AlphaSector     S&P                                    AlphaSector            S&P
Allocator Portfolio
              Index Key
                     Index Features
                              500
                                                                    4/1/2001 to
                                                                     3/31/2012
                                                                                            Index               500
                      (Pure Gross)     (Net)     Index                                   (Pure Gross)          Index

 2011                   1.67%        -1.33%       2.11%    Alpha(2)                         11.11%            0.00%
 2010                  17.90%        14.45%      15.06%    Beta    (2)
                                                                                           0.47%               1.00%
 2009                  32.31%        28.48%     26.46%     Standard Deviation(1)          10.56%              15.99%
 2008                   -1.87%       -4.78%     -37.00%    R-Squared(2)                   51.22%             100.00%
 2007                  14.97%        11.60%      5.49%     Up Capture Ratio               81.70%             100.00%
 2006                  16.69%        13.28%      15.79%    Down Capture Ratio            42.80%              100.00%
 2005                   6.86%         3.72%       4.91%
 2004                  14.88%         11.52%     10.88%
 2003                  24.81%        21.18%     28.68%
 2002                   5.33%         2.22%     -22.10%
 2001 (9 months)        5.99%        3.64%       -0.03%
Source: F-Squared Investments, Morningstar, Zephyr StyleADVISOR.
All returns over 1 year are annualized.
(1)
    Annualized standard deviation since inception
(2)
    Calculated since inception vs. S&P 500 Index



  The information shown above represents the performance statistics of the AlphaSector Index as
  published by Active Index Solutions, LLC. (For a complete description of the Index, please refer to
  the full disclosure statement on the next page.)




Potential investors should consult with their financial advisor before investing in any investment
product. Investment in equity strategies involves substantial risk and has the potential for partial or
complete loss of funds invested. Results presented do not necessarily indicate future performance.
All performance figures include reinvestment of dividends, interest, and other income. Please read
important disclosures at the end of this presentation.
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Important Disclosures
ALPHASECTOR INDEX:
Vireo Premium attempts to track an index known as the AlphaSector Premium Index (“Index”), owned and published by Active Index Solutions,
LLC (“AIS”). The AlphaSector Premium Index is a quantitatively driven index that applies a weekly trading protocol to nine Select Sector
SPDRs and an exchange traded fund (“ETF”) representing 1-3 month Treasuries (ticker BIL). Note that the Vireo Premium accounts managed
by the adviser may invest in a cash equivalent, such as money market funds, in place of BIL. The Index has the potential to be invested in
any combination of the nine SPDRs including all nine at the same time, a combination of sector SPDRs and the Treasury ETF, or can be 100%
invested in the Treasury ETF. There is no guarantee that the adviser will be successful in achieving returns similar to the AlphaSector Premium
Index, and in fact client returns will be significantly lower than the Index returns after fees are taken into account, including management
fees, brokerage or transaction costs, or other administrative or custodian fees a client may incur. One cannot directly invest in an index. Index
returns presented represent past performance and are not a guarantee of future results or indicative of any specific investment.
“AlphaSector” is a service mark of F-Squared Investments, Inc. (“F-Squared”), and AIS. Neither AIS nor F-Squared Investments, Inc. is affiliated
with Navellier & Associates, Inc. (“Navellier”). Navellier has entered into a Model Manager Agreement with F-Squared pursuant to which it
timely receives any changes made to the AlphaSector Premium Index holdings. Investment products such as the Vireo Premium strategy that
are based on the AlphaSector Premium Index are not necessarily sponsored by AIS or F-Squared, and AIS and F-Squared do not make any
representation regarding the advisability of investing in them.
As a matter of normal and important disclosures to you, as a potential investor, please consider the following. Some of the returns presented
reflect hypothetical performance an investor would have obtained had it invested in the manner shown and does not represent returns that
an investor actually attained. Hypothetical backtested performance has many inherent limitations. The Index should be considered as Model
Portfolio results and are mere “paper” or proforma performance results. There are material differences between Vireo Investment Product
portfolios and the Index, research, and performance figures presented here. The Index and the research results (1) may contain stocks that are
illiquid and difficult to trade; (2) may contain ETF holdings materially different from actual funded Vireo Investment Product portfolios; and
(3) may not reflect prices obtained in an actual funded Vireo Investment Product portfolio.  
  As a matter of important disclosure regarding the hypothetical results presented in the accompanying charts and graphs, the following
factors must be considered when evaluating the performance figures presented:
1) Historical or illustrated results presented herein do not necessarily indicate future performance; Investment in securities involves significant
risk and has the potential for partial or complete loss of funds invested.
2) The results presented were generated during a period of mixed (improving and deteriorating) economic conditions in the U.S. and positive
and negative market performance. There can be no assurance that the favorable market conditions will occur again in the future. Navellier has
no data regarding actual performance in different economic or market cycles or conditions.
3) The results portrayed reflect the reinvestment of dividends and other income.
4) LIMITATIONS INHERENT IN HYPOTHETICAL RESULTS: The performance results presented are from an Index, not an actually funded
portfolio, and may not reflect the impact that material economic and market factors might have had on the adviser’s decision-making if
the adviser were actually managing clients’ money, and thus present returns which are greater than what a potential investor would have
experienced for the time period. The results are presented for informational purposes only. No real money has been invested in this Index.
The Index performance results should be considered mere ‘paper’ or pro forma performance results. The Index results do not represent actual
funded trades and may not reflect actual prices paid or received for actual funded trades.
5) The reported performances of Indexes presented in the accompanying charts and graphs do not reflect the performance results of
Navellier’s actually funded and traded Investment Products.
6) In most cases, the adviser’s clients’ investment results would be materially lower than the results portrayed in the Index.
7) The Index results may or may not relate, or only partially relate, to the type of advisory services currently offered by Navellier & Associates, Inc.
Navellier does not calculate the statistical information included herein. This material has been prepared solely for informative purposes.
F-Squared is the source of all performance data related to the F-Squared AlphaSector Indexes cited in these reports. Although information
contained herein is based on sources Navellier believes to be reliable, Navellier does not guarantee its accuracy, and the information may be
incomplete or condensed. Statistical analyses of the data presented are provided by Zephyr Associates, a company not related to Navellier.
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be reproduced, disseminated, or used to create any financial products.
The results portrayed include investment advisory fees paid to the adviser equal to 1.25% plus an estimated custodian/brokerage fee to
account for transaction/brokerage costs equal to 1.75%, for total fees equal to 3.00%. The adviser believes these fees represent the highest
fees a client may incur with a brokerage firm or other financial intermediary. However, it may be that some financial intermediaries charge
fees greater than the adviser is aware of. The pure gross results portrayed do not include any investment advisory fees, administrative fees, or
transaction expenses, or other expenses that a client would have paid or actually paid. The fees reflected in the net performance figures in this
presentation may not include administrative fees, or transaction expenses, or other expenses that a client would have paid or actually paid.
The fees may also vary depending on the account size and estimated trading costs will be greater for smaller accounts. The ETFs invested in
the model portfolios have their own expenses that are included in the gross and net returns presented.
The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of The
McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in the
United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock market as a
whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies based upon their market
size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is composed of 400 industrial, 20
transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most important benchmarks available
to judge overall U.S. market performance. Presentation of index data does not reflect a belief by Navellier that any stock index constitutes an
investment alternative to any Navellier equity strategy presented in these materials, or is necessarily comparable to such strategies and an
investor cannot invest directly in an index. Among the most important differences between the indexes and Navellier strategies are that the
Navellier equity strategies may (1) incur material management fees, (2) concentrate investments in relatively few ETFs, industries, or sectors,
(3) have significantly greater trading activity and related costs, and (4) be significantly more or less volatile than the indexes. All indexes are
unmanaged and performance of the indices includes reinvestment of dividends and interest income, unless otherwise noted, is not illustrative
of any particular investment and an investment cannot be made in any index.
Potential investors should consult with their financial adviser before investing in any Navellier Investment Product.

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         Vireo Premium Performance                                                                                                                                      Vireo
          Wrap Composite Growth of 100 Dollars from 3/1/2010 - 3/31/2012
                                                                                                                                                                        Premium
$135                                                                                                                                                                    Performance
$130

$125
         Vireo is a unique suite of investment strategies with a single-minded focus:
                               ™
                                                                                                                                                                        Supplemental
          limiting losses during extended market downturns. For today’s investor, what
$120      you make is not nearly as important as what you keep! Based on the AlphaSector                                                                                InformatIon
$115      Indexes, owned and published by Active Index Solutions LLC, this strategy,
$110
          known as defensive allocation, also allows Vireo to deliver improved returns in
          up markets by constantly working from a position of strength (i.e., the portfolio’s
$105
          attempt to avoid losses before making new gains). The Vireo portfolios are
$100      designed to deliver attractive risk-adjusted returns through multiple investment
$95       markets via diversification and defensive re-allocation, including the use of cash.
$90




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         Allocator Portfolio Key Features
                        Vireo Premium (Pure Gross)               Vireo Premium (Net)                      S&P 500

          Source: Navellier & Associates, Zephyr StyleADVISOR.


          Vireo Premium Performance
            Performance Returns                                                            Return/Risk Analysis
                                                     Vireo Premium            S&P                                                        Vireo Premium                       S&P
            Annualized Returns                       Wrap Composite                                      3/1/2010 to                     Wrap Composite
                                                                              500                                                                                            500
            through 3/31/12                                                                               3/31/2012
                                                                             Index                                                                                          Index
                                              (Pure Gross)       Net                                                               (Pure Gross)               Net

            1 Quarter
                st
                                                  8.30%           7.76%       12.59%       Best Month                                  9.79%                   9.27%        10.93%

            Year-to-Date                          8.30%           7.76%       12.59%       Worst Month                                 -7.79%               -7.82%          -7.99%

            Trailing 1 Year                       5.52%           3.23%        8.54%       % of Up Month                                   68%                     68%         64%
            Since Inception                      12.80%         10.60%         14.71%      % of Down Month                                  32%                     32%        36%
            (3/1/10)
            Cumulative Return                    28.52%         23.35%        33.10%       Maximum Drawdown                           -13.67%               -13.72%         -16.26%
            (3/1/10-3/31/12)                                                               (%)

            Yearly Returns                                                                 Comparative Return/Risk Analysis
                                                     Vireo Premium            S&P                                                        Vireo Premium                       S&P
                                                     Wrap Composite                                    3/1/2010 to                       Wrap Composite
                                                                              500                                                                                            500
                                                                                                        3/31/2012
                                                                             Index                                                                                          Index
                                              (Pure Gross)       Net                                                                           (Pure Gross)

            2011                                     3.19%           1.13%         2.11%   Alpha(2)                                                 2.22%                   0.00%

            2010 (10 months)                     15.00%          13.18%       15.77%       Beta    (2)
                                                                                                                                                    0.71%                    1.00%
            Source: Navellier & Associates, FactSet, Zephyr StyleADVISOR.                  Standard Deviation                (1)
                                                                                                                                                   14.07%                   17.05%
            All returns over 1 year are annualized.
            (1)
                Annualized standard deviation since inception                              R-Squared(2)                                            75.01%                  100.00%
            (2)
                Calculated since inception vs. S&P 500 Index
                                                                                           Up Capture Ratio                                        76.00%                  100.00%

                                                                                           Down Capture Ratio                                      77.40%                  100.00%



                The information shown above represents the actual composite data of all wrap Vireo Premium accounts. The composite’s
                inception is March 1, 2010. (For a complete description of the composite, please refer to the full disclosure statement on the
                next page.)




          Potential investors should consult with their financial advisor before investing in any investment product.
          Investment in equity strategies involves substantial risk and has the potential for partial or complete
          loss of funds invested. Graphs are for illustrative and discussion purposes only. Results presented do
          not necessarily indicate future performance. All performance figures include reinvestment of dividends,
          interest, and other income. Please read important disclosures at the end of this presentation.
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                                                        Vireo Premium WRAP Composite
                                                           Reporting Currency U.S. Dollar
                Firm          Composite           Percentage                      Composite          Composite                           Composite
                                                                  Number of                                         S&P 500 Index
     Year      Assets           Assets              of Firm                       Pure Gross         Net Return                          Dispersion
                                                                  Accounts                                            Return (%)
                ($M)             ($M)               Assets                        Return (%)            (%)                                 (%)
     2011       2,719              23                <1%              99               3.19              1.13              2.11               0.14
     20101      2,365               3                <1%              21             15.00              13.18            15.77               N/A2
 Performance calculations for the period ended December 31, 2010 only includes 10 months of history.
 1

 N/A information is not statistically meaningful due to an insufficient number of portfolios in the composite for the entire year.
 2




                                                      This space left intentionally blank.




1. Compliance Statement – Navellier &                 to be invested in any combination of the           6. Benchmark - The primary benchmark for
Associates, Inc. claims compliance with the           nine SPDRs including all nine at the same          the composite is the S&P 500 Index. The
Global Investment Performance Standards               time, a combination of sector SPDRs and            S&P 500 consists of 500 stocks chosen for
(GIPS®) and has prepared and presented                the Treasury ETF, or can be 100% invested          market size, liquidity and industry group
this report in compliance with GIPS                   in the Treasury ETF. There is no guarantee         representation. It is a market value weighted
standards. Navellier & Associates, Inc. has           that Navellier will achieve returns similar to     index with each stock’s weight in the index
been independently verified for the periods           the index, and in fact the strategy’s returns      proportionate to its market value. The
January 1, 1995 through September 30,                 may vary from the index due to the timing of       reported returns reflect a total return for
2011 by Ashland Partners & Company LLP.               trades and after fees are taken into account,      each quarter inclusive of dividends. The asset
Verification assesses whether (1) the firm has        including management fees, brokerage or            mix of the composite may not be precisely
complied with all the composite construction          transactions costs, or other administrative or     comparable to the presented indices.
requirements of the GIPS standards on a               custodian fees. Performance is calculated on a     Presentation of index data does not reflect
firm-wide basis and (2) the firm’s policies and       “time-weighted” and “asset-weighted” basis.        a belief by the Firm that the S&P 500 Index,
procedures are designed to calculate and              Performance figures that are net of fees take      or any other index, constitutes an investment
present performance in compliance with the            into account advisory fees and any brokerage       alternative to any investment strategy
GIPS standards. The Vireo Premium Wrap                fees or commissions that have been deducted        presented in these materials or is necessarily
Composite has been examined for the periods           from the account. “Pure” gross-of-fees             comparable to such strategies.
March 1, 2010 through September 30, 2011.             returns do not reflect the deduction of any
The verification and performance examination          trading costs, fees, or expenses, and are          7. General Disclosure - The three-year
reports are available upon request.                   presented only as supplemental information.        annualized standard deviation is not
                                                      Performance results are total returns and          presented because 36 months of history is
2. Definition of Firm - Navellier & Associates,       include the reinvestment of all income,            not available. Actual results may differ from
Inc. is a registered investment adviser               including dividends. The composite was             composite results depending upon the size
established in 1987. Navellier & Associates,          created March 1, 2010. As of April 2012, the       of the account, custodian related costs, the
Inc. manages a variety of equity assets for           Vireo AlphaSector Premium Wrap Composite           inception date of the account and other
primarily U.S. and Canadian institutional and         has been renamed the Vireo Premium Wrap            factors. Performance results presented
retail clients. The firm’s list of composite          Composite. Valuations and returns are              herein do not necessarily indicate future
descriptions as well as information regarding         computed and stated in U.S. Dollars.               performance. Investment in equity strategies
the firm’s policies for valuing portfolios,                                                              involves substantial risk and has the potential
calculating performance, and preparing                4. Management Fees - The management                for partial or complete loss of funds invested.
compliant presentations are available upon            fee schedule for accounts ranges from 75           Results presented include reinvestment
request.                                              to 100 basis points, depending on account          of all dividends and other earnings. The
                                                      size and brokerage selected. Some incentive        securities identified and described do not
3. Composite Description - The Vireo                  fee, fixed fee, and fulcrum fee accounts may       represent all of the securities purchased,
Premium Wrap Composite includes all                   be included. Fees are negotiable, and not          sold, or recommended for client accounts.
discretionary Vireo Premium equity accounts           all accounts included in the composite are         It should not be assumed that any securities
that are charged a wrap fee and are managed           charged the same rate. Bundled fee accounts        recommendations made by Navellier in
with similar objectives for a full month,             make up 100% of the composite for all              the future will be profitable or equal the
including those accounts no longer with the           periods shown. Fee schedules are provided          performance of securities made in this report.
firm. The strategy attempts to track an index         by independent sponsors and are available          A list of recommendations made by Navellier
known as the AlphaSector Premium Index                upon request from the respective sponsor.          & Associates, Inc. for the preceding twelve
(“Index”). Navellier & Associates, Inc. pays          The bundled fees include custody, trading          months is available upon request.
a licensing fee to F-Squared Investments,             expenses, and other expenses associated with
Inc. to provide a model of the Index. The             the management of the account. The client is
Index is quantitatively driven and applies            referred to the firm’s Form ADV Part 2A for a
a weekly trading protocol to nine Select              full disclosure of the fee schedule.
Sector SPDRs and an exchange traded fund
(“ETF”) representing 1-3 month Treasuries.            5. Composite Dispersion - If applicable, the       Navellier & Associates, Inc.
Note that the Vireo Premium accounts                  dispersion of annual returns is measured by        One East Liberty, Suite 504
managed by Navellier & Associates, Inc. may           the standard deviation across asset-weighted       Reno, Nevada 89501
invest in a cash equivalent, such as money            portfolio returns represented within the
                                                                                                         800-887-8671
market funds, in place of the 1-3 month               composite for the full year.
Treasury ETF. The index has the potential

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Vireo            ™
                     is a joint venture between Navellier & Associates, one
of the nation’s respected growth money managers, and F-Squared
Investments, a pioneer in innovative investment strategies committed
to providing investors with ground-breaking investments solutions.



About Navellier & Associates

Navellier & Associates, Inc., is a registered investment advisor
and was founded in 1987 by acclaimed growth manager, Louis G.
Navellier. Located in Reno, Nevada, Navellier is an independent,
employee-owned firm managing money for institutions and high net
worth individuals.



About F-Squared Investments

F-Squared Investments, Inc., is a quantitatively based boutique
investment firm located in Newton, Massachusetts.  The firm’s
innovative business model delivers scalable, transparent investment
strategies with customizable capabilities to meet investor needs.




                                                                                                          Vireo Portfolio Sponsor
                                                                                                          Navellier & Associates

                                                                                                          Model Portfolio
                                                                                                          Management
                                                                                                          F-Squared Investments/
                                                                                                          Active Index Solutions, LLC



800.887.8671

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product. Investment in equity strategies involves substantial risk and has the potential for partial or
complete loss of funds invested.                                                                               1Q 2012
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From:                 Seth Lee <seth jee@navellier.com>                                                                                    EXHIBIT
Sent:                 Monday, March 19, 2012 4:10 PM
To:                   Steve OBrien <SteveO@navellier.com>
                                                                                                                                                   33
Subject:              FW: March 28th; F-Squared
Attach:               AlphaSector Allocator Premium Q4 March.pdf


Save this PDF for the event on the 28th and bring your lap top! Thanks


Seth Lee
Marketing Associate - Western Division



NAVELLIER
     Catd.yi f.vmok


Navellier & Associates
1 Etibetly 3rd-F1711eno7NV-89501
800 365 8471 x 426 toll-free
775-785-9426, 775-562-8226 fax
sethkanavellier.com
www.navellier.com

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It is the responsibility of the Financial Advisor to submit any materials intended for client use to the proper compliance channels for approval
prior to distribution.




From: Kevin Orr [mailto:korr@f2inv.com]
Sent: Tuesday, March 13, 2012 1:20 PM
To: Steve OBrien
Cc: Seth Lee
Subject: RE: March 28th

Here's the latest deck.


Thx,

KEVIN ORR                                                                                                                             EXHIBIT
F-SQUARED INVESTMENTS
ONE NEWTON EXECUTIVE PARK
2221 WASHINGTON STREET, SUITE 201                                                                                             v                         rt
NEWTON, MA 02462                                                                                                                                        )
OFFICE: (857) 404-0854                                                                                                       S-a2.                      *-
CELL: (617) 953-6379                                                                                                       I                              IP
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—Returns-represent-past-performancerand-are-not-guarantees-of-future-results-or-indicative-otany-specific-investment.-Past-performance.la-no-guarantee-of-future-
    results.

     Sources: Morningstar, New York Stock Exchange ARCA, NASDAQOMX, and New Found Research, LLC. All rights reserved.




      Kevin

     From: Steve OBrien [malito:Steve0@navellier.coml
     Sent: Tuesday, March 13, 2012 2:09 PM
     To: Kevin Orr
     Cc: Seth Lee
     Subject: Re: March 28th

     Kevin,
     The premium Allocator.


      Stephen K. O'Brien
      775-354-6372



      On Mar 13, 2012, at 10:48 AM, "Kevin Orr" <korre,f2inv.com> wrote:

              Seth,
              What product are discussing at the lunch at the dinner? Spdr, alphadex, premium, premium
              allocator?

              Thx
              Kevin



              From: Kevin Orr
              Sent: Wednesday, March 07, 2012 12:04 PM




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To: Seth lee@navellier.com
Subject: FW: March 28th

Are we all set on this?

Thx - give a call when you can.

Kevin
KEVIN ORR
F-SQUARED INVESTMENTS
ONE NEWTON EXECUTIVE PARK
2221 WASHINGTON STREET, SUITE 201
N EwToN, MA 02462
OFFICE: (857) 404-0854
CELL: (6 1 7) 953-6379
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Inclusion of a mutual limd or an exchange traded had in an index does not in any way reflect an opinion of Active Index Solutions or F-Squared
Investments regarding the investment merits of such a fund. None of the mutual funds or exchange traded funds included in an index have given any
real or implied endorsement or support to Active Index Solutions or to this index. One cannot invest directly in an index.
-ate Indexes are based on active strategies, with the strategy that the AlphaSector Rotation Index and the AlphaSector Premium Index are based on
having an inception date of April I, 2001. 'The process of converting the active strategy to an index implies that the returns presented, while not
backtested, reflect hypothetical performance an investor would have obtained had it invested in the manner shown and does not represent rettims that
an investor actually attained. Hypothetical performance has many inherent limitations. flue hypothetical performance is adjusted to reflect the
reinvestment of dividends, The fee schedule and anticipated expenses are included in the client agreement. F-Squared's fees are available upon
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Sources: Montingstar, New York Stock Exchange ARCA, NASDAQ OMX, and New Pound Research. LLC. All rights reserved.




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 From: Kevin Orr
 Sent: Monday, March 05, 2012 9:00 AM
 To: 'seth lee@navellier.com'
 Cc: Michael Koeller
 Subject: March 28th

 Seth,
 Can you send me the details for the meetings/events on the 28111.

 Thanks
 Kevin

 KEVIN ORR
 F-SQUARED INVESTMENTS
 ONE NEWTON EXECUTIVE PARK
 2221 WASHINGTON STREET, SUITE 201
 NEWTON,MA 02462
 OFFICE: (857) 404-0854
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       Strategies Tracking the AlphaSectorTM
                 Series of Indexes:
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                                 • SEC registered investment adviser
                                          ® Over $6 billion in assets under management or under model manager
                                            agreements
                                          ® Headquartered in Newton, MA

                                 • Founded with the mission of redefining how investment solutions can be
                                   reliably delivered to investors

                                 • Client goals drive investment philosophy
                                          • Seek to align investment results with the real needs of investors:
                                                   —Client-centric versus benchmark-centric
                                                   —Target relative returns in bull markets, focus on risk of loss in bear markets
                                          • Investment asymmetry is the key to unlocking client-centric investing
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                                                   —Reject concept of "buy and hold"
                                          • Seek to consistently and repeatedly deliver on clearly defined investor
                                            expectations

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                                Risk #1: "How much can I lose in a short period of time?"
                                                     Statistic:                  Maximum drawdown
                                                    Definition:                  The maximum decline from a performance peak to a
                                                                                 performance trough


                                Risk #2: "How rough a ride will it be, and can I handle the daily volatility and stay
                                          committed to my investment plan?"

                                                     Statistic:            Relative standard deviation to the S&P 500
                                                     Definition: Daily volatility as a percentage of the volatility of the broader US
                                                                  Equity markets

                                                     Statistic:            Relative standard deviation to the S&P 500     durinq Bear Markets
                                                     Definition: Daily volatility as a percentage of the volatility of the broader US
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                                                                  Equity markets, measured during the most recent Bear market
                                                                           •  Most recent full Bear market is October 2007 to February
                                                                             2009
                                                                           • Volatility is most damaging to investors during periods of
                                                                             significant market weakness
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                                                                               Al phaSector Premium
                                              Return (2007 — 2011)
                                                                     15
                                                                                      Index2

                                                                     10




                                                                                                                        ®•  •
                                                                      5
                                                                                                                       •
                                                                                                                         .
                                                                                                                   •     .re •                      S&P 500 Index
                                                                                                                                                   •
                                                                      0
                                          Total




                                                                                                                         •
                                                                                                                                ••
                                                                                                                                     •
                                                                                                                                                                         •
                                                                                                                                                            •
                             Average Annual




                                                                      -5



                                                                                    Large Cap Blend Mutual                                                  •
                                                                     -10
                                                                                             Funds                                                                        0
                                                                                   (all LCB funds tracked by
                                                                                          Morningstar)
                                                                     -15
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                                                                                                                                                                                 •
                                                                     -20
                                                                           0          -10          -20       -30          -40                -50   -60      -70         -80       -90       -100


                                                                                                         Maximum Drawdown (2007 - 2011)
                            'Source. Morningstar, Active Index Solutions; F-Squared Investments
                            2Inception                                     Date: 4/2001
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                                                                          20%
                               Average Annual TotalReturn (2002 — 2011)

                                                                          18%

                                                                          16%          AlphaSector Global Premium
                                                                                                 Index3
                                                                          14%

                                                                                             •          A AlphaSector Premium Index2
                                                                          12%
                                                                                         AlphaSector
                                                                          10%        Allocator Premium
                                                                                            Index4
                                                                          8%

                                                                          6%

                                                                                 BarCap Aggregate
                                                                          4%
                                                                                    Bond Index                                                   S&P 500 Index
                                                                          2%
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                                                                          0%
                                                                                0%               -10%           -20%            -30%            -40%              -50%        -60%

                                                                                                          Maximum Drawdown (2002 - 2011)
                              1Source: Morningstar, Active Index Solutions; F-Squared Investments
                              2Inception Date: 4/2001       31nception Date: 5/2009 4Inception Date: 12/2009
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                                                                                     Distribution of Rolling One Year Returns - S&P 500
                                                                1000
                                                                                                                                    Group 2: Gains <20%
                                                                                                                                     1,890 occurences
                                                                                                                                           (53%)
                                      Frequency of Occurrence
                                                                800
                                                                                     —# S&P Observations


                                                                600

                                                                                          Group 1: Losses                                                                          Group 3: Gains >20%
                                                                                          1,074 occurences                                                                           599 occurences
                                                                 400                           (30%)                                                                                      (17%)



                                                                200



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                                                                                                                                     Group 2: Gains <                  Group 3: Gains >
                                                                                                      Group 1: Losses                                                                                             Total
                                                                                                                                          20%                               20%
                                                                                                    Rolling 1-Year S&P Return         Rolling 1-Year S&P             Rolling 1-Year S&P Return
                                                                                                                                    Returns from 0% to 20%                    is > 20%
                                                                                                                                                                                                                All Periods
                                                                                                              is <0%
SEC-Navellier-E-0038189




                             Occurences: Number (Percent)                                                     1,074 (30%)                     1,890 (53%)                             599 (17%)                       3.563
                             Average Return                                                                  -20.2%                           11.2%                                30.3%                              5.0%

                             Maximum Return                                                                    0.0%                           20.0%                                72.3%                           72.3%

                             Minimum Return                                                                  -47.5%                            0.1%                                20.0%                          -47.5%


                          Source: Morningstar, Active Index Solutions; F-Squared Investments. 2 April 2001— December 2011
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                                    Distribution of Rolling One Year Returns: S&P 500 and AlphaSector Premium Index

                                                                                                                  Group 2: Gains <20%
                                                                                                                   1,890 occurences
                                                      1000                                                               (53%)




                                                                         — — —# S&P Observations
                                                      800
                                                                         —# API Observations
                             Frequency ofOccurrence




                                                      600

                                                                                 Group 1: Losses                                                   Group 3: Gains >20%
                                                                                 1,074 occurences                                                    599 occurences
                                                                                      (30%)                                                               (17%)
                                                      400




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                          Source: Morningstar, Active Index Solutions; F-Squared Investments. 2 April 2001— December 2011

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                                    Distribution of Rolling One Year Returns: S&P 500 and AlphaSector Premium Index
                                                                                                                                             Group 2: Gains <20%
                                           1000                                                                                               1,890 occurences
                                                                                                                                                    (53%)
                                      a)
                                      U
                                      a 800                   - - - # S&P Observations
                                                              —# API Observations

                                           600
                                                                             Group 1: Losses                                                                                                      Group 3: Gains >20%
                                                                             1,074 occurences                                                                                                       599 occurences
                                      >
                                      0'• 400                                      (30%)
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                                                                                      Group 1: Losses                                        Group 2: Gains < 20%                               Group 3: Gains,> 20%
                                                                                      S&P 500   API                                            S&P 500    API                                     S&P 500    API
                               Number of Occurrences                                     1,074   1,074                                            1,890    1,890                                      599      599
                               Negative Occurences                                       1,074     194                                                0        3                                         0'       0
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                               Average Return                                          -20.2%    5.4%                                            11.2% 14.1%                                        30.3% 27:3%
                               Excess Return                                                    25.6%                                                      29%                                               -3.0%
                               Maximum Return                                            0.0% 23.1%                                              20.0% 30.0%                                        72.3% 47.2%
                               Minimum Return                                          -47.5% -10.5%                                              0.1%    -0.7%                                     20.0% 10.8%
                               API Success Rate                                                 99.8%                                                     89.7%                                             48.7%
                               API +500bp Success Rate                                          99.4%                                                     19.3%                                               5:8%

                                 Source: Morningstar, Active Index Solutions; F-Squared Investments. 2 April 2001- December 2011
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                                  •       Powerful but simple story, and uses NO derivatives, leverage, or shorting
                               Cumulative Returns: Comparison vs. S&P 500                                                    Returns as of December 31, 20111
                              400
                                                                                                                                                     AlphaSector
                                             acesomAlphaSector Allocator Premium
                                                                                                                                                      Al locator
                              350            ce•S&P 500 TR                                                                                            Premium      S&P 500
                                                                                                                              Cumulative Return)      246.2%       33.3%
                              300
                                                                                                                                   1 Year Return ,      0.3%
                                                                                                                                     3 Yr Return
                              250
                                                                                                                                   (Annualized)
                                                                                                                                     5 Yr Return{
                              200                                                                                                                      11.8%
                                                                                                                                   (Annualized)!
                                                                                                                                   10 Yr Return;
                              150                                                                                                                      12.6%
                                                                                                                                   (Annualized);
                                                                                                                             Standard Deviation
                              100
                                                                                                                                  Annual Excess
                                                                                                                                                        9.5%        N/A
                                                                                                                                          Return
                                50
                                                                                                                                      R-Squared,       46.4%        N/A
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                                                                                                                                      Maximumr,
                                 0
                                                                                                                                                       -8.2%       -51.0%
                                                                                                                                     Drawdownl
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                                                                                                                               Up Capture Ratio;        67%         N/A
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                              April, 2001— December, 2011
                                                                                                                             Down Capture Ratio;        19%         N/A
                              2 Source:   NASDQ OMX, Morningstar, Active Index Solutions

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                                                                               Annual Returns by Calendar Year
                          40%



                                                           28.7%                                                                               29.4%
                          30%
                                                                                                                                                        26.5%

                                                 21.9%
                          20%
                                                                                                         15.8%                                                          15.1%
                                                                   14.6%                       15.4%               15.5%
                                                                                                                                                                12.6°
                                                                           10.9%     10.7%
                          10%
                                    5.6%                                                                               5.5%
                                                                                           4.9%
                                                                                                                                3.3%                                              2.1%

                           0%



                          -10%



                          -20%

                                        -22.1%
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                          -30%


                                                                                                                                         1°.
                          -40%
                                       2002              2003         2004            2005             2006         2007          2008           2009              2010         2011

                                                                           ■AlphaSector Allocator Premium Index               ■ S&P 500 TR
                            1Year   to date through December, 2011
                            2 Source: NASDQ OMX, Morningstar, Active Index Solutions
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                                  * Traditional "valuation-based" investment model is based on upside capture
                                  •        AlphaSector investment model is based on avoiding losses
                                             •     Designed to create "odds in our favor" investment structure

                                              S&P 500 Sector Returns — Extreme Gains and Equivalent Losses1
                                  40%
                                                                                Extreme Negative        Extreme Positive
                                  30%                                            (-10% or worse)          (10% or better)
                            0
                                                 # of Extreme Weeks                       76                      45
                            +.)   20%
                            a)                   Maximum Loss/Gain                   -33.4%                   34.0%
                           °
                           r      10%            Cumulative Impact                   -1096%                    612%

                                      0%                                                                                                11111111111111111111111111111111 111111 IIII
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                            (D -10%              I 111111111111 I II I                     I II I I 1 I III II III 1111
                                  -20%                                                                                                                   x eme Posithie
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                            r<
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                                                                                                                                                         +10% or betterfri ac
                                  -30%                                                  ,;..„EitertejNegative,Week§e.:..„
                                                                                            -10% or worse                                Period: 20 years Jan 1992 — Dec 2011
                                  -40%

                           1 Source:       Morningstar and F-Squared Investments. Weekly returns in each of ten S&P Sector Indices were analyzed for the 20 year period from 01/1992 to 12/2011..


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                                •     Investments include:
                                         • Nine exchange traded funds (ETFs) reflecting the primary sectors of the S&P 500
                                         • Short-term Treasuries ETF (only used in Bear Markets)



                                •     Index is re-evaluated weekly
                                •     Sector ETFs are traded using a binary model — either IN or OUT of the portfolio
                                         •    Sectors forecasted for positive return are left in; sectors forecasted to lose money are
                                              removed entirely
                                         O Decisions are based on a proprietary quantitative model in operation and development since
                                           2001
                                •     All sectors remaining IN the index are always equal weighted at the time of rebalancing
                                         •    There is a maximum cap of 25% for any sector ETF at time of rebalance

                                •     When 6 or more sectors are removed, signals a Bear Market
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                                         o Begin to build "cash" position using Short-term Treasury ETF
                                                 — 3 sectors IN = 25% cash; 2 sectors IN = 50% cash; 1 sector IN = 75% cash
                                         •    Can go to 100% in S-T Treasuries if all 9 sectors are eliminated


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                                                       AlphaSector Indexes periodically decide to either eliminate or
                                                       include a sector from the Index (binary option)1'2
                                                        Aill111111"_
                                                      Historical Monthly Allocations with Cumulative Return of API and S&P 5001
                                                     loova
                                                                                                                                                                                                     -a S T Treasuries

                                                     90%
                                                                                                                                                                  350                                 : Utilities
                            Allocation Percentages




                                                      80%
                                                                                                                                                                  300
                                                                                                                                                                                                 smszaa Technology

                                                      70%
                                                                                                                                                                                                       Materials




                                                                                                                                                                        Cumulative Return in %
                                                                                                                                                                  250
                                                      60%
                                                                                                                                                                                                 t --77-1 Industrials

                                                      50%                                                                                                         200
                                                                                                                                                                                                 sins Healthcare

                                                     40%
                                                                                                                                                                  150
                                                                                                                                                                                                 =EN Financials

                                                      30%
                                                                                                                                                                  100                              ^ -I Energy

                                                      20%
                                                                                                                                                                                                 au Consumer Staples
                                                                                                                                                                  50
                                                      10%
                                                                                                                                                                                                 smils Consumer Discr
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                                                       0%




                                                     'April 2001— December 2011. Allocations 4/1/2001-11/30/2011   2Source: Morningstar, F- Squared Investments


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                              • Model objective
                                       • Makes a "probabilistic" determination of risk of loss for each sector-based ETF
                                       o Does not use valuation metrics, and does not determine relative high or low
                                         valuations
                              • Key inputs to the Model
                                       o Historical price returns for each ETF
                                               — Used to generate rolling moving averages for each sector-based ETF
                                       • Volatility
                                               — Utilizes a proprietary measure of volatility which includes intra-day volatility
                                               — Volatility is a key risk factor, but NOT a sell trigger
                                       • Changing levels of volatility
                                          — Increasing levels of volatility results in the window size for the rolling moving
                                            averages to compress, increasing sensitivity to near market results
SEC-Navellier-E-0038197




                                               — Decreasing volatility levels expands the window size, increasing stability
                              • Output from the Model
                                       • Determination of forecasted performance relative to cash returns (binary decision)
                                          — Results in a sector either included or removed from the portfolio
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                             The example shown below is a conceptual example of how different moving
                             average windows and volatility can provide insight into AlphaSector decisions
                                                                                           Financial Price Movement Relative to Moving Average
                                                               50

                                                               45

                                                               40
                                Price & Moving Average Price




                                                                                                                                                                                                     3-Month StandardDeviation
                                                               35

                                                               30

                                                               25

                                                               20

                                                               15

                                                               10                                                                                                                              50%

                                                                                                                                                                                               25%
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                                                                0                                                                                                                              0%
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                                                                                                                                                                              3 1;

                                                               XLF in Portfolio '          3-Month Std Deviation (right scale) — Price — 6-Month Moving Avg — 3-Year Moving Avg


                                                                                                                                         Source: Morningstar, F-Squared Investments

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                                  $2,500,000
                                                        AlphaSec to r Allocator Premium Index          i----4S&P 500 TR          —Cumulative Total of Withdrawals

                                  $2,000,000                                                                                                                                                        $2,004,763

                             0
                            0
                             0 $1,500,000
                             o.


                            Ta $1,000,000



                                   $500,000                                                                                                                                                         $408,379



                                         $0 -
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                          Program Assumptions (reflected in chart)                                                 Results: Three Withdrawal Scenarios
                          Initial Investment                               $1,000,000           Withdrawal Rate                                    4%                            6%                  8%
                          Withdrawal rate                                           6%          Inflation adjustment                               3%                            3%                  3%
6669£00-9 -JGHIGABN-3ES




                          Inflation adjustment                                      3%          Cumulative withdrawal                          $502,312                       $753,468          $1,004,624
                          Beginning withdrawal amount                           $60,000         Ending value: S&P 500                          $716,653                       $408,379             $100,105
                          Ending withdrawal amount                              $80,000         Ending value:
                                                                                                                                               $2,489,165                 $2,004,763            $1,520,361
                          Period:                                  4/2001 — 12/2011             AlphaSector Premium

                          'April 2001— December 2011 Source: Morningstar, F-Squared Investments
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                                       AlphaSector Allocator Premium - Portfolio Design

                                                                                           "US Equity" ETFs                "International Equity"
                                                                                           • Industrials — XLI             ETFs

                                                                                           • Utilities — XLU               • EAFE - EFA

                                                                                           • Financials — XLF              • Emerging Markets -
                                                                                                                             EEM
                                                                                           • Technology — XLK
                                                                                                                           • 1 — 3 T-Bills — BIL
                                                                                           • Consumer Discretionary —
                                                                                             XLY                           "Fixed Income" ETFs
                                                                                           • Energy — XLE                  • 7 Year Treasuries - IEF
                                                                                           • Health Care — XLV             • AAA — LQD
                                                                                           • Materials — XLB               • High Yield — HYG
                                                                                           • Consumer Staples — XLP        • Municipals — MUB
                                                                                           • 1 — 3 T-Bills — BIL           • Mortgages — MBB
                                                                                                                           "Other" ETFs
                                                                                                                           •   Gold — GLD
oozec00-9-JameABN-o9s




                         ■US Equity: AlphaSector Premium Index
                                                                                                                           • Real Estate — IYR
                         a International Equity: AlphaSector International - Premium Index                                 • S&P 500 — SPY
                         ■Fixed Income: AlphaSector Fixed Income - Premium Index                                           • 1 — 3 T-Bills — BIL

                         ■ Other: AlphaSector Alternatives - Premium Index

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                           All AlphaSector Indexes represented in this material do not reflect the actual trading of any client account. No
                           representation is being made that any client will or is likely to achieve results similar to those presented herein.
                           The AlphaSector Premium Index is based on an active strategy with an inception date of April 1, 2001. Inception date is
                           defined as the date as of which investor assets began tracking the strategy. The process of converting the active strategy to
                           an index implies that the returns presented, while not backtested, reflect theoretical performance an investor would have
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                           obtained had it invested in the manner shown and does not represent returns that an investor actually attained, as investors
                           cannot invest directly in an index.
                           The AlphaSector Global Premium Index is a blend of two Indexes, AlphaSector Premium Index and AlphaSector
                           International Premium Index. Both are based on active strategies, with the AlphaSector Premium Index having an inception
                           date of April 1, 2001 and the AlphaSector International Premium Index having an inception date of May 2009. Any returns
                           shown prior to May 2009 reflect partially backtested, simulated data.

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                         IMPORTANT INFORMATION:
                         The AlphaSector Allocator Premium Index is a blend of four Indexes: AlphaSector Premium Index ("Premium"), AlphaSector
                         International Premium Index ("International"), AlphaSector Fixed Income Index ("Fixed Income"), and AlphaSector
                         Alternatives Index ("Alternatives"). All are based on active strategies, with the Premium Index having an inception date of
                         April 1, 2001, the International Index having an inception date of May 2009, and the Fixed Income and Alternative Indexes
                         having an inception date of December 2009. Any returns shown prior to December 2009 reflect partially backtested,
                         simulated data.
                         Theoretical and hypothetical performance has certain inherent limitations. Backtested results in general also are subject to
                         the fact that they have been prepared with the benefit of hindsight and reflect certain assumptions, including those described
                         below or in the attached presentation. No representation or warranty is made to the reasonableness of the assumptions
                         made or that all assumptions used to construct the performance provided have been stated or fully considered. To the
                         extent that the assumptions made do not reflect actual conditions, the illustrative value of the hypothetical results will
                         decrease. The hypothetical results shown may under or over compensate for the impact of actual market conditions and
                         other factors such as expenses.
                         The results shown do not reflect the deduction of any advisory fees or expenses, nor trading costs, both of which will
                         decrease the return experienced by a client. The performance is adjusted to reflect the reinvestment of dividends. The fees
                         and anticipated expenses will be specified in each client agreement. F-Squared's fees will be made available upon request
                         and are disclosed in its publicly-available Form ADV Part 2A.
                         The following Indexes were constructed to reflect the intended portfolio composition for client accounts that will trade utilizing
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                         the Index as its Model Portfolio:
                         The AlphaSector Premium Index. It is an index of sector-based ETFs and an ETF that reflects short-term Treasury
                         securities. It is based on an active strategy with an inception date of April 1, 2001.
                         The AlphaSector Global Premium Index. It is an index of sector-based and International equity ETFs and an ETF that
                         reflects short-term Treasury securities. It is based on an active strategy with an inception date of May1, 2009.


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                        IMPORTANT INFORMATION:
                        The AlphaSector Allocator Premium Index. It is an index of sector-based, international equity, and fixed income ETFs and
                        an ETF that reflects short-term Treasury securities. It is based on an active strategy with an inception date of Decemberl ,
                        2009.
                        The S&P 500 Index is a broad-based unmanaged index of 500 stocks, which is widely recognized as a representative of the
                        equity market in general.
                        None of the indices referred to herein reflect the deduction of the fees and expenses to be borne by a client, whose
                        managed account may trade and invest in different financial instruments than those in a particular index. Concentration,
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                        The peer groups are comprised of all open end mutual funds tracked by Morningstar that, according to Morningstar, meet
                        the listed investment category and was selected as a relevant comparison due to the similarity in investment objective of the
                        profiled F-Squared index.
                        Past performance is no guarantee of future results.
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                        Sources: Morningstar, NASDAQ OMX, Active Index Solutions, LLC. All rights reserved.
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 5                      )                                        5   ----------------------------------------------------
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 6                      )                                        6   Louis G. Navellier
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 7                      )                                        8
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 8   and Louis Navellier,        )
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                        )                                       10   DEPOSITION EXHIBITS FOR IDENTIFICATION                      PAGE
 9            Defendants. )                                     11   ----------------------------------------------------
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10
                                                                12   Exhibit 1                                  35
11                                                              13   Complaint in Securities and Exchange
12                                                              14   Commission v. Navellier & Associates and
13
14       VIDEO DEPOSITION OF LOUIS G. NAVELLIER
                                                                15   Louis Navellier
15          Thursday, November 8, 2018                          16   Exhibit 2                                  37
16        Securities and Exchange Commission                    17   SEC examination letter dated November 17,
17           Boston District Office                             18   1999, addressed to Louis Navellier
18          33 Arch Street - 24th Floor
19          Boston, Massachusetts 02110                         19   Exhibit 3                                  47
20                                                              20   SEC examination letter dated June 11, 2003,
21                                                              21   addressed to Louis Navellier
22
23                                                              22   Exhibit 4                                  65
     Reported by:                                               23   SEC examination letter dated February 27,
24   J. Edward Varallo, RMR, CRR                                24   2007, addressed to Arjen Kupyer
     Registered Professional Reporter
25   JOB No. 181108VG                                           25

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 1    Attorneys for Plaintiff Securities and Exchange            1   ----------------------------------------------------
 2    Commission:                                                2   DEPOSITION EXHIBITS FOR IDENTIFICATION                      PAGE
 3       Marc J. Jones, Senior Trial Counsel                     3   ----------------------------------------------------
 4       William J. Donahue, Senior Enforcement Counsel          4   Exhibit 5                                  73
 5       Jennifer A. Cardello, Senior Trial Counsel              5   Email string, top email sent Thursday,
 6       Securities and Exchange Commission                      6   December 15, 2011, at 5:55 p.m. from Cheryl
 7        Boston District Office                                 7   Czyz, Subject: Compliance (Bates SEC-
 8        33 Arch Street - 24th Floor                            8   Navellier-E-0036039 - 043)
 9        Boston, Massachusetts 02110                            9   Exhibit 6                                  83
10        617.573.8900                                          10   Document titled Janney Wealth Management,
11        jonesmarc@sec.gov; donahuew@sec.gov                   11   Investment Adviser Questionnaire, dated
12                                                              12   7/25/10 (Bates SEC-Navellier-E-0031583 - 609)
13    Attorneys for Defendants Navellier & Associates,          13   Exhibit 7                                  110
14    Inc. and Louis Navellier:                                 14   Documents titled Navellier & Associates
15       Samuel Kornhauser, Esq.                                15   Invites You to Meet with Louis Navellier
16       Law Offices of Samuel Kornhauser                       16   (Bates SEC-Navellier-E-0000524, 0000540,
17        155 Jackson Street - Suite 1807                       17   0000547, 0000546, 0000549, and 0000552)
18        San Francisco, California 94111                       18   Exhibit 8                                  122
19        415.981.6281                                          19   Executive Summary titled F2 - F-Squared
20        skornhauser@earthlink.net                             20   Investments, October 5, 2009
21                                                              21   Exhibit 9                                  129
22    Videographer:                                             22   Email string, top email sent Wednesday, July
23      Patrick Blaskopf, CLVS, Legal Video Specialist          23   6, 2016, at 12:57 p.m. from Arjen Kupyer to
24                                                              24   Sam Kornhauser, Subject: Fwd (Bates AK00229
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 1   other."                                                 1   at it. It's very expensive. Advent is extremely
 2       A. Yes, sir.                                        2   expensive. And, you know, with all due respect,
 3       Q. What's the alliance that involves Chris?         3   when we're audited by the SEC, it's nice to have all
 4       A. Chris Guptill was one of his managers.           4   the trade logs and everything, so when the SEC
 5   They got up to 2 billion bucks of ETF management.       5   requests data from us, we can crank it out really
 6       Q. And you did an alliance with them?               6   fast on Advent. So we can do all these customized
 7       A. No; Chris did an alliance with them. He          7   reports, answer all these questions. So the Advent
 8   was independent. So we were looking to hire them        8   accounting system is the Cadillac in our business;
 9   for distribution.                                       9   and then the GIPS certification is very important.
10       Q. What does it mean, packing our ETF              10       Q. Under the alliance you're proposing to
11   management for broader wire house distribution?        11   Mr. Cusack here, Navellier would still be an
12       A. Well, basically when you go into a --           12   investment adviser for the Vireo products. Correct?
13   Well, first of all, Mr. Cusack used to be a wire       13       A. Technically, legally, yes, but he'd be
14   house executive at Smith Barney and used to be part    14   doing the trades.
15   of their consulting group. And so when you go to       15       Q. Still have a fiduciary duty to the
16   one of these firms, you basically do what they tell    16   clients who invested in the Vireo product?
17   you to do. Okay? And then you tend to go to -- You     17             MR. KORNHAUSER: Objection, legal
18   can start with dual contract, but you usually end up   18   conclusion.
19   in single-contract programs, and if you have to        19       A. Yes, sir.
20   modify the portfolio, you do it at that time.          20       Q. And I would like you to turn to -- Since
21       Q. All right. And those dual contracts             21   there's a lot of documents, I'm going to go with the
22   would still involve Navellier & Associates?            22   Bates number, that number that's stamped on the
23       A. They could, they could. It's -- But I           23   bottom. I would like you to turn to a document
24   was definitely trying to get it out of my firm so      24   stamped 51265 in the bottom right corner.
25   Ranft, John Ranft and other people would stop          25       A. 51265?

                          161                                                         163

 1   selling it.                                             1       Q. It looks like this (indicating).
 2       Q. But you're talking about alliance,               2       A. Yes, sir.
 3   entering an alliance with Forward Management.           3       Q. Okay. And you see here at the bottom --
 4   Right?                                                  4       A. Yes, sir.
 5       A. Yes, sir, because I wanted my people to          5       Q. -- it says "Live track record, stress
 6   stop selling it. I wanted to get it out of my firm.     6   tested across two bear markets."
 7       Q. Well, how does forming an alliance with          7       A. Yes, sir.
 8   Forward Management get it out of your firm?             8       Q. So the document that you sent to
 9       A. They would just use us for the GIPS              9   Mr. Cusack about the Vireo product represented that
10   accounting and operations. They would do all --        10   the AlphaSector Premium Index had a live track
11   they would take over the sales.                        11   record. Correct?
12       Q. When you say operations, what does that         12       A. Yes, sir.
13   mean?                                                  13       Q. And that that live track record had been
14       A. That means the GIPS -- The original             14   stress tested across two bear markets?
15   intent of working with F2 was to do the portfolio      15       A. Yes, sir.
16   accounting and the GIPS, so the accounting, the        16       Q. And if you look down at the next line,
17   trading and the GIPS accounting. Okay? So we have      17   the little fine type there, it says "April 2001 to
18   the Advent accounting system and we have the GIPS      18   March 2011."
19   certification from Ashland, so that's all we would     19       A. Yes, sir.
20   have been doing if Jeff took it and ran with it. So    20       Q. And that's the two bear markets time
21   if John Ranft wanted to sell it, he would have to go   21   period that it's stress tested?
22   work for Forward Asset Management.                     22       A. Yes, sir.
23       Q. Why would a company need Navellier &            23       Q. And this is representing that it had a
24   Associates to do the GIPS accounting for it?           24   live track record during that time?
25       A. That's what we do. And we're very good          25       A. Yes. This is referring to the NASDAQ

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 1   product?                                               1      Q. He's a Navellier & Associates employee?
 2      A. Well, we did the GIPS compliance, the            2      A. No. He's an independent contractor.
 3   Clover, the GIPS compliance. Okay? But First Trust     3      Q. Has he ever worked at Navellier &
 4   was doing the sales.                                   4   Associates?
 5      Q. So as far as you're concerned or as far          5      A. Not as an employee.
 6   as you know, I mean -- sorry -- no Navellier           6      Q. When did he begin being an independent
 7   salesperson worked on selling the AlphaDEX product?    7   contractor?
 8      A. Navellier salespeople facilitated First          8      A. When we started our private client
 9   Trust, but First Trust did the bulk of the sales       9   group.
10   because they had 174 wholesalers.                     10      Q. And when was that?
11      Q. If a Navellier person and a First Trust         11      A. Probably around 2012 or '13.
12   person appeared at a meeting to sell the AlphaDEX     12      Q. Prior to 2012 when the private client
13   product, would you consider that Navellier            13   group got formed, did Mr. Fishman have any
14   participating in the sale or not?                     14   relationship with Navellier & Associates?
15           MR. KORNHAUSER: Objection, hypothetical       15      A. No, no.
16   opinion.                                              16      Q. Did you know him prior to that?
17      A. Yeah, that is hypothetical. I don't             17      A. No.
18   understand.                                           18      Q. Did you know him at the time -- Well,
19      Q. Well, did Navellier salespeople go out          19   you didn't know him at all before he joined as an
20   and make presentations or join in presentations       20   independent contractor at Navellier?
21   about the AlphaDEX product?                           21           MR. KORNHAUSER: Objection, asked and
22      A. Yes, they were there to give out the            22   answered.
23   GIPS-compliant material. That was their job.          23      A. No.
24      Q. So they would give out the GIPS-                24           MR. JONES: What was the answer?
25   compliant material about the AlphaDEX product?        25           MR. KORNHAUSER: He said "No."

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 1      A. Correct.                                         1   BY MR. JONES:
 2      Q. And would they answer questions about            2      Q. Is that the right answer?
 3   that material?                                         3      A. Of course it is, yeah.
 4      A. Yeah, of course. That's --                       4      Q. So you didn't know him at all. Then how
 5      Q. That's what they're there for?                   5   did it come to be that Mr. Fishman was introducing
 6      A. Yeah.                                            6   you to Mr. Eichenlaub?
 7      Q. Okay. And so would you consider that             7            MR. KORNHAUSER: Don't get into any
 8   helping to sell the AlphaDEX product?                  8   attorney-client communications here.
 9      A. They were facilitating sales.                    9      A. Steve has a compliance background; he's
10           MR. KORNHAUSER: Hold on. I've got an          10   the one that referred me to Ted.
11   objection with regard to the AlphaDEX products.       11      Q. How did you know that Steve had a
12   That's not part of the case.                          12   compliance background?
13           MR. JONES: I would disagree with that         13      A. He was -- He cleaned up Leeb Capital.
14   characterization. Let's go on.                        14   He cleaned up Leeb Capital after they got in trouble
15           MR. KORNHAUSER: Well, it's not in your        15   with the SEC.
16   complaint.                                            16      Q. Is that L-e-e-b?
17   BY MR. JONES:                                         17      A. Yes.
18      Q. Do you know a man named Ted Eichenlaub?         18      Q. And was that a firm that was being run
19      A. Yes.                                            19   by a Stephen Leeb?
20      Q. How do you know Mr. Eichenlaub?                 20      A. Yes.
21      A. Steve Fishman.                                  21      Q. And did you know Mr. Leeb?
22      Q. And Mr. Fishman introduced you?                 22      A. I know who he is, but I don't think I've
23      A. Yes.                                            23   ever met him personally.
24      Q. And who is Mr. Fishman?                         24      Q. When you say he cleaned up Leeb Capital,
25      A. He works in the private client group.           25   what does that mean?

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 1   there, but I just don't like things that don't          1   you'd have to talk to them about it.
 2   trade.                                                  2       Q. Well, could it be anything else besides
 3       Q. But you said they were out there as of           3   a back-test?
 4   2007?                                                   4            MR. KORNHAUSER: Objection, speculation.
 5       A. May of 2007 they existed.                        5       A. I am not going to speculate on what
 6       Q. Prior to that they didn't?                       6   First Trust did. I mean, you saw what I said at
 7       A. Correct. But First Trust had an index.           7   Raymond James. I'm not going to be responsible for
 8       Q. What does that mean?                             8   what First Trust did. They came up with this index;
 9       A. They had an index.                               9   I didn't. And that's all I can tell you. You have
10       Q. An index of what?                               10   to talk to First Trust about that index.
11       A. Of AlphaDEX.                                    11       Q. Mr. Navellier, I would like to ask you
12       Q. An index of AlphaDEX prior to 2007?             12   now about the email here in Exhibit 21 that starts
13       A. I don't know how far back it went, but          13   on the very bottom of page 2 and goes on to page 3.
14   the index came from First Trust.                       14   It starts at the bottom of page 2 and goes on to
15       Q. And was purporting to have results prior        15   page 3. If you would look at that email and just
16   to 2007?                                               16   look up at me when you're done reading it so I can
17       A. I believe so.                                   17   ask you the question.
18       Q. And it had results purporting to trade          18       A. (Pause) Yes, sir.
19   on securities that didn't exist yet?                   19       Q. All right. And this last paragraph on
20       A. I have no idea.                                 20   page 3 of the email that says "Unfortunately, if you
21       Q. You don't know?                                 21   study the Steve Leeb case." You see that?
22       A. Have no idea. The index came from First         22       A. Yes, sir.
23   Trust.                                                 23       Q. It says "Unfortunately, if you study the
24       Q. Well, let me rely on your experience as         24   Steve Leeb case, fraud does not protect you from the
25   a 39-year investment adviser. Can you have             25   SEC and other regulatory heat." Is that what you

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 1   experience trading securities that don't exist yet?     1   wrote?
 2           MR. KORNHAUSER: Objection, legal                2       A. Okay, I am having a hard time seeing
 3   conclusion.                                             3   where you are.
 4      A. Of course not.                                    4       Q. Let me point to where it is. I'm on the
 5           MR. KORNHAUSER: Louie?                          5   third page and I have it highlighted here on my
 6           MR. JONES: Mr. Kornhauser, are you              6   version. See where I am?
 7   suggesting that it's a legal conclusion whether or      7       A. Okay, yes.
 8   not you can trade things that don't exist?              8       Q. Okay, great.
 9           MR. KORNHAUSER: Yes.                            9           MR. JONES: You see, Sam?
10           MR. JONES: Oh, okay.                           10           MR. KORNHAUSER: Yes, I've got it.
11           MR. KORNHAUSER: Meaning trade things,          11           THE WITNESS: Yes, sir.
12   that you can legally trade things that don't exist?    12   BY MR. JONES:
13   Yeah, that's a legal conclusion.                       13       Q. Did you get a chance to read that
14   BY MR. JONES:                                          14   paragraph, sir?
15      Q. Is it possible --                                15       A. Yes, sir.
16           MR. KORNHAUSER: Objection.                     16       Q. You're talking about the Steve Leeb
17      Q. -- Mr. Navellier, to trade securities            17   case?
18   that have not yet been invented?                       18       A. Yes, sir.
19      A. Of course not.                                   19       Q. Now, is that the Steve Leeb you were
20      Q. So to the extent that there are                  20   talking about earlier today?
21   securities, that there is a performance being          21       A. Yes, sir.
22   represented prior to the underlying securities being   22       Q. He was a newsletter publisher?
23   invented, that is a back-test. Correct?                23       A. Yes.
24      A. I have absolutely no idea. I didn't do           24       Q. And he got in trouble?
25   the AlphaDEX index; that's a First Trust thing and     25       A. Yes.
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 1      Q.     And you know what he got in trouble for?     1   to read the hole thing.
 2      A.     For having some sort of --                   2           MR. JONES: Sam, I just said that.
 3            MR. KORNHAUSER: Objection, asked and          3           MR. KORNHAUSER: Look over the whole
 4   answered.                                              4   thing. You're entitled to read the whole thing --
 5       A. Yes, I know what he got in trouble for.         5           THE WITNESS: I understand.
 6       Q. And you knew it at the time that you            6           MR. KORNHAUSER: -- so you've got it in
 7   wrote this email on August 25, 2011?                   7   context. Okay?
 8       A. Yes, sir.                                       8           THE WITNESS: I understand.
 9       Q. And you're basing that -- That's the            9           MR. KORNHAUSER: What? You don't
10   basis for saying that fraud does not protect you      10   understand. You focus him on a paragraph so he
11   from the SEC and other regulatory heat?               11   doesn't read the whole thing. He's entitled to read
12       A. Yes, sir.                                      12   the whole thing.
13       Q. And so then you conclude from that "We         13           MR. JONES: Mr. Kornhauser, I just said
14   have to prepare to sell the Vireo franchise as a      14   "Please read as much as you need to feel comfortable
15   result." Why?                                         15   about it."
16       A. Because I didn't like the AlphaDEX --          16           MR. KORNHAUSER: I know what you said
17            MR. KORNHAUSER: Objection.                   17   and you said "This is what I'm going to ask you
18       A. I didn't like the way AlphaDEX came out        18   about," so.... Well, I'll stand on what I've said.
19   of First Trust and I didn't like the fact that the    19           (Pause)
20   ETF did not price every day. So my problem was I      20           THE WITNESS: Okay.
21   didn't like ETFs that don't price every day.          21   BY MR. JONES:
22       Q. Right. And you said you had to sell the        22       Q. On the bottom of page 2 you're writing
23   franchise as a result of the fact that you didn't     23   an email to Jamie Dlugosch. And let's spell that,
24   like ETFs not pricing every day?                      24   D-l-u-g-o-s-c-h.
25       A. Well, I also didn't like First Trust.          25       A. Okay.

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 1       Q. So that's why you had to sell the               1       Q. Mr. Dlugosch was considering joining
 2   franchise?                                             2   Navellier as an employee?
 3       A. Well, yeah, I couldn't control them.            3       A. He's -- Well, he didn't join Navellier's
 4       Q. Couldn't control them doing what?               4   employ.
 5       A. Everything.                                     5       Q. He did or he did not?
 6       Q. Including marketing?                            6       A. Did not.
 7       A. Everything. They were out of control.           7       Q. Is that what was being talked about in
 8   They're a big fraud house. And it's like everything    8   this series of emails?
 9   else in life: They have some professional people       9       A. Well, we never hired him as an employee.
10   and then they have some people I don't want to be     10       Q. Okay, but just --
11   associated with.                                      11           MR. KORNHAUSER: Statute of limitations,
12       Q. And so as a result, you're talking about       12   object. Statute of limitations, relevance. Go
13   selling the franchise or, the next sentence,          13   ahead.
14   spinning it off as a separate business?               14   BY MR. JONES:
15       A. Yep.                                           15       Q. So fair to say, Mr. Navellier, that
16            (Deposition Exhibit 22 marked for            16   Mr. Dlugosch was not an employee of Navellier at the
17   identification.)                                      17   time these emails were being written?
18   BY MR. JONES:                                         18       A. That's correct.
19       Q. Mr. Navellier, you have Exhibit 22.            19       Q. Okay. And you write to him "My former
20   There are several pages here; you should feel free    20   head of" -- I'm sorry. I'm in the one, two, three,
21   to look at any part of this you want. The part that   21   fourth paragraph, the one at the very bottom of page
22   I'm going to particularly ask some questions about    22   2. See where I am?
23   is the email that begins about halfway down on        23       A. Yes, sir.
24   page 2.                                               24       Q. You write "My former head of retail
25            MR. KORNHAUSER: Louie, you're entitled       25   marketing and compliance have been terminated due to

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                                                                                                    EXHIBIT
                                                                                                      35
From:                                          Cheryl Czyz <Cheryl_Czyz@navellier.com>
Sent:                                          Thursday, August 11, 2011 1:42 PM
To:                                            Martin, Olivia
Subject:                                       RE: Navellier/Vireo Allocator information
Attachments:                                   063011 Vireo Allocator Sales Presentation_bXLF.pdf


I will get those out to you. Here is the presentation.

Cheryl


Cheryl Czyz
Marketing Associate-Central Division
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From: Martin, Olivia [mailto:olivia.martin@wellsfargoadvisors.com]
Sent: Thursday, August 11, 2011 10:39 AM
To: Cheryl Czyz
Subject: RE: Navellier/Vireo Allocator information

Just Allocator. 10 copies.
I’m not sure what presentation copies are?


Olivia Martin, CRPC®
Financial Advisor

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From: Cheryl Czyz [mailto:Cheryl_Czyz@navellier.com]
Sent: Thursday, August 11, 2011 1:09 PM
To: Martin, Olivia
Subject: RE: Navellier/Vireo Allocator information

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I apologize, but can’t remember if I asked you already. Can you let me know which fact sheets you would like? I am
assuming Allocator, but want to be sure. Also, how many copies would you like and would you like any updated
presentation copies? Thank you.

Cheryl



From: Martin, Olivia [mailto:olivia.martin@wellsfargoadvisors.com]
Sent: Wednesday, August 10, 2011 1:10 PM
To: Cheryl Czyz
Subject: RE: Navellier/Vireo Allocator information

Hi Cheryl,
Will you please send me a few Vireo marketing pieces? I’m out and it looks better from you than printed from the
email.
Thanks!


Olivia Martin, CRPC®
Financial Advisor

Wells Fargo Advisors
(517) 351-6084
(800) 678-0741
olivia.martin@wfadvisors.com


From: Cheryl Czyz [mailto:Cheryl_Czyz@navellier.com]
Sent: Tuesday, August 09, 2011 11:43 AM
To: Martin, Olivia
Subject: Navellier/Vireo Allocator information

Hi Mrs. Martin,

How are you? John Ranft asked that I send over materials to you for the Allocator portfolio for you to share with a
client. Attached, please find the presentation, the 2Q fact sheet and Navellier’s management fee contract. If you would
like any additional information like F2’s commentary, white papers, etc. just let me know and I can send them over as
well.

Please let me know if I can help in any way at all. Thank you. Have a great day!

Cheryl


Cheryl Czyz
Marketing Associate-Central Division
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                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

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                    “normal” markets and highest alpha in negative markets
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                                       p         can lag
                                                       g in strong
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                                                                                                                                                                         AlphaSector               AlphaSector
                                                                                                                                                                          Allocator                 Allocator
                                                                                                                                                                                             DJ                AlphaSector
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                                                                  P f                                                                                                      P
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                                                                Apr 2001 – Jun 2011                                                                                      Index (Pure               Index (Pure
                                                                                                                                                                                           Global                Blended
                    400                                                                                                                                                     Gross)                    Gross)
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                                                                                                                                                        Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                          AlphaSector
                                                                                                                                 AlphaSector
                                                                                                                                 Allocator                1 Yr Return       22.9%           20.8%         22.9%     22.4%
                                                                                                                                 Allocator
                                                                                                                                 Premium Index
                                                                                                                                 Premium   Index          3 Yr Return       14.9%           5.5%          14.9%     3.7%
                    300                                                                                                          (Pure Gross)
                                                                                                                                 (Pure Gross)
                                                                                                                                                          5 Yr Return       15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                 DJ Moderate
                                                                                                                                 DJ Moderate
                    250                                                                                                          Global Index
                                                                                                                                 Global
                                                                                                                                                     Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                          AlphaSector
                                                                                                                                 Allocator Blended          Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                 AlphaSector
                                                                                                                                 Index
                    150                                                                                                          Allocator                      Alpha        9.7%            N/A          10.8%      N/A
C




                                                                                                                                 Blended Index
                                                                                                                                                          R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                          Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                          4/01




                                                                                                                                              5 Yr Up Capture Ratio         100%             N/A           93%       N/A
                                                                                                                       6/11
                          3/01


                                   3/02


                                            3/03


                                                      3/04


                                                               3/05


                                                                        3/06


                                                                                  3/07


                                                                                           3/08


                                                                                                    3/09


                                                                                                              3/10


                                                                                                                       3/11




                                                                                                                                          5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                        All returns over one year are annualized.


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                                    Distribution of annual returns since inception shows the
                                    reduction in losses that has been incurred
                                  AlphaSector Allocator Premium Index vs. Dow Jones
                                     Moderate Global Index, AlphaSector Allocator
                                            Blended Index, and S&P 500
                                             Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                           35


                           30
                                                                                                                                                                    AlphaSector               AlphaSector
Frequenccy of Occurrence




                                                                                                                                                                      Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                            S&P 500
                           25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                    (Pure Gross)                 Index
                                             Tail Risk – risk an
                           20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                        33.84%      39.42%      40.00%      53.62%
                                                                                                                                                     Return
                           15
                                                                                                                                                    Minimum
                                                                                                                                                                         -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                      Return
                           10
                                                                                                                                                      Percent
                                                                                                                                                                          99%        75%         71%          69%
                                                                                                                                                      Positive
                            5


                            0
                                -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                               AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                               AlphaSector Allocator Blended Index                S&P 500




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                   AlphaSector Allocator Premium includes or excludes sectors in the
                   portfolio through disciplined re-allocation and diversification
                400%
                 100%
                                                                                                                                                                                Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                                Technology (XLK)      Energy (XLE)
                  50%
                350%                                                                                                                                                            Materials (XLB)       Cons. Staples (XLP)
                                                                                                                                                                                Healthcare (XLV)      Cons. Disc. (XLY)
                                                                                                                                                                                Industrials (XLI)     Short Term
                  0%
                300%                                                                                                                                                                                  Treasuries (BIL)
                100%
          nal
Internation




                                                                                                                                                                                Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                            EAFE (EFA)

                                                                                                                                                                                Short Term
                                                                                                                                                                                Treasuries (BIL)
                  0%
                200%
                 100%
         ves




                                                                                                                                                                                Real Estate ((IYR))
Alternativ




                                                                                                                                                                                Gold (GLD)
                  50%
                150%
                                                                                                                                                                                S&P 500 (SPY)
                                                                                                                                                                                Short Term
                   0%                                                                                                                                                           Treasuries (BIL)
                100%
                 100%                                                                                                                                                           AAA (LQD)
Fixed Income




                                                                                                                                                                                High Yield (HYG)
                 50%
                50%                                                                                                                                                             Mortgages (MBB)
                                                                                                                                                                                Municipals (MUB)
                                                                                                                                                                                7-10 Year Treasuries (IEF)
                  0%
                  0%




                                                                                                                                                                         6/11
                        4/01




                                                                                                                                                                         3/11
                        3/01

                               9/01

                                      3/02

                                             9/02

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                                                                                                                     9/07

                                                                                                                            3/08

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                                                                                                                                                                  9/10
                        Note periods where the Index goes to cash:                                           (BIL)                 (IEF)
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                                                                       ( AIS ). The AlphaSector Allocator Premium Index is a quantitatively
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ETFs, five fixed income ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful in
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             q y sleeve” referenced in the materials refers to the AlphaSector
The “U.S. equity                                                      p         Premium Index,, with the strategy
                                                                                                               gy that the AlphaSector
                                                                                                                             p
Premium Index is based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies
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directly invest in an index. Index returns presented represent past performance and are not a guarantee of future results or indicative of
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portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
Stocks are represented by the Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four
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Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
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                                                     S market performance
                                                               performance.

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From:                                          Cheryl Czyz <Cheryl_Czyz@navellier.com>
                                                                                                                 36
Sent:                                          Thursday, August 18, 2011 4:56 PM
To:                                            beth.webb@rbc.com
Subject:                                       Navellier/Vireo information
Attachments:                                   063011 Vireo Allocator Sales Presentation_bXLF.pdf; Vireo Allocator 063011slick.pdf;
                                               Vireo Premium 063011slick.pdf; AlphaSector Allocator Premium Index_07312011.pdf;
                                               AlphaSector Premium Index_07312011.pdf


Hi Beth,

Per my call to you today, I am attaching the most current (2Q 2011) fact sheet for the AlphaSector Premium (US equity)
portfolio and the Allocator (balanced) portfolio for your review. I have also attached the Allocator presentation and the
MorningStar reports for July 2011 in case you find these helpful as well.

Please let me know if I can answer any questions or help in any way at all. Thank you. Have a great day!

Cheryl


Cheryl Czyz
Marketing Associate-Central Division
-------------------------------------------------




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statements provided to clients by their custodian

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AlphaSector Premium Index
Performance Evaluation
                                                                                                                                                                     Currency               Benchmark 1                  Benchmark 2           Morningstar Category
                                                                                                                                                                     USD                    S&P 500 TR                   —                     —




 Return vs. Peer Group                                                                                                                                                                          Trailing Returns as of 7/31/2011
                                                                                                                                      101           Subject Investment                                                                 Inv %     Bmark 1%    Bmark 2%
                                                                                                                                                    Benchmark 1                                YTD                                     4.65         3.87           —
                                                                                                                                       55           Benchmark 2
                                                                                                                                                                                               1 Month                              -2.18           -2.03          —
                                                                                                                                                    Peer Group
                                                                                                                                                                                               3 Months                             -4.25           -4.76          —
                                                                                                                                                    Open End Funds
                                                                                                                                          9                                                    6 Months                              2.71            1.46          —
                                                                                                                                                    U.S. - Large Blend
                                                                                                                                                    Top Quartile                               1 Year                               20.92          19.65           —
                                                                                                                                      -37           2nd Quartile                               2 Years                              18.51          16.71           —
                                                                                                                                                    3rd Quartile                               3 Years                              16.06           2.92           —
                                                                                                                                      -83
                                                                                                                                                    Bottom Quartile                            4 Years                              14.77          -0.78           —
                                                                                                                                                    90% of Category                            5 Years                              15.29           2.39           —
  2002          2003         2004          2005         2006         2007         2008         2009          2010 2011-07                       History                                        10 Years                             13.17           2.61           —
   5.33         24.81        14.88          6.86        16.69        14.97        -1.87        32.31         17.72          4.65                Subject Investment
 -22.10         28.68        10.88          4.91        15.79         5.49       -37.00        26.46         15.06          3.87                Benchmark 1                                     Return/Risk Analysis 4/1/2001 to 7/31/2011
     —             —            —             —            —            —            —            —             —             —                 Benchmark 2                                                                              Inv      Bmark 1     Bmark 2
 -21.05         29.22        11.27          6.45        14.90         6.30       -37.79        28.73         14.18         2.93                 Peer Group Avg                                 Cumulative Return                   267.05          35.60           —
  -1.76         64.89        29.18         20.39        28.83        43.22        -5.77        95.07         43.52        12.79                 Best                                           Standard Deviation                   10.62          15.77           —
 -18.56         31.29        13.01          8.12        16.11         8.90       -35.36        31.82         15.56         3.95                 25th Percentile                                Sharpe Ratio                          1.07           0.06           —
 -21.91         28.14        10.74          6.01        14.96         5.71       -37.46        27.27         14.04         3.11                 50th Percentile                                Sortino Ratio                         1.96           0.08           —
 -23.14         25.70         9.38          4.26        13.36         4.01       -39.97        23.94         12.27         1.86                 75th Percentile                                Calmar Ratio                          1.00           0.06           —
 -47.09         15.69         2.65         -4.36         0.77       -14.35       -78.55         1.88          3.99       -32.85                 Worst
                                                                                                                                                                                               Best Month                           10.12           9.57           —
        —           —            —             —            —            —            —             —             —           —                 Gross Expense Ratio                            Worst Month                          -8.00         -16.79           —
                                                                                                                                                                                               Best Quarter                         17.28          15.93           —
                                                                                                                                                                                               Worst Quarter                       -11.92         -21.94           —
 Rolling Performance 36 months per calculation                                                                                                                                                 % of Up Month                        67.74          62.10           —
   39                                                                                                                                                                                          % of Down Month                      32.26          37.90           —
                                                                                                                                                                                               Avg Monthly Gain                      2.66           3.04           —
   19                                                                                                                                                                                          Avg Monthly Loss                     -2.24          -4.18           —
                                                                                                                                                                                               Gain Std Dev                          7.49           8.73           —
                                                                                                                                                                                               Loss Std Dev                          6.00          12.09           —
   -1
                                                                                                                                                                                               Longest Up Streak (Mo)                   8              8           —
                                                                                                                                                                                               Run Up %                             30.20          31.57           —
  -21
                                                                                                                                                                                               Start Date                          9/2010         9/2010           —
                                                                                                                                                                                               End Date                            4/2011         4/2011           —
  -41
                2004                 2005                    2006                   2007                    2008                   2009                    2010               2011             Longest Down Streak (Mo)        6                        5          —
                                                                                                                                                                                               Run Down %                 -10.13                   -13.83          —
                                                                                                                                                                                               Start Date                6/2008                  11/2007           —
         Name                                 Total # of              % in Top             % in 2nd             % in 3rd            % in Btm             % Above             % Above           End Date                 11/2008                   3/2008           —
                                             Calculations             Quartile             Quartile             Quartile             Quartile            Bmark 1             Bmark 2           Max Drawdown (Mo)                         2             16          —
         Subject Investment                            89              53.93                 3.37                 3.37                 1.12               95.51                  0.00          Max Drawdown (%)                     -13.39         -50.95          —
         Benchmark 1                                   89               0.00                67.42                32.58                 0.00                  —                     —           Peak Date                           5/2010        11/2007           —
         Benchmark 2                                    0                 —                    —                    —                    —                   —                     —           Valley Date                         6/2010         2/2009           —

                                                                                                                                                                                                Relative Performance 4/1/2001 to 7/31/2011
Information Ratio
                                                                                                                                                                                                                                                  Bmark 1     Bmark 2
    2
                                                                                                                                                                                               Excess Return                                       10.42           —
    1                                                                                                                                                                                          Alpha                                               10.11           —
                                                                                                                                                                                               Beta                                                 0.48           —
    0
                                                                                                                                                                                               R-Squared                                           51.53           —
   -1                                                                                                                                                                                          Tracking Error                                      11.01           —
               2004                 2005                    2006                   2007                    2008                    2009                    2010               2011
                                                                                                                                                                                               Information Ratio                                    0.95           —
                                                                                                                                                                                               Treynor Ratio                                       23.40           —

Tracking Error                                                                                                                                                                                 Up Capture Ratio                                    87.64           —
   17                                                                                                                                                                                          Down Capture Ratio                                  36.77           —
                                                                                                                                                                                               Up Number Ratio                                      0.94           —
   12                                                                                                                                                                                          Down Number Ratio                                    0.74           —
                                                                                                                                                                                               Up Percentage Ratio                                  0.51           —
    7
                                                                                                                                                                                               Down Percentage Ratio                                0.81           —
    2
               2004                 2005                    2006                   2007                    2008                    2009                    2010               2011




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Returns represent past performance, and are not guarantees of future results or indicative of any specific
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Performance Evaluation                                                                                                                         Best/Worst
Disclosure Statement                                                                                                                           This section illustrates the distribution of returns across the peer group.
                                                                                                                                               The Best and Worst figures represent the highest and lowest return for
                                                                                                                                               any investment in the peer group. The returns for percentiles between
                                                                                                                                               Best and Worst are determined based on the range of returns in the group.
Use of the Performance Evaluation report requires expert knowledge. It                                                                         Gross Expense Ratio
is to be used by specialist institutions only. The information contained                                                                       Gross Expense Ratio represents the total gross expenses (net expenses
herein: (1) is proprietary to Morningstar and/or its content providers; (2)                                                                    with waivers added back in) divided by the fund's average net assets. If
may not be copied, adapted or distributed; and (3) is not warranted to be                                                                      it is not equal to the net expense ratio, the gross expense ratio portrays
accurate, complete or timely. Neither Morningstar nor its content                                                                              the fund's expenses had the fund not waived a portion, or all, of its fees.
providers are responsible for any damages or losses arising from any use                                                                       Thus, to some degree, it is an indication of fee contracts. Some fee
of this information, except where such damages or losses cannot be                                                                             waivers have an expiration date; other waivers are in place indefinitely.
limited or excluded by law in your jurisdiction.
                                                                                                                                               Rolling Performance
When the Performance Evaluation report is used as supplemental sales                                                                           Rolling return evaluates consistency of return. Each bar represents the
literature, it must be preceded or accompanied by the investment's                                                                             rolling return of the peer group as of the date represented on the horizontal
current prospectus and disclosure statement.                                                                                                   axis for the time period indicated in the graph subtitle. The rolling returns
                                                                                                                                               for the investment and benchmarks overlay the bars.
Past financial performance is no guarantee of future results. Morningstar
is not a FINRA-member firm.                                                                                                                    Total # of Calculations
                                                                                                                                               Based on the date range and rolling window length specified for the report,
Print Date                                                                                                                                     this is the number of calculations made for the peer group and each
This is the date the report was generated.                                                                                                     investment and benchmark depicted in the rolling performance graph.

Currency                                                                                                                                       % in Quartile
Unless otherwise specified or disclosed, the currency used for data in the                                                                     The percentage in Top, 2nd, 3rd, and Btm Quartiles represents how often
report is US Dollar (USD).                                                                                                                     the rolling returns of the subject investment and benchmarks land in each
                                                                                                                                               of the quartiles of the rolling returns of the peer group.
Benchmark
S&P 500 TR                                                                                                                                     % Above Benchmarks
                                                                                                                                               The figures for % Above Bmark 1 and 2 represent how often the rolling
No definition available for this benchmark.                                                                                                    return for the subject investment exceeds the rolling return for the
Morningstar Category                                                                                                                           benchmark.
In an effort to distinguish investments by what they own, as well as by
their prospectus objectives and styles, Morningstar developed the                                                                              Information Ratio and Tracking Error Graphs
Morningstar Categories. While the prospectus objective identifies an                                                                           These graphs illustrate the historical movement of the information ratio
investment's goals based on the wording in its prospectus, the                                                                                 and tracking error versus each benchmark for up to 72 months.
Morningstar Category identifies investments based on their actual
investment styles as measured by their underlying portfolio holdings                                                                           Information ratio measures a manager's ability to consistently add value
(portfolio and other statistics over the past three years).                                                                                    relative to the selected benchmark. The ratio is composed of excess return
                                                                                                                                               and tracking error. The higher the information ratio, the better, as this
No definition available for this category.                                                                                                     indicates a large excess return against a small tracking error. The
Peer Group                                                                                                                                     information ratio measures the consistency with which a manager
The peer group is defined by an adjustable user setting. It may be a                                                                           delivers his alpha.
Morningstar Category or any user-defined group of investments. If a user-
defined peer group is selected, it will be designated on the report as a                                                                       Tracking error is the divergence between the price behavior of an
Custom List.                                                                                                                                   investment and the price behavior of a benchmark. Tracking error is
                                                                                                                                               reported as a standard deviation percentage difference.
Annual and Trailing Returns
Expressed in percentage terms, Morningstar's calculation of total return                                                                       Return/Risk Analysis
is determined each month by taking the change in monthly net asset                                                                             Data points in this area are calculated for the time period displayed in the
value, reinvesting all income and capital-gains distributions during that                                                                      section heading.
month, and dividing by the starting NAV. Reinvestments are made using
the actual reinvestment NAV, and daily payoffs are reinvested monthly.                                                                         Cumulative Return
Unless otherwise noted, Morningstar does not adjust total returns for                                                                          Cumulative return is the total money-weighted return of the investment.
sales charges (such as front-end loads, deferred loads and redemption
fees), preferring to give a clearer picture of an investment's performance.                                                                    Standard Deviation
The total returns do account for management, administrative, 12b-1 fees                                                                        Standard deviation is a statistical measurement of dispersion about an
and other costs taken out of investment assets. Total returns for periods                                                                      average, which, for an investment, depicts how widely the returns varied
longer than one year are expressed in terms of compounded average                                                                              over the time period indicated. Morningstar computes standard deviation
annual returns (also known as geometric total returns), affording a more                                                                       using the trailing monthly total returns for the time period. All of the
meaningful picture of investment performance than non-annualized                                                                               monthly standard deviations are then annualized.
figures.
                                                                                                                                               Sharpe Ratio
Peer Group Average                                                                                                                             Sharpe ratio is calculated by taking the investment's average monthly
This figure is calculated by taking the average of the returns, equally                                                                        excess return over the user-defined risk-free rate and dividing by the
weighted, for all the investments in the chosen peer group.                                                                                    monthly standard deviation of excess returns to determine reward per

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unit of risk. A higher Sharpe ratio reflects better historical risk-adjusted                                                                   Beta is a measure of an investment's sensitivity to movements in a
performance.                                                                                                                                   benchmark. A portfolio with a beta greater than one is more volatile than
                                                                                                                                               the benchmark, and a portfolio with a beta less than one is less volatile
Sortino Ratio                                                                                                                                  than the benchmark.
Sortino ratio is similar to Sharpe ratio except that it uses downside risk
(downside deviation) in the denominator. Because upside variability is not                                                                     R-Squared
necessary a bad thing, the Sortino ratio is sometimes preferable to the                                                                        R-squared reflects the percentage of an investment's movements that
Sharpe ratio. It measures the annualized rate of return for a given level of                                                                   are explained by movements in the benchmark, showing the degree of
downside risk.                                                                                                                                 correlation between the investment and the benchmark. A score of 1.00
                                                                                                                                               means that the investment exactly tracked the benchmark's movement.
Calmar Ratio                                                                                                                                   This figure is also helpful in assessing how likely it is that alpha and beta
Calmar ratio often applied to hedge funds and used to determine return                                                                         are statistically significant.
relative to downside risk. A higher Calmar ratio reflects better historical
risk-adjusted performance.                                                                                                                     Tracking Error
                                                                                                                                               Tracking error is the divergence between the price behavior of an
Best/Worst Month                                                                                                                               investment and the price behavior of a benchmark. Tracking error is
Shows the actual highest/lowest monthly return that occurred during the                                                                        reported as a standard deviation percentage difference.
time period.
                                                                                                                                               Information Ratio
Best/Worst Quarter                                                                                                                             Information ratio measures a manager's ability to consistently add value
Shows the highest/lowest return for a calendar year quarter that occurred                                                                      relative to the selected benchmark. The ratio is composed of excess return
during the time period.                                                                                                                        and tracking error. The higher the information ratio, the better, as this
                                                                                                                                               indicates a large excess return against a small tracking error. The
% of Up/Down Month                                                                                                                             information ratio measures the consistency with which a manager
The percentage of months with positive/negative returns.                                                                                       delivers his alpha.

Average Monthly Gain/Loss                                                                                                                      Treynor Ratio
A geometric average of the monthly return periods with a positive/                                                                             Treynor Ratio is a risk-adjusted measure of return based on systematic
negative return.                                                                                                                               risk. It is similar to the Sharpe ratio with the difference being that it uses
                                                                                                                                               beta as the measurement of volatility. In using beta, the Treynor ratio
Gain/Loss Standard Deviation                                                                                                                   assumes a portfolio is fully diversified and all unsystematic risk has been
The standard deviation of positive/negative monthly returns.                                                                                   eliminated. Investors should look for a higher Treynor number, especially
                                                                                                                                               relative to an investment's benchmark, indicating a higher level of return
Longest Up/Down Streak (Mo)                                                                                                                    per unit of risk.
The number of months representing the longest period of consecutive
positive/negative returns.                                                                                                                     Upside/Downside Capture Ratio
                                                                                                                                               Upside/Downside capture is a measure of the manager's performance in
Run Up/Down%                                                                                                                                   periods when the benchmark has positive/negative returns. In essence,
The cumulative return of the months included in the up/down streak.                                                                            it tells you what percentage of the up/downmarket, as represented by
                                                                                                                                               the benchmark return, was captured by the manager.
Start/End Date
The start and end dates for the up/down streak.                                                                                                Up/Down Number Ratio
                                                                                                                                               Up/Down number ratio is a measure of the number of periods that the
Maximum Drawdown                                                                                                                               investment has positive/negative returns corresponding with positive/
The peak to trough decline during a specific record period for the                                                                             negative returns for the benchmark. A larger/smaller ratio is better.
investment. We display both the number of months between the peak
and trough and the corresponding percentage change during that period.                                                                         Up/Down Percentage Ratio
                                                                                                                                               Up/Down percentage ratio is a measure of the number of periods that the
Peak/Valley Date                                                                                                                               investment outperformed/underperformed the benchmark when the
The start and end dates for the maximum drawdown period.                                                                                       benchmark had positive/negative returns. A larger/smaller ratio is better.

Relative Performance
Data points in this area are calculated for the time period displayed in the
section heading.

Excess Return
Excess return is a measure of the investment's return in excess of the
benchmark's return.

Alpha
Alpha measures the difference between an investment's actual returns
and its expected performance, given its level of risk as measured by beta.
A positive alpha figure indicates the investment has performed better
than its beta would predict. In contrast, a negative alpha indicates that
the investment underperformed, given the expectations established by
its beta. Alpha is often seen as a measure of the value added or subtracted
by a portfolio manager.

Beta
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                                                                                          AlphaSectorTM Allocator                           2Q
                                                                                                            Premium Index 2011
                                                                                                                    (Balanced)
        Vireo is a unique suite of investment strategies with a single-minded focus: limiting losses
                   ™
                                                                                                                                            S u p p l e m e n ta l
        during extended market downturns. For today’s investor, what you make is not nearly as
        important as what you keep! Based on the AlphaSector Indexes, owned and published by                                                I n f o r m at i o n
        Active Index Solutions LLC, this strategy, known as defensive allocation, also allows Vireo to
        deliver improved returns in up markets by constantly working from a position of strength (i.e.,
        the portfolio’s attempt to avoid losses before making new gains). The Vireo portfolios are
        designed to deliver attractive risk-adjusted returns through multiple investment markets via
        diversification and defensive re-allocation, including the use of cash.


        AlphaSector Allocator Premium Portfolio Key Features
        • Invests in all key equity sectors and major asset classes, including bonds, real estate, gold,
          foreign markets, and cash

        • Utilizes only simple, readily available ETFs (iShares® and Select Sector SPDRs®) and cash

        • Uses NO shorting, leverage, inverse ETFs, or exotic derivative investments

        • Focuses primarily on downside risk management, especially in weak markets

        • Under extreme market conditions, the portfolio can build and hold substantial cash
          positions to avoid losses

        • Participates in rising markets with the ability to outperform in up markets

        • 100% quantitiative process, highly disciplined, weekly calculation




        AlphaSector Allocator Premium Index Performance
         Growth of 100 Dollars from 4/1/2001 - 6/30/2011

$400

$350

$300

$250

$200

$150

$100

$50
                 12-01
       4-01




                                                                                                                                     6-11
                             12-02




                                          12-03




                                                                 12-05




                                                                                            12-07




                                                                                                         12-08




                                                                                                                     12-09



                                                                                                                             12-10
                                                      12-04




                                                                           12-06




              AlphaSector Allocator Premium Index (Pure Gross)                     AlphaSector Allocator Blended Index
              Dow Jones Moderate Global Index


         Sources: Zephyr StyleADVISOR, F-Squared Investments, Inc. Performance results presented herein do not
         necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
         for partial or complete loss of funds invested. Results presented include reinvestment of all dividends and other
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Extreme losses can destroy any investment plan.                                                                                                      S u p p l e m e n ta l
                                       Gain Required                               Capital                         Years Required                    I n f o r m at i o n
           Loss
                                        to Recover                                  Gap                           for Full Recovery
           -3.1%                               3.2%                                  0.1%                                    0.3
          -10.0%                              11.1%                                  1.1%                                    1.0
          -20.0%                              25.0%                                  5.0%                                    2.0
          -30.0%                              42.9%                                 12.9%                                    3.3
          -40.0%                              66.7%                                 26.7%                                    4.7
          -50.0%                             100.0%                                 50.0%                                    6.3
          -51.0%                             104.1%                                 53.1%                                    6.5

In less than one year (5/18/2008 - 3/7/2009), the S&P 500 lost -51%; full recovery
requires a gain of 104%. During the same period, AlphaSector Allocator
Premium Index only lost -3%; full recovery requires a gain of only 3%.
Source: NASDAQ OMX, Morningstar, Active Index Solutions.

 Performance Returns                                                                    Return/Risk Analysis
                                     AlphaSector          Dow Jones AlphaSector                                             AlphaSector           Dow Jones AlphaSector
 Annualized Returns                    Allocator           Moderate Allocator                     4/1/2001 to                 Allocator            Moderate Allocator
 through 6/30/11                    Premium Index           Global    Blended                      6/30/2011               Premium Index            Global    Blended
                                     (Pure Gross)           Index      Index                                                (Pure Gross)            Index      Index

 2nd Quarter                              1.35%              1.08%         1.03%        Best Month                               6.81%               8.24%        7.71%

 Year-to-Date                             4.87%              4.40%         4.84%        Worst Month                             -5.81%            -13.63%       -13.46%

 Trailing 1 Year                         22.94%             20.75%       22.42%         % of Up Month                               70%                63%          61%

 Trailing 3 Years                        14.89%              5.45%         3.73%        % of Down Month                             30%                37%          39%

 Trailing 5 Years                        15.15%              5.36%         4.34%        Maximum Drawdown (%)                    -8.15%            -35.06%       -39.27%

 Trailing 10 Years                       13.36%              6.62%         4.96%

 Since Inception (4/1/01)                13.38%              6.94%         5.11%
 Cumulative Return                     262.39%              98.95%       66.64%
 (4/1/01-6/30/11)

 Yearly Returns                                                                         Comparative Return/Risk Analysis
                                                                                                                      AlphaSector    vs.          AlphaSector     vs.
                                     AlphaSector          Dow Jones AlphaSector                                        Allocator                   Allocator
                                                                                                                                    Dow
                                       Allocator           Moderate Allocator                    4/1/2001 to           Premium     Jones           Premium AlphaSector
                                    Premium Index           Global    Blended                     6/30/2011              Index                       Index    Allocator
                                                                                                                                  Moderate
                                                                       Index                                             (Pure                       (Pure    Blended
                                     (Pure Gross)           Index                                                                  Global
                                                                                                                         Gross)                      Gross)     Index
                                                                                                                                   Index

 2010                                    12.69%             13.95%        11.60%        Alpha(2) (3)                      9.72%         0.00%       10.78%         0.00%

 2009                                    29.39%             23.79%       22.41%         Beta(2) (3)                       0.49%         1.00%         0.46%        1.00%

 2008                                     3.32%            -24.74%       -27.77%        Standard Deviation(1)             7.32%        10.72%         7.32%       11.41%

 2007                                    15.50%              8.02%         7.90%        R-Squared      (2) (3)
                                                                                                                         51.29%      100.00%        51.93%      100.00%

 2006                                    15.40%             11.91%       14.78%         Up Capture Ratio                 90.10%      100.00%        89.10%      100.00%

 2005                                    10.74%              7.25%         6.71%        Down Capture Ratio               35.80%      100.00%        29.50%      100.00%

 2004                                    14.64%             13.15%        11.35%

 2003                                    21.89%             27.18%       23.62%

 2002                                     5.58%             -7.05%       -11.18%

 2001 (9 months)                          5.34%              3.51%        -0.32%
Source: Morningstar, F-Squared Investments, Zephyr StyleADVISOR.
(1)
    Annualized standard deviation since inception
(2)
    Calculated since inception vs. Dow Jones Moderate Global Index
(3)
    Calculated since inception vs. AlphaSector Blended Index

Potential investors should consult with their financial advisor before investing in any investment product. Investment in equity strategies involves substantial risk and has
the potential for partial or complete loss of funds invested. Results presented do not necessarily indicate future performance. All performance figures include reinvestment
of dividends, interest, and other income.

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                         Historical Diversification and Re-allocation                                                                                                       S u p p l e m e n ta l
                         April 1, 2001 - May 31, 2011
                         The AlphaSector Allocator Premium Index is divided into four sleeves with fixed percentage allocations -                                           I n f o r m at i o n
                         domestic equity 36%, international equity 24%, fixed income 30%, and alternatives 10%. Each sleeve is
                   Allocator
                         populated by a set of relevant ETFs that can be “turned on” or “turned off” based upon a weekly risk assessment
                         calculation. Under certain circumstances each sleeve has the potential to have a 100% allocation to cash.
                400%
                 100%
                                                                                                                                                                            Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                            Technology (XLK)      Energy (XLE)
                  50%
                350%
                                      36%                                                                                                                                   Materials (XLB)
                                                                                                                                                                            Healthcare (XLV)
                                                                                                                                                                                                  Cons. Staples (XLP)
                                                                                                                                                                                                  Cons. Disc. (XLY)
                                                                                                                                                                            Industrials (XLI)     Short Term
                   0%
                300%                                                                                                                                                                              Treasuries (BIL)
                 100%
          nal
Internation




                                                                                                                                                                            Emerging Markets (EEM)
                  50%
                250%
                                      24%                                                                                                                                   EAFE (EFA)

                                                                                                                                                                            Short Term Treasuries (BIL)

                   0%
                200%
                 100%
Alternativves




                                                                                                                                                                            Real Estate ((IYR))

                  50%
                150%
                                      10%                                                                                                                                   Gold (GLD)
                                                                                                                                                                            S&P 500 (SPY)
                                                                                                                                                                            Short Term Treasuries (BIL)
                   0%
                100%
                 100%                                                                                                                                                       AAA (LQD)
Fixed Income




                                                                                                                                                                            High Yield (HYG)
                 50%
                50%
                                      30%                                                                                                                                   Mortgages (MBB)
                                                                                                                                                                            Municipals (MUB)
                                                                                                                                                                            7-10 Year Treasuries (IEF)
                  0%
                  0%




                                                                                                                                                                     6/11
                        4/01




                                                                                                                                                                     3/11
                        3/01

                               9/01

                                      3/02

                                             9/02

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                                                                                                     9/06

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                                                                                                                                                       3/10

                                                                                                                                                              9/10
                        Note periods where the Index goes to cash:                                    (BIL)               (IEF)
                         Source: Morningstar, F-Squared Investments. Copyright 2009 ~ Patents pending. Allocations presented for each
                         ETF represent the allocation for the majority of time during the stated period and do not necessarily represent the
                         weight for any specific date. Allocations are rounded for presentation purposes.
                                                                                                                                                                                                                     2



                         ETF Universe (By Sleeve):
                         The AlphaSector Allocator Premium Index Covers all Major Asset Classes

                               U.S. Equity ETFs                                                             Fixed Income ETFs
                               Consumer Discretionary                             XLY                       7-10 year Treasury Bond                           IEF
                               Consumer Staples                                   XLP                       AAA Corp Bond                                     LQD
                               Energy
                               Financials
                                                                                  XLE
                                                                                  XLF
                                                                                                            High Yield
                                                                                                            Municipals             30%                        HYG
                                                                                                                                                              MUB
                               Healthcare
                               Industrials
                                                       36%                        XLV
                                                                                  XLI
                                                                                                            Mortgages                                         MBB


                               Materials                                          XLB                       Alternative ETFs
                               Technology                                         XLK                       Gold                                              GLD
                               Utilities                                          XLU                       Real Estate
                                                                                                            S&P 500
                                                                                                                                   10%                        IYR
                                                                                                                                                              SPY
                               International Equity ETFs


                                                           24%
                               EAFE (Developed Markets)                           EFA                       Cash Equivalent
                               Emerging Markets                                   EEM                       Short-term Treasuries                             BIL



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Important Disclosures
ALPHASECTOR ALLOCATOR PREMIUM INDEX:
The AlphaSector Allocator Premium Index is owned and published by Active Index Solutions, LLC (“AIS”). The
AlphaSector Allocator Premium Index is a quantitatively driven index that applies a weekly trading protocol to
the nine Select Sector SPDRs, a Treasury exchange traded fund, two international ETFs, five fixed income
ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful
in achieving returns similar to the AlphaSector Allocator Premium Index, and in fact client returns may be
significantly lower than the index returns after actual fees are taken into account, including management fees,
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market.
It is a total returns index that is a time-varying weighted average of stocks, bonds, and cash. The index is
the efficient allocation of stocks, bonds, and cash in a portfolio whose semideviation is 60% of the annualized
36-month historic semideviation of the Dow Jones Aggressive Portfolio Index. Stocks are represented by the
Dow Jones Aggressive Portfolio Index. Bonds are represented by an equal weighting of the following four bond
indexes with monthly rebalancing: BarCap Government Bonds Index, BarCap Corporate Bonds Index, BarCap
Mortgage-backed Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day
T-Bill Auction Average. The efficient portfolio is updated monthly. Presentation of Index data does not reflect a
belief by Navellier that any stock index constitutes an investment alternative to any Navellier equity strategy
presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest
directly in an index. Among the most important differences between the Indices and Navellier strategies are
that the Navellier equity strategies may (1) incur material management fees, (2) concentrate investments in
relatively few ETFs, industries, or sectors, (3) have significantly greater trading activity and related costs, and (4)
be significantly more or less volatile than the Indices. The secondary benchmark for the composite is a blended
benchmark using the following indices: S&P 500 (45%), MSCI World ex U.S. (25%), and Barclays Capital U.S.
Aggregate Bond Index (30%). The benchmark is rebalanced daily. The S&P 500 Index measures the performance
of the 500 leading companies in leading industries of the U.S. economy, focusing on the large cap segment of the
market, with approximately 75% coverage of U.S. equities. The MSCI World ex U.S. Index is a free float-adjusted
market capitalization weighted index that is designed to measure the equity market performance of developed
markets. As of June 2011, the MSCI World ex U.S. Index consisted of the following 23 developed market country
indices: Australia, Austria, Belgium, Canada, Denmark, Finland, France, Germany, Greece, Hong Kong, Ireland,
Israel, Italy, Japan, the Netherlands, New Zealand, Norway, Portugal, Singapore, Spain, Sweden, Switzerland,
and the United Kingdom. MSCI World ex U.S. Index targets 85% of the free float adjusted market capitalization.
The Barclays Capital U.S. Aggregate Bond Index is a broad-based benchmark that measures the investment
grade, U.S. dollar-denominated, fixed-rate taxable bond market, including Treasuries, government-related and
corporate securities, MBS (agency fixed-rate and hybrid ARM passthroughs), ABS, and CMBS.
Potential investors should consult with their financial advisor before investing in any Navellier Investment
Product. Investment in equity strategies involves substantial risk and has the potential for partial or complete
loss of funds invested.



About Vireo                                                                                      800.887.8671
Vireo Portfolio Sponsor                                                                     Navellier & Associates
Navellier & Associates                                                                 One East Liberty, Third Floor,
                                                                                             Reno, Nevada 89501
Model Portfolio Management
F-Squared Investments/Active Index Solutions, LLC
Total Product Assets: $283 million
Benchmark: Dow Jones Moderate Global Index & AlphaSector Allocator Blended Index
Objective: The AlphaSector Allocator Premium Index seeks to limit losses during severe market
downturns while fully participating in up markets.
Investment Process: The AlphaSector Allocator Premium Index utilizes a highly disciplined,
quantitative process to assess forward-looking risk across all major asset classes. Using widely
available ETFs, the portfolio will re-allocate between individual sectors and asset classes whenever the
risk is deemed too great. When conditions warrant, the portfolio can go to cash.

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           Introducing Vireo
           An exciting, new, defensive ETF portfolio

           Vireo AlphaSector Allocator Premium Portfolio



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          AlphaSector Allocator Premium Index provides investors critical
          benefits rarely seen in long-only strategies
         • Alpha is expressed where it is needed the most

                  – Traditional managers attempt to deliver their highest alpha in strong bull markets

                       • Traditional portfolios typically exhibit underperformance or modest
                            outperformance in bear markets

                  – AlphaSector Allocator Premium Index has historically delivered consistent alpha in
                    “normal” markets and highest alpha in negative markets
                       • However,, the portfolio
                                       p         can lag
                                                       g in strong
                                                                 g bull markets

         • AlphaSector Allocator Premium has the potential to improve consistency of
              returns across multiple markets

         • Live track record for U.S. equity sleeve – stress tested across two bear markets
                    • Live assets began tracking the strategies:
                         U.S. Equity – April 1, 2001                                                          International – May 1, 2009
                         Fixed Income – December1,
                                         December1 2009                                                       Alternatives – December 11, 2009

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                                 Limiting risk in down markets and participating in up markets

                                 AlphaSector Allocator Premium Index is designed to consistently outperform the Dow
                                 Jones Moderate Global Index and outperform cash

                                    • Quality downside risk management, especially in weak markets
                                    • Powerful but simple story, and uses NO derivatives, leverage, or shorting                                                                             As of Jun 2011
                                                                                                                                                                                              vs.                   vs.
                                                                                                                                                                         AlphaSector               AlphaSector
                                                                                                                                                                          Allocator                 Allocator
                                                                                                                                                                                             DJ                AlphaSector
                                  Al h S t Allocator
                                  AlphaSector All t Premium
                                                     P  i   Index
                                                            I d Performance
                                                                  P f                                                                                                      P
                                                                                                                                                                           Premium
                                                                                                                                                                                i
                                                                                                                                                                                          Moderate
                                                                                                                                                                                                     P
                                                                                                                                                                                                     Premium
                                                                                                                                                                                                          i
                                                                                                                                                                                                                Allocator
                                                                Apr 2001 – Jun 2011                                                                                      Index (Pure               Index (Pure
                                                                                                                                                                                           Global                Blended
                    400                                                                                                                                                     Gross)                    Gross)
                                                                                                                                                                                           Index                  Index
                                                                                                                                                        Cum. Return        262.4%           99.0%        262.4%     66.6%
                    350                                                                                                          AlphaSector
                                                                                                                                 AlphaSector
                                                                                                                                 Allocator                1 Yr Return       22.9%           20.8%         22.9%     22.4%
                                                                                                                                 Allocator
                                                                                                                                 Premium Index
                                                                                                                                 Premium   Index          3 Yr Return       14.9%           5.5%          14.9%     3.7%
                    300                                                                                                          (Pure Gross)
                                                                                                                                 (Pure Gross)
                                                                                                                                                          5 Yr Return       15.2%           5.4%          15.2%     4.3%
Cumulative Return




                                                                                                                                 DJ Moderate
                                                                                                                                 DJ Moderate
                    250                                                                                                          Global Index
                                                                                                                                 Global
                                                                                                                                                     Max Drawdown           -8.2%          -35.1%         -8.2%     -39.3%
                    200                                                                                                          AlphaSector
                                                                                                                                 Allocator Blended          Std. Dev.        7.3%           10.7%         7.3%      11.4%
                                                                                                                                 AlphaSector
                                                                                                                                 Index
                    150                                                                                                          Allocator                      Alpha        9.7%            N/A          10.8%      N/A
C




                                                                                                                                 Blended Index
                                                                                                                                                          R-Squared          51%             N/A           52%       N/A
                    100                                                                                                                                          Beta        0.5%            N/A          0.5%       N/A
                                                                                                                                                Ann. Excess Return           6.4%            N/A          8.3%       N/A
                     50
                          4/01




                                                                                                                                              5 Yr Up Capture Ratio         100%             N/A           93%       N/A
                                                                                                                       6/11
                          3/01


                                   3/02


                                            3/03


                                                      3/04


                                                               3/05


                                                                        3/06


                                                                                  3/07


                                                                                           3/08


                                                                                                    3/09


                                                                                                              3/10


                                                                                                                       3/11




                                                                                                                                          5 Yr Down Capture Ratio              38%            N/A          33%       N/A
                                                                                                                                                                        All returns over one year are annualized.


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                                    Distribution of annual returns since inception shows the
                                    reduction in losses that has been incurred
                                  AlphaSector Allocator Premium Index vs. Dow Jones
                                     Moderate Global Index, AlphaSector Allocator
                                            Blended Index, and S&P 500
                                             Distribution of Rolling 12-Month Returns 4/2001 to 6/2011
                           35


                           30
                                                                                                                                                                    AlphaSector               AlphaSector
Frequenccy of Occurrence




                                                                                                                                                                      Allocator  DJ Moderate   Allocator
                                                                                                                                                                                                            S&P 500
                           25             Significant Reduction in                                                                                                 Premium Index Global Index   Blended
                                                                                                                                                                    (Pure Gross)                 Index
                                             Tail Risk – risk an
                           20             unexpected risk occurs                                                                                   Maximum
                                                                                                                                                                        33.84%      39.42%      40.00%      53.62%
                                                                                                                                                     Return
                           15
                                                                                                                                                    Minimum
                                                                                                                                                                         -0.69%    -30.38%      -33.85%     -43.32%
                                                                                                                                                      Return
                           10
                                                                                                                                                      Percent
                                                                                                                                                                          99%        75%         71%          69%
                                                                                                                                                      Positive
                            5


                            0
                                -45%       -35%        -25%           -15%           -5%          1%         10%             20%   30%   40%

                                               AlphaSector Allocator Premium Index (Pure Gross)   DJ Moderate Global Index
                                               AlphaSector Allocator Blended Index                S&P 500




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                   AlphaSector Allocator Premium includes or excludes sectors in the
                   portfolio through disciplined re-allocation and diversification
                400%
                 100%
                                                                                                                                                                                 Utilities (XLU)       Financials (XLF)
U.S. Equitty




                                                                                                                                                                                 Technology (XLK)      Energy (XLE)
                  50%
                350%                                                                                                                                                             Materials (XLB)       Cons. Staples (XLP)
                                                                                                                                                                                 Healthcare (XLV)      Cons. Disc. (XLY)
                                                                                                                                                                                 Industrials (XLI)     Short Term
                  0%
                300%                                                                                                                                                                                   Treasuries (BIL)
                100%
          nal
Internation




                                                                                                                                                                                 Emerging Markets (EEM)
                  50%
                250%                                                                                                                                                             EAFE (EFA)

                                                                                                                                                                                 Short Term
                                                                                                                                                                                 Treasuries (BIL)
                  0%
                200%
                 100%
         ves




                                                                                                                                                                                 Real Estate ((IYR))
Alternativ




                                                                                                                                                                                 Gold (GLD)
                  50%
                150%
                                                                                                                                                                                 S&P 500 (SPY)
                                                                                                                                                                                 Short Term
                   0%                                                                                                                                                            Treasuries (BIL)
                100%
                 100%                                                                                                                                                            AAA (LQD)
Fixed Income




                                                                                                                                                                                 High Yield (HYG)
                 50%
                50%                                                                                                                                                              Mortgages (MBB)
                                                                                                                                                                                 Municipals (MUB)
                                                                                                                                                                                 7-10 Year Treasuries (IEF)
                  0%
                  0%




                                                                                                                                                                          6/11
                        4/01




                                                                                                                                                                          3/11
                        3/01

                               9/01

                                      3/02

                                             9/02

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                                                                                         9/05

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                                                                                                                      9/07

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                                                                                                                                                                   9/10
                        Note periods where the Index goes to cash:                                            (BIL)                 (IEF)
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Important Disclosures
Navellier Vireo AlphaSector Allocator Premium is a new strategy that attempts to track an index known as the AlphaSector Allocator
Premium Index, owned and published by Active Index Solutions, LLC (“AIS”).
                                                                       ( AIS ). The AlphaSector Allocator Premium Index is a quantitatively
driven index that applies a weekly trading protocol to nine Select Sector SPDRs, a Treasury exchange traded fund, two international
ETFs, five fixed income ETFs, two “alternative” ETFs, and a S&P 500 SPDR. There is no guarantee that the advisor will be successful in
achieving returns similar to the AlphaSector Allocator Premium Index, and in fact, client returns will be significantly lower than the index
returns after actual fees are taken into account, including management fees, brokerage or transaction costs, or other administrative or
custodian fees a client may incur.

             q y sleeve” referenced in the materials refers to the AlphaSector
The “U.S. equity                                                      p         Premium Index,, with the strategy
                                                                                                               gy that the AlphaSector
                                                                                                                             p
Premium Index is based on having an inception date of April 1, 2001. The process of converting the active strategy to an index implies
that the returns presented, while not back-tested, reflect theoretical performance an investor would have obtained had it invested in the
manner shown and does not represent returns that an investor may have actually attained, as an investor cannot invest directly into an
index. Theoretical and hypothetical performance have many inherent limitations. The performance is adjusted to reflect the reinvestment
of dividends.

AlphaSector Allocator Premium Index is the exclusive property of F-Squared Investments, Inc. and AIS. AIS calculates and publishes the
value of the index on a monthly basis. Source: Morningstar Direct. Although AlphaSector Indexes do not short securities nor utilize
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b AIS or F
by          F-Squared,
              S      d andd AIS anddFF-Squared
                                       S      dddo nott make
                                                          k any representation
                                                                          t ti regarding
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                                                                                         th advisability
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directly invest in an index. Index returns presented represent past performance and are not a guarantee of future results or indicative of
any specific investment.




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Zephyr                      p y not related to Navellier. Although
                                                                 g information contained in the report
                                                                                                     p has been obtained from Zephyr p y
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The Dow Jones Moderate Global Index is a benchmark that takes 60% of the risk of the global securities market. It is a total returns index
that is a time-varying weighted average of stocks, bonds, and cash. The index is the efficient allocation of stocks, bonds, and cash in a
portfolio whose semideviation is 60% of the annualized 36-month historic semideviation of the Dow Jones Aggressive Portfolio Index.
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Bonds Index, and BarCap Majors (ex U.S.) Bonds Index. Cash is represented by the 91-Day T-Bill Auction Average. The efficient portfolio
is updated monthly.

The S&P 500 Index measures the performance of 500 stocks that are considered to be widely held by Standard & Poors, a division of
The McGraw-Hill Companies, Inc., and comprises approximately three-quarters of the total capitalization of companies publicly traded in
the United States. The S&P 500 Index is weighted by market value and its performance is thought to be representative of the stock
market as a whole. It is reported that over 70% of all U.S. equity funds are tracked by the S&P 500. The index selects its companies
based upon their market size, liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is
composed of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500 one of the most
important benchmarks available to judge overall U U.S.
                                                     S market performance
                                                               performance.

Presentation of Index data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor cannot invest directly in an
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AlphaSector Allocator Premium Index
Performance Evaluation
                                                                                                                                                             Currency                Benchmark 1                         Benchmark 2           Morningstar Category
                                                                                                                                                             USD                     DJ Moderate TR USD                  S&P 500 TR            —




 Return vs. Peer Group                                                                                                                                                                          Trailing Returns as of 7/31/2011
                                                                                                                                       71           Subject Investment                                                                 Inv %     Bmark 1%    Bmark 2%
                                                                                                                                                    Benchmark 1                                YTD                                     4.08         3.99         3.87
                                                                                                                                       42           Benchmark 2
                                                                                                                                                                                               1 Month                              -0.77           -0.39       -2.03
                                                                                                                                                    Peer Group
                                                                                                                                                                                               3 Months                             -2.33           -1.92       -4.76
                                                                                                                                                    Open End Funds
                                                                                                                                       13                                                      6 Months                              3.47            3.22        1.46
                                                                                                                                                    U.S. - Moderate Allocation
                                                                                                                                                    Top Quartile                               1 Year                               14.78          14.61        19.65
                                                                                                                                      -16           2nd Quartile                               2 Years                              14.77          13.84        16.71
                                                                                                                                                    3rd Quartile                               3 Years                              15.27           5.61         2.92
                                                                                                                                      -45
                                                                                                                                                    Bottom Quartile                            4 Years                              14.21           3.27        -0.78
                                                                                                                                                    90% of Category                            5 Years                              14.73           5.25         2.39
  2002          2003         2004          2005         2006         2007         2008         2009          2010 2011-07                       History                                        10 Years                             13.14           6.72         2.61
   5.58         21.88        14.64         10.74        15.39        15.49         3.32        29.38         12.61          4.08                Subject Investment
  -7.05         27.17        13.15          7.25        11.91         8.02       -24.75        23.79         13.95          3.99                Benchmark 1                                     Return/Risk Analysis 4/1/2001 to 7/31/2011
 -22.10         28.68        10.88          4.91        15.79         5.49       -37.00        26.46         15.06          3.87                Benchmark 2                                                                              Inv      Bmark 1     Bmark 2
 -10.45         20.76         9.15          5.16        11.55         6.43       -27.16        24.06         12.08          3.34                Peer Group Avg                                 Cumulative Return                   259.34          98.16        35.60
   9.23         66.82        57.19         14.02        20.59        26.49        -1.68        48.95         24.42         14.22                Best                                           Standard Deviation                    7.29          10.68        15.77
  -7.75         23.24        10.59          6.39        12.46         8.04       -24.88        27.56         13.34          3.99                25th Percentile                                Sharpe Ratio                          1.52           0.45         0.06
 -10.19         21.02         9.04          5.16        11.39         6.33       -27.26        23.80         11.96          3.37                50th Percentile                                Sortino Ratio                         3.12           0.63         0.08
 -13.04         18.05         7.58          3.77        10.26         4.39       -30.05        20.29         10.73          2.78                75th Percentile                                Calmar Ratio                          1.61           0.20         0.06
 -37.18         11.66        -1.90         -2.27        -0.97        -6.58       -42.61        -5.13         -8.65         -9.90                Worst
                                                                                                                                                                                               Best Month                            6.81           8.24         9.57
        —           —            —             —            —            —            —             —             —           —                 Gross Expense Ratio                            Worst Month                          -5.86         -13.63       -16.79
                                                                                                                                                                                               Best Quarter                         14.44          14.23        15.93
                                                                                                                                                                                               Worst Quarter                        -7.13         -12.71       -21.94
 Rolling Performance 36 months per calculation                                                                                                                                                 % of Up Month                        69.35          62.90        62.10
   53                                                                                                                                                                                          % of Down Month                      30.65          37.10        37.90
                                                                                                                                                                                               Avg Monthly Gain                      2.09           2.35         3.04
   35                                                                                                                                                                                          Avg Monthly Loss                     -1.30          -2.42        -4.18
                                                                                                                                                                                               Gain Std Dev                          5.18           5.78         8.73
                                                                                                                                                                                               Loss Std Dev                          4.09           9.00        12.09
   17
                                                                                                                                                                                               Longest Up Streak (Mo)                  14             13           8
                                                                                                                                                                                               Run Up %                             26.21          35.03       31.57
   -1
                                                                                                                                                                                               Start Date                          1/2003         3/2003      9/2010
                                                                                                                                                                                               End Date                            2/2004         3/2004      4/2011
  -19
                2004                 2005                    2006                   2007                    2008                   2009                    2010               2011             Longest Down Streak (Mo)        5                        5          5
                                                                                                                                                                                               Run Down %                  -5.03                    -7.32     -13.83
                                                                                                                                                                                               Start Date                6/2008                  11/2007    11/2007
         Name                                 Total # of              % in Top             % in 2nd             % in 3rd            % in Btm             % Above             % Above           End Date                 10/2008                   3/2008     3/2008
                                             Calculations             Quartile             Quartile             Quartile             Quartile            Bmark 1             Bmark 2           Max Drawdown (Mo)                         2             16         16
         Subject Investment                            89              60.67                  0.00                0.00                 0.00               94.38                96.63           Max Drawdown (%)                      -8.20         -35.06     -50.95
         Benchmark 1                                   89              94.38                  5.62                0.00                 0.00                  —                    —            Peak Date                           5/2010        11/2007    11/2007
         Benchmark 2                                   89              33.71                  5.62               11.24                49.44                  —                    —            Valley Date                         6/2010         2/2009     2/2009

                                                                                                                                                                                                Relative Performance 4/1/2001 to 7/31/2011
Information Ratio
                                                                                                                                                                                                                                                  Bmark 1     Bmark 2
    5
                                                                                                                                                                                               Excess Return                                        6.33        10.19
    3                                                                                                                                                                                          Alpha                                                8.12         9.97
                                                                                                                                                                                               Beta                                                 0.49         0.32
    1
                                                                                                                                                                                               R-Squared                                           51.51        46.66
   -1                                                                                                                                                                                          Tracking Error                                       7.46        12.04
               2004                 2005                    2006                   2007                    2008                    2009                    2010               2011
                                                                                                                                                                                               Information Ratio                                    0.85         0.85
                                                                                                                                                                                               Treynor Ratio                                       22.64        35.07

Tracking Error                                                                                                                                                                                 Up Capture Ratio                                    90.95        69.78
   19                                                                                                                                                                                          Down Capture Ratio                                  33.02        17.25
                                                                                                                                                                                               Up Number Ratio                                      0.95         0.94
   13                                                                                                                                                                                          Down Number Ratio                                    0.74         0.70
                                                                                                                                                                                               Up Percentage Ratio                                  0.59         0.38
    7
                                                                                                                                                                                               Down Percentage Ratio                                0.74         0.91
    1
               2004                 2005                    2006                   2007                    2008                    2009                    2010               2011




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AlphaSector Premium Index are based on having an inception date of April 1, 2001. The process of
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Theoretical and hypothetical performance has many inherent limitations. The performance is adjusted to
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Performance Evaluation                                                                                                                         Best/Worst
Disclosure Statement                                                                                                                           This section illustrates the distribution of returns across the peer group.
                                                                                                                                               The Best and Worst figures represent the highest and lowest return for
                                                                                                                                               any investment in the peer group. The returns for percentiles between
                                                                                                                                               Best and Worst are determined based on the range of returns in the group.
Use of the Performance Evaluation report requires expert knowledge. It                                                                         Gross Expense Ratio
is to be used by specialist institutions only. The information contained                                                                       Gross Expense Ratio represents the total gross expenses (net expenses
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may not be copied, adapted or distributed; and (3) is not warranted to be                                                                      it is not equal to the net expense ratio, the gross expense ratio portrays
accurate, complete or timely. Neither Morningstar nor its content                                                                              the fund's expenses had the fund not waived a portion, or all, of its fees.
providers are responsible for any damages or losses arising from any use                                                                       Thus, to some degree, it is an indication of fee contracts. Some fee
of this information, except where such damages or losses cannot be                                                                             waivers have an expiration date; other waivers are in place indefinitely.
limited or excluded by law in your jurisdiction.
                                                                                                                                               Rolling Performance
When the Performance Evaluation report is used as supplemental sales                                                                           Rolling return evaluates consistency of return. Each bar represents the
literature, it must be preceded or accompanied by the investment's                                                                             rolling return of the peer group as of the date represented on the horizontal
current prospectus and disclosure statement.                                                                                                   axis for the time period indicated in the graph subtitle. The rolling returns
                                                                                                                                               for the investment and benchmarks overlay the bars.
Past financial performance is no guarantee of future results. Morningstar
is not a FINRA-member firm.                                                                                                                    Total # of Calculations
                                                                                                                                               Based on the date range and rolling window length specified for the report,
Print Date                                                                                                                                     this is the number of calculations made for the peer group and each
This is the date the report was generated.                                                                                                     investment and benchmark depicted in the rolling performance graph.

Currency                                                                                                                                       % in Quartile
Unless otherwise specified or disclosed, the currency used for data in the                                                                     The percentage in Top, 2nd, 3rd, and Btm Quartiles represents how often
report is US Dollar (USD).                                                                                                                     the rolling returns of the subject investment and benchmarks land in each
                                                                                                                                               of the quartiles of the rolling returns of the peer group.
Benchmark
S&P 500 TR                                                                                                                                     % Above Benchmarks
                                                                                                                                               The figures for % Above Bmark 1 and 2 represent how often the rolling
No definition available for this benchmark.                                                                                                    return for the subject investment exceeds the rolling return for the
Morningstar Category                                                                                                                           benchmark.
In an effort to distinguish investments by what they own, as well as by
their prospectus objectives and styles, Morningstar developed the                                                                              Information Ratio and Tracking Error Graphs
Morningstar Categories. While the prospectus objective identifies an                                                                           These graphs illustrate the historical movement of the information ratio
investment's goals based on the wording in its prospectus, the                                                                                 and tracking error versus each benchmark for up to 72 months.
Morningstar Category identifies investments based on their actual
investment styles as measured by their underlying portfolio holdings                                                                           Information ratio measures a manager's ability to consistently add value
(portfolio and other statistics over the past three years).                                                                                    relative to the selected benchmark. The ratio is composed of excess return
                                                                                                                                               and tracking error. The higher the information ratio, the better, as this
No definition available for this category.                                                                                                     indicates a large excess return against a small tracking error. The
Peer Group                                                                                                                                     information ratio measures the consistency with which a manager
The peer group is defined by an adjustable user setting. It may be a                                                                           delivers his alpha.
Morningstar Category or any user-defined group of investments. If a user-
defined peer group is selected, it will be designated on the report as a                                                                       Tracking error is the divergence between the price behavior of an
Custom List.                                                                                                                                   investment and the price behavior of a benchmark. Tracking error is
                                                                                                                                               reported as a standard deviation percentage difference.
Annual and Trailing Returns
Expressed in percentage terms, Morningstar's calculation of total return                                                                       Return/Risk Analysis
is determined each month by taking the change in monthly net asset                                                                             Data points in this area are calculated for the time period displayed in the
value, reinvesting all income and capital-gains distributions during that                                                                      section heading.
month, and dividing by the starting NAV. Reinvestments are made using
the actual reinvestment NAV, and daily payoffs are reinvested monthly.                                                                         Cumulative Return
Unless otherwise noted, Morningstar does not adjust total returns for                                                                          Cumulative return is the total money-weighted return of the investment.
sales charges (such as front-end loads, deferred loads and redemption
fees), preferring to give a clearer picture of an investment's performance.                                                                    Standard Deviation
The total returns do account for management, administrative, 12b-1 fees                                                                        Standard deviation is a statistical measurement of dispersion about an
and other costs taken out of investment assets. Total returns for periods                                                                      average, which, for an investment, depicts how widely the returns varied
longer than one year are expressed in terms of compounded average                                                                              over the time period indicated. Morningstar computes standard deviation
annual returns (also known as geometric total returns), affording a more                                                                       using the trailing monthly total returns for the time period. All of the
meaningful picture of investment performance than non-annualized                                                                               monthly standard deviations are then annualized.
figures.
                                                                                                                                               Sharpe Ratio
Peer Group Average                                                                                                                             Sharpe ratio is calculated by taking the investment's average monthly
This figure is calculated by taking the average of the returns, equally                                                                        excess return over the user-defined risk-free rate and dividing by the
weighted, for all the investments in the chosen peer group.                                                                                    monthly standard deviation of excess returns to determine reward per

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unit of risk. A higher Sharpe ratio reflects better historical risk-adjusted                                                                   Beta is a measure of an investment's sensitivity to movements in a
performance.                                                                                                                                   benchmark. A portfolio with a beta greater than one is more volatile than
                                                                                                                                               the benchmark, and a portfolio with a beta less than one is less volatile
Sortino Ratio                                                                                                                                  than the benchmark.
Sortino ratio is similar to Sharpe ratio except that it uses downside risk
(downside deviation) in the denominator. Because upside variability is not                                                                     R-Squared
necessary a bad thing, the Sortino ratio is sometimes preferable to the                                                                        R-squared reflects the percentage of an investment's movements that
Sharpe ratio. It measures the annualized rate of return for a given level of                                                                   are explained by movements in the benchmark, showing the degree of
downside risk.                                                                                                                                 correlation between the investment and the benchmark. A score of 1.00
                                                                                                                                               means that the investment exactly tracked the benchmark's movement.
Calmar Ratio                                                                                                                                   This figure is also helpful in assessing how likely it is that alpha and beta
Calmar ratio often applied to hedge funds and used to determine return                                                                         are statistically significant.
relative to downside risk. A higher Calmar ratio reflects better historical
risk-adjusted performance.                                                                                                                     Tracking Error
                                                                                                                                               Tracking error is the divergence between the price behavior of an
Best/Worst Month                                                                                                                               investment and the price behavior of a benchmark. Tracking error is
Shows the actual highest/lowest monthly return that occurred during the                                                                        reported as a standard deviation percentage difference.
time period.
                                                                                                                                               Information Ratio
Best/Worst Quarter                                                                                                                             Information ratio measures a manager's ability to consistently add value
Shows the highest/lowest return for a calendar year quarter that occurred                                                                      relative to the selected benchmark. The ratio is composed of excess return
during the time period.                                                                                                                        and tracking error. The higher the information ratio, the better, as this
                                                                                                                                               indicates a large excess return against a small tracking error. The
% of Up/Down Month                                                                                                                             information ratio measures the consistency with which a manager
The percentage of months with positive/negative returns.                                                                                       delivers his alpha.

Average Monthly Gain/Loss                                                                                                                      Treynor Ratio
A geometric average of the monthly return periods with a positive/                                                                             Treynor Ratio is a risk-adjusted measure of return based on systematic
negative return.                                                                                                                               risk. It is similar to the Sharpe ratio with the difference being that it uses
                                                                                                                                               beta as the measurement of volatility. In using beta, the Treynor ratio
Gain/Loss Standard Deviation                                                                                                                   assumes a portfolio is fully diversified and all unsystematic risk has been
The standard deviation of positive/negative monthly returns.                                                                                   eliminated. Investors should look for a higher Treynor number, especially
                                                                                                                                               relative to an investment's benchmark, indicating a higher level of return
Longest Up/Down Streak (Mo)                                                                                                                    per unit of risk.
The number of months representing the longest period of consecutive
positive/negative returns.                                                                                                                     Upside/Downside Capture Ratio
                                                                                                                                               Upside/Downside capture is a measure of the manager's performance in
Run Up/Down%                                                                                                                                   periods when the benchmark has positive/negative returns. In essence,
The cumulative return of the months included in the up/down streak.                                                                            it tells you what percentage of the up/downmarket, as represented by
                                                                                                                                               the benchmark return, was captured by the manager.
Start/End Date
The start and end dates for the up/down streak.                                                                                                Up/Down Number Ratio
                                                                                                                                               Up/Down number ratio is a measure of the number of periods that the
Maximum Drawdown                                                                                                                               investment has positive/negative returns corresponding with positive/
The peak to trough decline during a specific record period for the                                                                             negative returns for the benchmark. A larger/smaller ratio is better.
investment. We display both the number of months between the peak
and trough and the corresponding percentage change during that period.                                                                         Up/Down Percentage Ratio
                                                                                                                                               Up/Down percentage ratio is a measure of the number of periods that the
Peak/Valley Date                                                                                                                               investment outperformed/underperformed the benchmark when the
The start and end dates for the maximum drawdown period.                                                                                       benchmark had positive/negative returns. A larger/smaller ratio is better.

Relative Performance
Data points in this area are calculated for the time period displayed in the
section heading.

Excess Return
Excess return is a measure of the investment's return in excess of the
benchmark's return.

Alpha
Alpha measures the difference between an investment's actual returns
and its expected performance, given its level of risk as measured by beta.
A positive alpha figure indicates the investment has performed better
than its beta would predict. In contrast, a negative alpha indicates that
the investment underperformed, given the expectations established by
its beta. Alpha is often seen as a measure of the value added or subtracted
by a portfolio manager.

Beta
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                                                                                                           AlphaSectorTM                  2Q
                                                                                                      Premium Index 2011
                                                                                                                       (Equity)
        Vireo is a unique suite of investment strategies with a single-minded focus: limiting losses
                   ™
                                                                                                                                          S u p p l e m e n ta l
        during extended market downturns. For today’s investor, what you make is not nearly as
        important as what you keep! Based on the AlphaSector Indexes, owned and published by                                              I n f o r m at i o n
        Active Index Solutions LLC, this strategy, known as defensive allocation, also allows Vireo to
        deliver improved returns in up markets by constantly working from a position of strength (i.e.,
        the portfolio’s attempt to avoid losses before making new gains). The Vireo portfolios are
        designed to deliver attractive risk-adjusted returns through multiple investment markets via
        diversification and defensive re-allocation, including the use of cash.



        AlphaSector Premium Portfolio Key Features

        • Invests in the nine Select Sector SPDR ETFs and cash

        • Uses NO shorting, leverage, inverse ETFs, or exotic derivative investments

        • Focuses primarily on downside risk management, especially in weak markets

        • Under extreme market conditions, the portfolio can build and hold substantial cash
          positions to avoid losses

        • Participates in rising markets with the ability to outperform in up markets

        • 100% quantitiative process, highly disciplined, weekly calculation




        AlphaSector Premium Index Performance
         Growth of 100 Dollars from 4/1/2001 - 6/30/2011


$400

$350

$300

$250

$200

$150

$100

$50
                 12-01
       4-01




                                                                                                                                   6-11
                             12-02




                                        12-03




                                                                12-05




                                                                                       12-07




                                                                                                   12-08




                                                                                                               12-09
                                                       12-04




                                                                           12-06




                                                                                                                           12-10




              AlphaSector Premium Index (Pure Gross)           S&P 500




         Sources: Zephyr StyleADVISOR, F-Squared Investments, Inc. Performance results presented herein do not
         necessarily indicate future performance. Investment in equity strategies involves substantial risk and has the potential
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Extreme losses can destroy any investment plan.                                                                                                        S u p p l e m e n ta l
                                        Gain Required                                  Capital                      Years Required                     I n f o r m at i o n
            Loss
                                         to Recover                                     Gap                        for Full Recovery
          -10.0%                               11.1%                                     1.1%                                  1.0
          -10.1%                               11.2%                                     1.1%                                  1.0
          -20.0%                               25.0%                                     5.0%                                  2.0
          -30.0%                               42.9%                                    12.9%                                  3.3
          -40.0%                               66.7%                                    26.7%                                  4.7
          -50.0%                              100.0%                                    50.0%                                  6.3
          -51.0%                              104.1%                                    53.1%                                  6.5

In less than one year (5/18/2008 - 3/7/2009), the S&P 500 lost -51%; full recovery
requires a gain of 104%. During the same period, AlphaSector Premium Index
only lost -10%; full recovery requires a gain of 11%.
Source: NASDAQ OMX, Morningstar, Active Index Solutions.


 Performance Returns                                                        Return/Risk Analysis
                                     AlphaSector                S&P                                             AlphaSector               S&P
 Annualized Returns                                                                    4/1/2001 to
                                    Premium Index               500                                            Premium Index              500
 through 6/30/11                                                                        6/30/2011
                                     (Pure Gross)              Index                                            (Pure Gross)             Index

 2nd Quarter                               0.92%              0.10%         Best Month                              10.12%               9.57%

 Year-to-Date                              6.97%              6.02%         Worst Month                              -7.85%            -16.79%

 Trailing 1 Year                         36.09%              30.69%         % of Up Month                               68%                63%

 Trailing 3 Years                        15.23%               3.34%         % of Down Month                             32%                37%

 Trailing 5 Years                        15.92%               2.94%         Maximum Drawdown (%)                   -13.25%             -50.95%

 Trailing 10 Years                       13.66%               2.72%

 Since Inception (4/1/01)                13.79%               3.22%
 Cumulative Return                      275.78%              38.41%
 (4/1/01-6/30/11)

 Yearly Returns                                                             Comparative Return/Risk Analysis
                                     AlphaSector                S&P                                             AlphaSector               S&P
                                                                                       4/1/2001 to
                                    Premium Index               500                                            Premium Index              500
                                                                                        6/30/2011
                                     (Pure Gross)              Index                                            (Pure Gross)             Index

 2010                                    17.90%              15.06%         Alpha(2)                                12.02%                0.00%

 2009                                    32.31%              26.46%         Beta (2)
                                                                                                                      0.48%               1.00%

 2008                                     -1.87%            -37.00%         Standard Deviation       (1)
                                                                                                                    10.60%               15.82%

 2007                                    14.97%               5.49%         R-Squared(2)                            51.41%             100.00%

 2006                                    16.69%              15.79%         Up Capture Ratio                        85.80%             100.00%

 2005                                      6.86%              4.91%         Down Capture Ratio                      41.50%             100.00%

 2004                                    14.88%              10.88%

 2003                                    24.81%              28.68%

 2002                                      5.33%            -22.10%

 2001 (9 months)                           5.99%             -0.03%
Source: Morningstar, F-Squared Investments, Zephyr StyleADVISOR.
(1)
    Annualized standard deviation since inception
(2)
    Calculated since inception vs. S&P 500 Index

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        Historical Diversification and Re-allocation                                                                                                              S u p p l e m e n ta l
        April 1, 2001 - May 31, 2011
        The Vireo AlphaSector Premium Index invests in the nine Select Sector ETFs and a cash equivalent,                                                         I n f o r m at i o n
        short-term Treasury ETF (“BIL”). Based upon a weekly risk assessment calculation, each sector may be
   ASP “turned on” or “turned off” and under certain circumstances, the portfolio has the potential to have a 100%
        allocation to the Treasury ETF (i.e., cash).
100%
                                                                                                                                                                   Utilities (XLU)
90%
                                                                                                                                                                   Technology (XLK)

80%                                                                                                                                                                Materials (XLB)
                                                                                                                                                                   Healthcare (XLV)
70%
                                                                                                                                                                   I d t i l (XLI)
                                                                                                                                                                   Industrials
                                                                                                                                                                   Financials (XLF)
60%
                                                                                                                                                                   Energy (XLE)
50%                                                                                                                                                                Cons. Staples (XLP)

                                                                                                                                                                   Cons. Disc. (XLY)
40%
                                                                                                                                                                   Short Term
                                                                                                                                                                   Treasuries (BIL)
30%

20%

10%

 0%




                                                                                                                                                           6/11
       3/01

              9/01

                     3/02

                            9/02

                                   3/03

                                          9/03

                                                 3/04

                                                        9/04

                                                               3/05

                                                                       9/05

                                                                              3/06

                                                                                     9/06

                                                                                            3/07

                                                                                                   9/07

                                                                                                          3/08

                                                                                                                 9/08

                                                                                                                        3/09

                                                                                                                               9/09

                                                                                                                                      3/10

                                                                                                                                             9/10

                                                                                                                                                    3/11
       4/01




        Note periods where the Index goes to cash:                                     (BIL)
       Source: Morningstar, F-Squared Investments. Copyright 2009 – Patents pending. Allocations presented for each ETF
       represent the allocation for the majority of time during the stated period and do not necessarily represent the weight for
       any specific date. Allocations are rounded for presentation purposes.
                                                                                                                                                                                         1


        ETF Universe:
       The AlphaSector Premium Portfolio Covers all of the S&P 500 Sectors


              U.S. Equity ETFs                                                              Cash Equivalent

              Consumer Discretionary                             XLY                        Short-term Treasuries                              BIL

              Consumer Staples                                   XLP

              Energy                                             XLE

              Financials                                         XLF

              Healthcare                                         XLV

              Industrials                                        XLI

              Materials                                          XLB

              Technology                                         XLK

              Utilities                                          XLU



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Premium Index is a quantitatively driven index that applies a weekly trading protocol to nine Select Sector SPDRs
and an exchange traded fund (“ETF”) representing 1-3 month Treasuries (ticker BIL). The index has the potential
to be invested in any combination of the nine SPDRs including all nine at the same time, a combination of sector
SPDRs and the Treasury ETF, or can be 100% invested in the Treasury ETF. There is no guarantee that the
advisor will be successful in achieving returns similar to the AlphaSector Premium Index, and in fact client returns
will be significantly lower than the index returns after fees are taken into account, including management fees,
brokerage or transaction costs, or other administrative or custodian fees a client may incur. One cannot directly
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capitalization of companies publicly traded in the United States. The S&P 500 Index is weighted by market value
and its performance is thought to be representative of the stock market as a whole. It is reported that over 70% of
all U.S. equity funds are tracked by the S&P 500. The index selects its companies based upon their market size,
liquidity, and sector. Most of the companies in the index are mid cap or large corporations. This index is composed
of 400 industrial, 20 transportation, 40 utility, and 40 financial companies. Many experts consider the S&P 500
one of the most important benchmarks available to judge overall U.S. market performance. Presentation of Index
data does not reflect a belief by Navellier that any stock index constitutes an investment alternative to any Navellier
equity strategy presented in these materials, or is necessarily comparable to such strategies and an investor
cannot invest directly in an index. Among the most important differences between the Indices and Navellier
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Potential investors should consult with their financial advisor before investing in any Navellier Investment Product.
Investment in equity strategies involves substantial risk and has the potential for partial or complete loss of funds
invested.




About Vireo                                                                                      800.887.8671
Vireo Portfolio Sponsor                                                                     Navellier & Associates
Navellier & Associates                                                                 One East Liberty, Third Floor,
                                                                                             Reno, Nevada 89501
Model Portfolio Management
F-Squared Investments/Active Index Solutions, LLC
Total Product Assets: $35 million
Benchmark: S&P 500 Index
Objective: The AlphaSector Premium Index seeks to limit losses during severe market downturns while
fully participating in up markets.
Investment Process: The AlphaSector Premium Index utilizes a highly disciplined, quantitative process
to assess forward-looking risk across each of the S&P 500 sectors. Using widely available ETFs, the
portfolio will re-allocate between these individual sectors whenever the risk is deemed too great. When
conditions warrant, the portfolio can go to cash.

www.vireoinvestments.com
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I can’t seem   to   find the 10 presentation, but here       is   the 402011 until I can track down the other. Have a great day. Thank
you.

Cheryl

Cheryl Czyz
Marketing Associate-Central Division


NAVELL1EIi
(Please note our addresshas changed)
Navellier & Associates
1 E Liberty, Suite 504, Reno, NV 89501
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775.785.9411, 775.562.8252 fax
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          • SEC registered investment adviser
             o Over $5 billion in assets under management or under model manager agreements

             0 Headquartered in Newton, MA

          • Founded with the mission of redefining how investment solutions can be
            reliably delivered to investors
          • Client goals drive investment philosophy
             0  Seek to align investment results with the real needs of investors:
                            —   Client-centric versus benchmark-centric
                                Target relative returns in bull markets, focus on risk of loss in bear markets
                   0    Investment asymmetry is the key to unlocking client-centric investing
                            Reject concept of “buy and hold”
                            —


U)
m                  0     Seek to consistently and repeatedly deliver on clearly defined investor expectations
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            •    Powerful but simple story, and uses NO derivatives, leverage, or shorting
       Cumulative Returns: Comparison vs. S&P 500                                   Returns as of December 31, 20111
      400
                                                                                                           AiphaSector
                 =AlphaSector Allocator Premium
                                                                                                            Allocator
      350                                                                                                   Premium      S&P 500

                 ~S&P 500 TR
                                                                                      Cumulative Return     246.2%       33.3%
      300
                                                                                           1 Year Return      0.3%        2.1%
                                                                                             3 Yr Return
      250                                                                                                    13.5%       14.1%
                                                                                           (Ann ualized)
                                                                                             5 Yr Return
      200                                                                                                    11.8%       -0.3%
                                                                                           (Annualized)
                                                                                           10 Yr Return
      150                                                                                                    12.6%        2.9%
                                                                                           (Annualized)
                                                                                     Standard Deviation
      100
                                                                                          Annual Excess
                                                                                                              9.5%        N/A
                                                                                                  Return
       50
CD                                                                                            R-Squared      46.4%        N/A
m
(7                                                                                            Maximum
z       0                                                                                                    -8.2%       -51.0%
0)
C                                                                                            Drawdown
CD
CD      Hill                           IIWflbVHI$#$fl                                  Up Capture Ratio       67%         N/A
m                                                                                   Down Capture Ratio~       19%         N/A
b     ‘April, 2001— December; 2011
0
0)    2Source: NASDQ OMX Morningstar; Active Index Solutions
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                                                              Annual Returns by Calendar Year
      40%-


                                           28.7%                                                                    29.4%
      30%    -




                                 21.9%
      20%-
                                                   14.6%                   15.4%     15.8%                                        15.1%



      10%-
                 5.6%
                                                                                                       3.3%                                      2.1%
                                                                                                                                          0.3%
       0%-                                      -r




      -10%



      -20%

                        -22.1%

CI)   -30%
P1
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C     -40%
                                                                                                          -q7.n°h
CD
                   2002                  2003        2004           2005           2006       2007       2008          2009     2010         2011
CD
7                                                          ~ AiphaSector Allocator Premium Index     ~ S&P 500 TR
0       ‘Year to date through December 2011
0
0)
01      2Source: NA SD Q OMX, Momingstar Active Index Solutions
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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

         v.                                                 Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.


                   PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION
              TO PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       The Commission should get summary judgment on the “live trading” allegations in Counts I

and II and on Defendants’ selective enforcement affirmative defense. On Counts I and II, Defendants

cannot dispute their printed marketing statements; their lack of factual support for those statements;

or the admissions, testimony, and documents that all establish that they knew they had no basis for

those statements when they made them and (at least) seriously doubted were true. On selective

enforcement, Defendants have not submitted evidence sufficient to raise even a question of fact about

similarly situated parties, a lack of rational basis for treating them differently from other advisers, a

reason to ignore the twenty other advisers who were charged, or any proof of malice by the

Commission. Instead, Defendants try to confuse the facts on the Commission’s claims with a time-

honored gambit—introducing extraneous evidence and arguments not relevant to the Commission’s

motion for summary judgment.

       Summary judgment is “the put up or shut up moment in litigation” and to get to a jury, the

non-moving party must “come forward with some evidence showing a genuine dispute of material

fact by affirmatively point[ing] to specific facts that demonstrate the existence of an authentic
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statements do not change the substance of what Defendants said about the strategy being traded with

live assets. On those live-trading statements, Defendants cannot genuinely dispute what they said.

        Defendants also sow confusion by pointing to other Vireo marketing materials that did not

make the live trading claims. But Defendants’ use of some marketing materials that did not make

these misrepresentations does not cure Defendants’ creation and use of marketing materials that did.

And it doesn’t create a dispute of fact about those misrepresentations either.

        Finally, Defendants argue that there can be no violation of Advisers Act §206, because their

misrepresentations were contained in “brochures” that were not advertisements. Even accepting

Defendants’ false premise, there is no legal basis to limit Section 206 claims only to advertisements.

To the contrary, Section 206(1) covers the use of “any device, scheme, or artifice” and Section 206(2)

covers the use of any “transaction, practice, or course of business.” Whether a document is an

“advertisement” is only relevant to the Commission’s Fourth Claim (violation of Advisers Act Rule

206(4)-1(a)(5)), which is not a part of Commission’s motion. Defendants can violate Section 206

with their “brochures” (and their website, their oral sales pitches, and their other marketing material),

whether they are “advertisements” or not. 1

    B. Admissions and Other Undisputed Evidence Show Defendants Intended To, or Were
       Extremely Reckless in, Making Unsubstantiated Statements

        Plaintiff and Defendants agree there is a high bar to finding scienter on summary judgment.

But here Defendants have admitted that they did not know whether certain marketing statements they

made were true or false. And undisputed evidence shows that, when they made those statements,

they knew they lacked a factual basis for them. So Defendants intentionally made statements they


1
 Rule 206(4)-1(b) defines “advertisement” (for the purposes of that rule). An “advertisement shall include any … written
communication addressed to more than one person … which offers … investment advisory service with regard to
securities.” It is not clear why Defendants’ think their “brochures” fall outside this definition. The brochures are
distributed to more than one person (Defendants discuss how they distributed these brochures to brokers and advisers)
and they offered investment advisory services (clients signing up to have NAI invest their money according to the
AlphaSector strategies.). But, as mentioned, the “advertisement” definition does not factor into Advisers Act Section 206.

                                                            3
